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                                           No. 23-1537

                                         IN THE
                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                  CSX TRANSPORTATION, INC., individually and on
              behalf of Norfolk & Portsmouth Belt Line Railroad Company,

                                                            Plaintiff-Appellant,

                                                 v.

                NORFOLK SOUTHERN RAILWAY COMPANY; NORFOLK &
                   PORTSMOUTH BELT LINE RAILROAD COMPANY,
                                                       Defendants-Appellees.

                        Appeal from Order of the United States District Court
                                 for the Eastern District of Virginia
                                    No. 2:18-cv-0530 (Davis, J.)

                           JOINT APPENDIX VOLUME 1 – PUBLIC


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                                                                     Appellant CSX Transpor-
                                     Railway Co.
                                                                     tation, Inc.

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

        CSX TRANSPORTATION, INC.,
        individually and on behalf of NORFOLK
        & PORTSMOUTH BELT LINE
        RAILROAD COMPANY,

                     Plaintiff,

        v.                                                               2:18cv530
                                                       Civil Action No. _____________


        NORFOLK SOUTHERN RAILWAY
        COMPANY, NORFOLK & PORTSMOUTH
        BELT LINE RAILROAD COMPANY,
        JERRY HALL, THOMAS HURLBUT,
        PHILIP MERILLI, and CANNON MOSS,

                     Defendants.
                                               /

                                          COMPLAINT

              Plaintiff CSX Transportation, Inc. (“CSXT”), individually and on behalf of

        Norfolk & Portsmouth Belt Line Railroad Company (“NPBL”), by counsel, files this

        Complaint against Defendants Norfolk Southern Railway Company (“NS”), NPBL,

        Jerry Hall, Thomas Hurlbut, Philip Merilli, and Cannon Moss as follows:

                                   NATURE OF THE ACTION

              1.     The NPBL is a terminal switching railroad operating in the cities of

        Norfolk, Portsmouth, and Chesapeake, Virginia. It was formed in 1896 by a

        collection of railroads, who entered into an agreement “for the mutual benefit of each

                                                   1

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        in the interchange of business” to build and operate a belt line railway connecting

        various tracks of the eight railroads in Hampton Roads that would enable the

        interchange of cars among the railroads and connection to the port, among other

        facilities. In building and operating the NPBL, the founders sought to ensure that

        all railroads would have ready access to industries and ports which would ensure

        competition for transportation services. Toward that end, rail service to the Norfolk

        International Terminals (“NIT”) was opened in 1917.

              2.     As a result of mergers and acquisitions among the original eight

        railroads, by the end of the twentieth century the number of NPBL members had

        decreased to three. In the late 1980’s, the then-remaining three shareholders of

        NPBL—CSXT, Norfolk and Western Railway Company, and Southern Railway

        Company—agreed to reapportion the amount of amount of board seats associated

        with each shareholder. Critically, this reapportionment did not result in any single

        shareholder possessing majority control of the board, and indeed no single

        shareholder at that time owned a majority of the shares. After this reappointment,

        however, Norfolk and Western Railway Company and Southern Railway Company

        merged, with the result being that the new company, NS, owning 57% of the shares

        of NPBL, as compared to CSXT’s 43%. For at least the past ten years, NS has

        inserted former NS employees in all management positions of the NPBL and current

        or former NS employees in four of the six NPBL Board of Directors voting positions


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        and one non-voting director. NS and these directors and the NPBL management

        they put in place have conspired to operate the NPBL in order to benefit NS at the

        expense of the profitability and viability of the NPBL, and to harm NS’s competitor

        CSXT.

              3.     NS and the NPBL’s conspiracy to operate the NPBL to pursue

        illegitimate ends is nowhere more vividly demonstrated than at the NIT, the largest

        international shipping terminal in Virginia. Only two entities have the ability to

        access NIT by rail: NPBL and NS. Currently, NPBL must utilize NS tracks in order

        to reach NIT. NS and the NPBL have used the NPBL as a chess piece to establish

        and maintain NS’s monopolistic control over intermodal transportation1 in and out

        of NIT by making it practically impossible for any other rail carriers to provide

        intermodal rail service to NIT. This has kept out competitors, but it has come at the

        expense of NPBL’s own interests. NS and NPBL have acted in concert to have

        NPBL demand a rate designed to exclude competition in the relevant market, dispose

        of NPBL’s key rail assets, and take other actions contrary to NPBL’s business

        interests. Though NIT has been rapidly expanding and increasing its revenues in

        recent years due to increased shipping, NPBL’s revenues have tellingly remained

        flat or decreased.



        1
         Intermodal is the use of two modes of freight, such as ship and rail, to transport
        goods from shipper to consignee.
                                                 3

                                               JA49
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              4.    The Virginia Port Authority (“VPA”) has indicated that the growing

        port would benefit from multiple rail carriers being able to access NIT because it

        would allow more volume to be moved at competitive prices. And yet, at this point,

        competitors such as CSXT are practically precluded from using the NPBL to connect

        to NIT because the rate set by NPBL’s board, in concert with NS, is prohibitively

        expensive and because NS refuses to allow NPBL to handle intermodal trains over

        its tracks on a regular basis. The only modern example in which CSXT actually

        utilized NPBL to connect to NIT occurred in 2015 when, due to closures of other

        ports around the country, the NIT was inundated with excess containers and because

        of demands from its customers, CSXT was forced to pay the high rate charged by

        the NBPL. This was the briefest of windows in which CSXT could feasibly pay

        these rates because the other port closures caused all costs associated with ocean

        shipping to temporarily skyrocket. Under normal business conditions, the NPBL’s

        rate and its operating procedures effectively preclude competitor access to NIT.

              5.    CSXT wants to compete on fair terms at NIT, but has been unable to

        do so. This condition exists despite the fact that the NPBL was created for the very

        purpose of fostering cooperative access for railroad carriers.      CSXT’s recent

        proposal to NPBL to set a competitive rate and improve its services—including by

        volunteering the use of CSXT’s own engines and fuel to perform NPBL’s services—

        was summarily quashed by NPBL’s board and management despite the projections


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        that CSXT’s proposal would have substantially increased NPBL’s business and

        revenues.

               6.    NS’s actions have resulted in the loss of existing and prospective

        intermodal business for CSXT. It has also harmed the market by foreclosing

        competition for intermodal transportation servicing NIT. And it has reduced revenue

        and income to the NPBL, which earns revenue and income by charging fees for

        interchange of trains and the use of its track.

                                              PARTIES

               7.    CSXT is a Class I railroad operating in the Eastern United States and

        Canada. CSXT is headquartered in Jacksonville, Florida and is incorporated under

        Virginia law. It brings this suit on its own behalf and also in a derivative capacity

        as a shareholder of NPBL.

               8.    NS is also a Class I railroad operating in the Eastern United States and

        Canada. NS is headquartered in Norfolk, Virginia and is incorporated under Virginia

        law.

               9.    The NPBL is a Class III terminal switching railroad. It is headquartered

        in Chesapeake, Virginia, and is incorporated under Virginia law.

               10.   Individual Defendants Jerry Hall, Thomas Hurlbut, Philip Merilli, and

        Cannon Moss are voting members of the NPBL Board of Directors, who, inter alia,

        participated in the rejection of CSXT’s most recent service proposal. Hall, Hurlbut,


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        and Merilli are also employees of NS. Moss is a former employee of NS and has

        been the President and General Manager of NPBL since 2011. The Individual

        Defendants are named as party defendants in Count VI only, but the conduct of the

        Individual Defendants is relevant to the other counts of the Complaint.

                                   JURISDICTION AND VENUE
               11.    This Court has subject matter jurisdiction over this case pursuant to 28

        U.S.C. § 1331 because CSXT’s claims against Defendants arise under Sections 1

        and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2, and therefore raise federal questions.

               12.    The Court has supplemental jurisdiction over all state law claims under

        28 U.S.C. § 1367(a).

               13.    This Court has personal jurisdiction over the Defendants because they

        are residents of Virginia, regularly conduct business in Virginia, and/or caused

        injury by acts in Virginia.

               14.    Pursuant to 28 U.S.C. § 1391(b), venue is proper in this Court because

        a substantial part of the events giving rise to this dispute occurred within this District.

                                      FACTUAL ALLEGATIONS

               The Purpose and Structure of the NPBL

               15.    In 1896, eight railroads, including CSXT and NS’s predecessors in

        interest, joined together to form the NPBL in order to provide an efficient means of

        interchanging the traffic of its owners between their lines and various marine


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        terminals and industries located along the NPBL’s tracks. In 1897, they signed the

        NPBL Operating Agreement, attached hereto as Exhibit A. The joint agreement

        between the railroads was designed to ensure that all railroads would have ready

        access to NIT, which would ensure competition for transportation services.

              16.    The NPBL Operating Agreement, as amended, governs the ownership

        and operation of the NPBL, and it creates and establishes various duties and

        obligations between and among the shareholders.

              17.    In order to advance the purpose for which the NPBL was formed, the

        original shareholder companies, the predecessors of the current shareholders and

        parties to the NPBL Operating Agreement, expressly agreed therein that the NPBL

        would be a “separate organization in which all [railroads] are to be equally interested

        and each to have an equal representation.” Ex. A at 1. The shareholders agreed that

        it is in the best interest of all that each shareholder company have “equal

        representation” in the organization; and accordingly the Operating Agreement

        provides that each shareholder “shall have one representative on the Board” of the

        NPBL. Id. at 1–2.

              18.    The Operating Agreement further provides that each shareholder must

        “co-operate cordially in encouraging the business of the [NPBL] for which it is

        constructed.” Id. at 4. Under the Operating Agreement, the NPBL anticipates that

        its shareholders will deliver to the NPBL all cars to be delivered to customers that


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        they cannot serve directly. Id. CSX thus has an expectation that the NPBL will

        provide it with an efficient means of interchanging its traffic including, without

        limitation, to and from the NIT. Id. at 6 (referencing “the intent” that the NPBL

        “shall perform the service for which it was built and said Company be directly

        responsible for the competent and efficient discharge of its every obligation to the

        parties hereto”).

              19.    Further, under the NPBL Operating Agreement, the members of the

        NPBL Board of Directors are obligated to vote for “such resolutions, by-laws or

        other proceedings as may be necessary to carry into effect the agreements made in”

        the NPBL Operating Agreement. Id. at 6.

              20.    The NPBL currently operates over 26 miles of track in and around the

        Hampton Roads area of Virginia. A map of the NPBL and the tracks owned by other

        railroads in the area is attached hereto as Exhibit B. Crucially, the NPBL provides

        a means of access to the largest port in Virginia and one of the largest ports on the

        Eastern Seaboard, NIT. For any rail carrier other than NS, the only way to access

        NIT by rail is via NBPL. Being accessible by deep-draft ships and operating some

        of the world’s largest cranes, NIT is uniquely positioned to handle some of the

        largest ships in the world. Yet NS, together with NPBL, through NPBL directors

        and managers, has essentially blocked access to this large and growing port facility

        for anyone but itself.


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              The Supplemental Agreement

              21.   As a result of mergers and acquisitions among the original eight

        railroads, by the end of the twentieth century the number of NPBL members had

        decreased to three. By 1989, the number of shareholder railroads owning the NPBL

        had declined to three—CSXT, Norfolk and Western Railway Company (“NW”) and

        Southern Railway Company (“SR”).

              22.   In a Supplemental Agreement dated March 1, 1989, attached hereto as

        Exhibit C, the three railroads agreed that CSXT was afforded the right to appoint

        two representatives to the NPBL Board of Directors, and the other two companies,

        NW and SR, collectively between them were afforded the right to appoint three

        representatives to the NPBL Board. Ex. C ¶ 1. The Supplemental Agreement further

        provided that other than the single sentence of the Operating Agreement specifically

        referenced, “[n]othing herein shall be deemed to amend, alter, or affect any other

        provision of the NPBL Agreement.” Id. ¶ 2.

              23.   The following year, NW and SR merged to form the single company

        now known as Norfolk Southern Railway Company. The merger of those two

        companies left NS and CSXT as the only remaining shareholders of the NPBL. As

        a result, NS owns 57% of NPBL, and CSXT owns 43%. Per the NPBL By-Laws,

        which have been effect in their current form since 1996, attached hereto as Exhibit




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        D, NS has appointed four voting members to the NPBL Board of Directors and

        CSXT has appointed two.

              24.    NPBL, a distinct corporation under Virginia law, remains an

        independent entity from its two remaining shareholders, NS and CSXT. It operates

        according to its own bylaws and with its own management and Board of Directors.

        The railroads and NPBL lack economic integration, and the interests of NPBL can

        diverge from its railroad shareholders where higher prices mean higher revenue for

        NS but more cost for NPBL. The conspiracy described below between NPBL and

        NS thus joined together separate decision-makers pursuing separate economic

        interests, depriving the marketplace of independent centers of decision-making.

              NPBL’s Deteriorating Financial Condition

              25.     Rather than abide by the original purposes of the Operating

        Agreement, including the requirement to cordially cooperate in encouraging the

        business of NPBL, NS and the management of the NPBL conspired to operate the

        NPBL to harm CSXT and the market, even at the expense of the NPBL’s own

        business interests.

              26.    The NPBL Board of Directors currently consists of six voting members

        and one non-voting member. Three of those voting positions are filled with current

        NS employees designated by NS to serve as NPBL Directors: Defendants Hall,

        Hurlbut, and Merilli.


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              27.   Another voting position is held by the NPBL President, Cannon Moss,

        a former NS employee who in 2011 was nominated at NS’s direction and elected by

        vote of NS's shares, and over CSXT's objection. Defendant Moss’s predecessor,

        David Stinson, was also a former NS employee and returned to work at NS after his

        tenure as NPBL President. Donna Coleman, the current non-voting member of the

        Board of Directors and Vice President of NPBL, is also a former employee of NS.

        In addition, Bill O’Brien, the current Terminal Superintendent of NPBL, is also a

        former employee of NS.

              28.    NS also has other connections with the management of the NPBL. The

        management of NPBL all have NS email addresses, which they use to conduct the

        business of the NPBL.

              29.    For at least 12 years, every President and VP of NPBL was a former

        NS employee.

              30.    All of the individual Defendants have independent personal stakes in

        furthering NS’s interests as Directors of NPBL, such as the expectation of future

        employment with NS and the expectation of future remuneration from NS.

              31.   Collectively, Defendant Moss, in his capacity as a Director, along with

        Defendants Hall, Hurlbut, and Merilli constitute the four “Individual Defendants.”

              32.   NS in conspiracy with the NPBL, and through the Individual

        Defendants, have operated the NPBL as a vehicle for advancing NS’s interests at the


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        expense of their contractual duties to CSXT.       The Individual Defendants, in

        advancing NS’s interests regardless of the impact on NPBL, have further violated

        their fiduciary duties to NPBL. Management of NPBL conspired with NS to harm

        CSXT and grow NS’s market power.

              33.    The NPBL’s operating revenue is derived principally from switch

        operations, and is largely dependent upon the switch services being provided to the

        shareholders’ companies, who in turn pay for those services.

              34.    Defendants have caused the NPBL to establish and maintain

        unreasonably high rates for its switch services for intermodal freight. The current

        line haul switch rate is dramatically higher than rates for comparable services

        charged by other short line railroads. This rate was adopted by the Individual

        Defendants and/or their predecessors in 2009, over the objection of the other NPBL

        board members.

              35.    The rates charged by the NPBL and other anticompetitive restrictions

        on CSXT’s use of the NPBL have effectively foreclosed CSXT from moving

        containers to or from NIT on the NPBL. Meanwhile, NS is able to access NIT

        directly via its own rail connections.

              36.    The Defendants’ actions as to NPBL are adversely affecting commerce

        in Hampton Roads and Virginia. The VPA has expressly requested that NPBL

        “facilitate dual [rail] access [by CSXT and NS] for handling containers at NIT,”


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        because NPBL’s current failure to provide “proper access to NIT by CSX puts

        Virginia at a competitive disadvantage.” Indeed, the Defendants’ activity is raising

        prices charged to shippers and, ultimately consumers, because NS has shut out the

        only other company who could compete to provide intermodal services.

              37.    In part as a result of its excessive line haul switch rate, the NPBL’s

        overall financial performance has been declining over the past several years and

        continues to deteriorate. NPBL’s revenue has essentially been flat or down over the

        past several years, including in 2017. And, the bottom line revenue of NPBL is

        deceptive, however, because much of NPBL’s revenue in recent years has been

        generated from the sale of real estate. Rail car volume has been essentially flat for

        years, and decreased in 2017. Current car volume on the NPBL as a whole is heavily

        dependent on a single customer (not at NIT) engaged in a single line of business.

        No new sources of substantial and recurring business have been added in recent

        years, nor do any appear to be planned. No excess cash flow is being generated that

        could be used for capital expenditures for maintenance, upgrades, or expansion.

              The Individual Defendants’ Repeated Failures to Act in the Best Interest of
              the NPBL and to Abide by the NPBL Operating Agreement

              38.    In advance of the April 18, 2018 NPBL Board and stockholders

        meetings, CSXT presented a Service Proposal that would have significantly and

        rapidly increased the NPBL’s revenue and operating income by nearly doubling the



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        volume of cars that the NPBL moves annually. A copy of the Service Proposal is

        attached hereto as Exhibit E.

              39.    The Service Proposal, which included a proposed substantially lowered

        switch rate per car, as well as a guarantee of a minimum annual volume of CSXT

        moving 18,000 cars to or from NIT, would have generated annually approximately

        $1,440,000 in incremental revenue and potentially $660,000 in incremental

        operating income for the NPBL. The Service Proposal would have provided the

        NPBL with a consistent, long-term and substantial stream of much-needed

        additional income, and should have generated new revenue opportunities for the

        NPBL.

              40.    Rather than engage in any discussions to advance that proposal and

        secure those financial benefits, the Individual Defendants and NPBL Management

        erected baseless and pretextual barriers to the NPBL without even considering or

        responding substantively to, much less adopting, the Service Proposal.         The

        Individual Defendants refused to even form an independent committee to evaluate it

        or allow a formal vote, and thus effectively rejected it. Notably, at the April 18,

        2018 Board and shareholder meetings, the Individual Defendants parroted the same

        pretextual reasons for denying the request as offered by NS in its responses to

        CSXT’s Service Proposal.




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              41.    Additionally, in response to CSXT’s proposal, Defendant Moss

        revealed that they were considering entering into a new agreement, ostensibly

        between the NPBL and NS, that effectively would impose a substantial increase in

        charges paid to NS for NPBL’s usage of its rights of access to NS’s track, which

        would, in turn, reduce the profitability of intermodal service for NPBL while

        ultimately raising the rates charged to NPBL customers. Regardless of what the

        appropriate charge should be, the timing of this interest by NBPL in finalizing a new

        deal between NS and NPBL is highly suspicious and consistent with Defendants’

        other ploys using the NPBL to keep CSXT from servicing the NIT.

              42.    By rejecting the Service Proposal, Defendants’ actions have prevented

        NPBL from providing switch services necessary for CSXT to move intermodal

        containers by rail to and from NIT, thereby depriving CSXT of an efficient means

        of serving NIT, which in turn has impaired CSXT’s business interests and prevented

        it from using the NPBL’s services to and from NIT, causing the attendant loss in

        revenue and income to NPBL.

              43.    NPBL’s lost income from not providing the proposed service to CSXT

        in turn impairs NPBL’s ability to finance and make capital investments in its

        infrastructure necessary to preserve and grow the railroad’s business and serve its

        shareholders in the manner required by the Operating Agreement, and effectively




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        blocks the NPBL from providing a second (“dual”) means of access by rail to NIT

        (in addition to service by NS itself), as expressly requested by the VPA.

               44.   Defendants’ imposition of unreasonable and anticompetitive rates

        harms everyone (including NPBL, CSXT, freight shippers, and other competitors)

        except NS. Notably, NS itself has been able to avoid having to pay the unreasonable

        and anti-competitive NPBL rates set by the Individual Defendants for intermodal

        rail service because NS owns and operates over the sole rail line that connects to

        NIT, the same line that NPBL operates over to access NIT.

               45.   This is not the first time that the Individual Defendants have, in

        conspiracy with NS and the NPBL, misused NPBL as a tool to serve NS’s own

        interests.

               46.   As one example, in response to a CSXT service proposal in 2010,

        NPBL refused to accept CSXT’s offer to provide CSXT locomotives and free fuel

        to move cars for NPBL over the NPBL routes under any terms or circumstances

        (including without charge to NPBL for use of the locomotives or fuel), while

        permitting locomotives owned by NS to do so and causing NPBL to lease or contract

        with NS for use of NS’s locomotives without competitive bidding.

               47.   In 2008, NPBL took the necessary actions to commence the sale of

        productive NPBL property in Norfolk and an attempted sale in Portsmouth, and the

        termination of NPBL’s access rights over NS tracks used for the proper delivery of


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        services that NPBL is obligated to provide to its shareholders (including the consent

        to NS’s removal of a “diamond” key to NPBL providing adequate, reasonable,

        efficient and predictable access to NIT). The sale of property in Norfolk had the

        potential to further constrain NPBL’s connection to NIT. The sale of property in

        Portsmouth, had it been successful, would have effectively limited CSXT’s access

        to its own intermodal yard in Portsmouth. The removal of the “diamond” has

        resulted in having to move NPBL trains into NS's Portlock yard, where further

        movement of those NPBL trains is controlled and constrained by NS and NS’s own

        trains, and then reversing the NPBL trains out of that yard to move to or from NIT.

              48.    Through those same acts and practices, and others, the Individual

        Defendants and/or their predecessors have violated their fiduciary obligations to act

        in the best interests of the NPBL and, by conspiring with them to do so, NS has

        violated its contractual obligations to CSXT, including but not limited to its

        obligation to “encourage[e] the business of the [NPBL].”

              Relevant Markets

              49.    The relevant geographic market is the intermodal port facilities of

        Hampton Roads, Virginia. The Hampton Roads metropolitan area has three ports

        through which freight travels, Portsmouth Marine Terminal (“PMT”), Virginia

        International Gateway (“VIG”), and NIT. But, with very limited exceptions, PMT

        has not handled intermodal freight since 2011 and is not expected to going forward.


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        Ports outside of the Hampton Roads metropolitan area face significant barriers to

        competing with the Hampton Roads’ ports. In particular, the distance between the

        port complexes on the East Coast effectively prevent such port complex from acting

        as viable potential competitors. For example, the closest port complex to the south

        of Hampton Roads is Charleston, South Carolina, more than 430 miles away. And

        the closest port complex to the north of Hampton Roads is Baltimore, Maryland,

        more than 230 miles away. Shippers choose which port complex to use based on

        geographic considerations—where the freight is coming from and headed.

              50.    Freight transportation by rail in and out of the Hampton Roads’ ports

        constitutes a distinct service market under the antitrust laws. Rail transportation is

        the only method that can achieve the level of throughput required for major shippers

        of freight. Indeed, major customers refuse to contract with carriers who cannot

        provide rail transportation in and out of the Hampton Roads’ ports. Moreover, the

        market for freight transportation by rail in and out of the Hampton Roads ports is

        characterized by high barriers to entry. Development of rail connections requires

        significant capital investment and engineering. As such, there is no significant cross-

        elasticity of demand or reasonably interchangeable alternatives for freight

        transportation by rail in and out of the Hampton Roads’ ports.

              Defendants’ Anti-Competitive Actions to Achieve Dominance of Freight
              Transportation by Rail In and Out of the Hampton Roads’ Ports



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              51.    NS and the NPBL have used the NPBL as a chess piece to establish and

        maintain monopolistic control over intermodal transportation in and out of the

        Hampton Roads’ ports.

              52.    NS has monopoly power or a dangerous probability of achieving

        monopoly power in the relevant market described above. NS is one of the nation’s

        largest railroads, operating in 22 states. In the relevant market, NS’s market share

        exceeds 70%. For the NIT, NS’s market share is approximately 90%. NS has the

        ability to control prices for intermodal transportation and exclude competition. It

        benefits from a significant barrier to entry into the market for intermodal

        transportation in and out of Hampton Roads ports, namely the lack of accessible rail

        routes for competitors that are not owned by NS to the NIT.

              53.    NS did not secure or maintain its monopoly power in Hampton Roads

        by virtue of its ingenuity or other salutary competitive behavior. Rather, it has

        continually and deliberately engaged in a pattern of anticompetitive conduct that has

        eliminated or prevented competition.

              54.    Among other anticompetitive acts, NS, in conspiracy with the

        Individual Defendants and NPBL, has caused the NPBL to reject, without any

        reasonable, meaningful and lawful consideration or negotiation, CSXT’s Service

        Proposal, thereby effectively denying CSXT access to NIT by rail in competition

        with NS.


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              55.    When CSXT was forced to pay the NPBL’s rates in 2015, due to

        closures of other ports around the country, NS directly, and through the NPBL,

        prioritized NS’s shipping needs over those of CSXT. NS failed to allow, in a

        reasonable and timely manner, the movement of cars delivered to NPBL by CSXT,

        sacrificing NPBL’s own profits from the business CSXT would otherwise deliver.

              56.    NS conspiring with NPBL, by and through the Individual Defendants,

        have discriminated against CSXT by refusing to allow NPBL to use CSXT’s fully

        fueled locomotives to access NIT, requiring only NS-owned or supplied locomotives

        to be used by or on NPBL.

              57.     NS conspiring with NPBL, by and through the Individual Defendants,

        have set (and maintained) NPBL’s switch rates at levels designed to exclude

        competition in the relevant market, thereby dramatically raising CSXT’s costs to

        serve intermodal rail customers, and diminishing the amounts of freight moved, and

        related revenues earned by NPBL.

              58.    NS conspiring with NPBL, by and through the Individual Defendants,

        and/or their predecessors, mandated NPBL consent to the termination of its access

        rights to the track between NS Juncture and Carolina Juncture, i.e., the “diamond”

        and connecting track (with NS then removing that track), and mandated NPBL cease

        and desist from requesting the reinstatement of the diamond, connecting track and

        related operating rights, all of which has severely impaired, and continues to severely


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        impair, NPBL’s ability to efficiently and predictably provide CSXT with rail access

        to NIT.

              59.    In response to CSXT’s Service Proposal, NS and NPBL, by and through

        the Individual Defendants, threatened to enter into an agreement that would increase

        dramatically the charges that NPBL would pay for access to NS’s track. This would

        have further raised the rate charged to NPBL’s customers. This threat to increase

        rates was an attempt to pressure CSXT into abandoning its Service Proposal.

              60.    NS and NPBL, by and through the Individual Defendants, have taken

        these and other actions with the intent and effect of denying CSXT and other

        competitors the ability to compete with NS to provide freight rail transportation in

        and out of the shipping ports in the Norfolk area.

              61.    These acts are contrary to the independent profit-maximizing self-

        interest of NS and the NPBL, as they increased costs and reduced revenue for NPBL,

        of which NS is a majority owner.

              62.    Rather than try to compete on the merits, Defendants, through this

        willful exclusionary conduct, have acted to acquire and wield power over price and

        to exclude competition, and thus to monopolize (and attempt to monopolize)

        intermodal transportation in and out of Hampton Roads’ ports.

              63.    Defendants’ actions were within the flow of, and substantially affected,

        interstate and international commerce. Defendants also used instrumentalities of


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        interstate or foreign commerce (or both). And their activities have had a direct,

        substantial, and reasonably foreseeable effect on interstate and international

        commerce.

               Harm to CSXT and Competition

               64.   The result of Defendants’ actions has been a loss in existing and

        prospective business for CSXT and, in turn, for the NPBL. Defendants, conspiring

        together, have pushed CSXT out of the market for intermodal transportation though

        NIT.

               65.   In addition, Defendants’ actions have harmed competition for

        intermodal transportation in and out of Hampton Roads’ ports, with customers

        paying substantially higher prices for that transportation via rail service provided by

        NS, than they would absent Defendants’ anticompetitive conduct.

               66.   Defendants’ actions have also resulted in reduced choice among

        shippers for intermodal options from Hampton Roads’ ports.

               The Individual Defendants’ Refusal to Remedy Defects in the NPBL’s Current
               Corporate Governance Structure

               67.   CSXT also proposed, both before and at the April 2018 NPBL Board

        and shareholders’ meetings, several remedial actions to address defects in NPBL’s

        current corporate governance structure. A copy of the proposal is attached hereto as

        Exhibit F.



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              68.    Those remedial actions would have 1) allowed for equal representation

        of NPBL shareholders on NPBL’s Board; 2) added independent directors to a Board

        that currently has none; 3) mitigated NS’s improper influence over the NPBL Board

        and management, which NS has used to its sole advantage and to cause NPBL and

        the Individual Defendants, together with NS, to violate fiduciary, contractual and

        statutory duties; and 4) ultimately allowed the NPBL to operate as a “separate

        organization,” as required by the NPBL Operating Agreement.

              69.    Among other things, CSXT proposed that each shareholder designate

        only one individual for election as a director; that the shareholders elect four

        independent directors to the NPBL Board; and that the Board and shareholders

        implement a plan for an orderly transition to independent management.

              70.    At the April 2018 meetings, CSXT’s shareholder representative asked

        the NPBL Board to adopt CSXT’s proposals, and made a motion that the

        shareholders proceed to elect only one director designated by each shareholder and

        elect four independent directors.

              71.    Prior to the meetings, CSXT also identified and proposed to NS eight

        candidates for election as independent directors to fill the remaining four positions

        on the NPBL Board.

              72.    The Individual Defendants rejected CSXT’s governance proposal in its

        entirety, voted against CSXT’s motion, refused to nominate (much less elect) any


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        independent directors, and instead insisted upon, and NS voted to approve, a slate

        that included four (interested) directors designated by NS (three current NS

        employees, Defendant Cannon Moss, and Donna Coleman (as a non-voting

        director)) and only two directors designated by CSXT.

              73.    The Individual Defendants have not offered any legitimate and valid

        reasons for their refusal to take any steps to remedy the NPBL’s corporate

        governance failures, despite the fact that their position is contrary to the NPBL

        Operating Agreement and Virginia law barring interested director transactions, Va.

        Code § 13.1-691, and means that NPBL can no longer effectively operate as a

        corporation where NS and CSXT are at loggerheads and recent proposals to benefit

        NPBL are rejected out of hand.

              74.    Instead, the Individual Defendants have merely parroted NS’s self-

        serving and invalid argument that the changes CSXT proposed are “unnecessary.”

              75.    NS has conspired with NPBL, through the NPBL Board, management,

        and operation of the railroad, to exclude CSXT from the market.

              76.    The Individual Defendants, in combination with NS, have acted in

        violation of the law and in breach of their fiduciary, contractual, and statutory duties

        to NPBL.

                                         COUNT I
         (Violation of Sherman Act § 1, 15 U.S.C. § 1: Conspiracy to Restrain Trade
                            Against Defendants NS and NPBL)


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              77.    CSXT incorporates and realleges the allegations of paragraphs 1

        through 76 of this Complaint as if fully set forth herein.

              78.    Defendants NS and NPBL agreed to and did participate in

        anticompetitive conduct that unreasonably restrained trade and commerce. Thus,

        Defendants engaged in combination and conspiracy and violated Section 1 of the

        Sherman Act, 15 U.S.C. § 1.

              79.    NS conspired with NPBL and the Individual Defendants to take actions

        and implement policies that effectively foreclosed CSXT from utilizing the NPBL

        to compete in the provision of multi-modal services at NIT.

              80.    This conspiracy has served to enhance and further solidify NS’s

        monopoly power in the relevant market, which has had the effect of severely

        restricting supply and increasing the prices charged to customers for intermodal

        transportation.

              81.    Defendants’ anticompetitive conduct is a per se violation of Section 1

        of the Sherman Act.

              82.    Alternatively, even if Defendants’ anticompetitive conduct is judged

        under the antitrust Rule of Reason, there is no legitimate business justification for

        Defendants’ actions and the conduct through which they adopted and implemented

        their combination and conspiracy.        Moreover, the anticompetitive effects of

        Defendants’ conduct far outweigh any conceivable procompetitive benefits or


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        justifications. Even if such a justification existed, any possible procompetitive

        benefits could have been obtained by less restrictive alternatives.

              83.    As a direct and proximate result of Defendants’ combination and

        conspiracy, Defendants have unreasonably restrained trade and commerce. They

        have excluded actual and potential competition from the relevant market, and

        profited from their anticompetitive conduct by establishing and maintaining

        artificially high prices for intermodal transportation services provided to customers,

        and by otherwise reaping financial benefits from their combination and conspiracy.

              84.    As a direct and proximate result of Defendants’ combination and

        conspiracy, CSXT and consumers have been injured. The injury consists of paying

        artificially inflated prices for intermodal transportation—prices higher than

        consumers and CSXT would have paid absent Defendants’ combination and

        conspiracy. Their injuries are what the antitrust laws were designed to prevent and

        flow directly from Defendants’ conduct.

                                         COUNT II
           (Violation of Sherman Act § 2, 15 U.S.C. § 2: Conspiracy to Monopolize
                             Against Defendants NS and NPBL)

              85.    CSXT incorporates and realleges the allegations of paragraphs 1

        through 84 of this Complaint as if fully set forth herein.

              86.    Defendants NS and NBPL acted with a specific intent to combine or

        conspire to monopolize and to destroy competition in the relevant market.


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        Defendants devised and implemented a plan in furtherance of the conspiracy to

        systematically eliminate competition in the relevant market, in violation of Section

        2 of the Sherman Act, 15 U.S.C. § 2.

              87.   NS conspired with NPBL and the Individual Defendants to willfully

        engaged in a course of exclusionary conduct in furtherance of the conspiracy to

        obtain a monopoly in the relevant market, including:

                    (a)    causing the NPBL to reject, without any reasonable, meaningful

              and lawful consideration or negotiation, CSXT’s Service Proposal, thereby

              denying CSXT access to NIT by rail in competition with NS;

                    (b)    failing to allow the movement of, in a reasonable and timely

              manner, cars delivered to the NPBL by CSXT, sacrificing NPBL’s own profits

              from the business CSXT would otherwise deliver;

                    (c)    discriminating against CSXT by refusing to allow NPBL to use

              CSXT’s fully fueled locomotives to access NIT, while requiring NS-owned

              or supplied locomotives exclusively to be used by or on the NPBL;

                    (d)    setting the NPBL’s switch rates at levels designed to exclude

              competition in the relevant market for comparable switch rates, thereby

              dramatically raising CSXT's costs to serve intermodal rail customers, and

              diminishing the amounts of freight moved, and related revenues earned by,

              NPBL;


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                     (e)   causing NPBL to terminate its access rights to the track between

              NS Juncture and Carolina Juncture, i.e. the “diamond” track (with NS then

              removing that track), which has severely impaired NPBL’s ability to

              efficiently and predictably provide CSXT and other competitors with rail

              access to NIT; and

                     (f)   threatening to enter into agreements with NPBL to increase

              dramatically the charges that NPBL would pay to NS for exercise of the

              NPBL's rights to access NS trackage, if NPBL provided the service to NIT

              proposed by CSXT.

              88.    Defendants do not have a legitimate business purpose for any of their

        anticompetitive conduct in furtherance of the conspiracy.             Any claimed

        procompetitive benefit is pretextual in light of the obvious competitive

        circumstances and associated marketplace conduct inconsistent with any such

        benefit. Defendants’ conduct does not result in greater competition in the relevant

        market. The only “benefit” that flows from Defendants’ conduct is a reduction in

        competition, and that benefit inures only to NS’s advantage, not to that of customers

        or competition in the relevant market.

              89.    Defendants’ anticompetitive acts in furtherance of the conspiracy to

        monopolize have injured competition in the relevant market, suppressed CSXT’s

        provision of intermodal transportation, and the provision of intermodal


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                                                 JA74
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        transportation of other rail carriers, diminished CSXT’s future provision of

        intermodal transportation and the opportunities for provision of intermodal

        transportation of other competitors, and increased CSXT’s operating costs and the

        operating costs of other competitors.

              90.    Defendants’ overall course of conduct has and will continue to, among

        other things, maintain rates designed to exclude competition in the relevant market,

        and otherwise deprive customers of their ability to make an unfettered choice of rail

        carriers on the merits.

                                         COUNT III
             (Violation of Sherman Act § 2, 15 U.S.C. § 2: Monopolization Against
                                       Defendant NS)

              91.    CSXT incorporates and realleges all of the allegations of paragraphs 1

        through 90 this Complaint as if fully set forth herein.

              92.    Defendant NS’s conduct constitutes the intentional maintenance of

        monopoly power in the relevant market, in violation of Section 2 of the Sherman

        Act, 15 U.S.C. § 2.

              93.    For the purpose of maintaining its monopoly power, NS committed

        numerous anticompetitive acts, including:

                     (a)      causing NPBL to reject, without any reasonable, meaningful and

              lawful consideration or negotiation, CSXT's Service Proposal, thereby

              denying CSXT access to NIT by rail in competition with NS;


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                                                 JA75
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                    (b)   failing to allow the movement of in a reasonable and timely

              manner, cars delivered to the NPBL by CSXT, sacrificing NPBL's own profits

              from the business CSXT would otherwise deliver;

                    (c)   discriminating against CSXT by refusing to allow NPBL to use

              CSXT’s fully fueled locomotives to access the NIT, while requiring NS-

              owned or supplied locomotives exclusively to be used by or on the NPBL;

                    (d)   setting the NPBL’s switch rate[s] at levels designed to exclude

              competition in the relevant market, thereby dramatically raising CSXT's costs

              to serve intermodal rail customers, and diminishing the amounts of freight

              moved, and related revenues earned by, NPBL;

                    (e)   causing NPBL to terminate its access rights to the track between

              NS Juncture and Carolina Juncture, i.e. the “diamond” track (with NS then

              removing that track), which has severely impaired NPBL’s ability to

              efficiently and predictably provide CSXT and other competitors with rail

              access to NIT; and

                    (f)   threatening to enter into agreements with NPBL to increase

              dramatically the charges that NPBL would pay to NS for exercise of the

              NPBL's rights to access NS trackage, if NPBL provided the service to NIT

              proposed by CSXT.




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              94.    NS has excluded CSXT from the relevant market and has deprived

        consumers of the benefits of competition among rail carriers.

              95.    NS does not have a legitimate business purpose for any of its

        anticompetitive conduct. Any claimed procompetitive benefit is pretextual in light

        of the obvious competitive circumstances and associated marketplace conduct

        inconsistent with any such benefit. NS’s conduct does not result in greater

        competition in the relevant market. The only “benefit” that flows from NS’s conduct

        is a reduction in competition, and that benefit inures only to NS’s advantage, not to

        that of customers or competition in the relevant market.

              96.    NS’s monopolization has injured competition in the relevant market,

        suppressed CSXT’s provision of intermodal transportation, and the provision of

        intermodal transportation of other rail carriers, diminished CSXT’s future provision

        of intermodal transportation and the opportunities for provision of intermodal

        transportation of other competitors, and increased CSXT’s operating costs and the

        operating costs of other competitors.

              97.    NS’s overall course of conduct has and will continue to, among other

        things, maintain rates designed to exclude competition in the relevant market, and

        otherwise deprive customers of their ability to make an unfettered choice of rail

        carriers on the merits.




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                                                JA77
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                                         COUNT IV
           (Violation of Sherman Act § 2, 15 U.S.C. § 2: Attempted Monopolization
                                  Against Defendant NS)

              98.    CSXT incorporates and realleges the allegations of paragraphs 1

        through 97 of this Complaint as if fully set forth herein.

              99.    Defendant NS acted with a specific intent to monopolize and to destroy

        competition in the relevant market.       NS devised and implemented a plan to

        systematically eliminate competition in the relevant market, in violation of Section

        2 of the Sherman Act, 15 U.S.C. § 2.

              100. NS willfully engaged in a course of exclusionary conduct to obtain a

        monopoly in the relevant market, including:

                     (a)    causing the NPBL to reject, without any reasonable, meaningful

              and lawful consideration or negotiation, CSXT's Service Proposal, thereby

              denying CSXT access to NIT by rail in competition with NS;

                     (b)    failing to allow the movement of, in a reasonable and timely

              manner, cars delivered to the NPBL by CSXT, sacrificing NPBL's own profits

              from the business CSXT would otherwise deliver;

                     (c)    discriminating against CSXT by refusing to allow NPBL to use

              CSXT’s fully fueled locomotives to access the NIT, while causing NS-owned

              or supplied locomotives exclusively to be used by or on the NPBL;




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                    (d)   setting the NPBL's switch rates at levels designed to exclude

              competition in the relevant market for comparable switch rates, thereby

              dramatically raising CSXT's costs to serve intermodal rail customers, and

              diminishing the amounts of freight moved, and related revenues earned by,

              NPBL;

                    (e)   mandating NPBL to terminate its access rights to the track

              between NS Juncture and Carolina Juncture, i.e. the “diamond” track (with

              NS then removing that track), which has severely impaired NPBL’s ability to

              efficiently and predictably provide CSXT and other competitors with rail

              access to NIT; and

                    (f)   threatening to enter into agreements with NPBL to increase

              dramatically the charges that NPBL would pay to NS for exercising NPBL's

              rights to access NS trackage, if NPBL provided the service to NIT proposed

              by CSXT.

              101. NS does not have a legitimate business purpose for any of its

        anticompetitive conduct. Any claimed procompetitive benefit is pretextual in light

        of the obvious competitive circumstances and associated marketplace conduct

        inconsistent with any such benefit.    NS’s conduct does not result in greater

        competition in the relevant market.    The only “benefit” that flows from NS’s




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        conduct is a reduction in competition, and that benefit inures only to NS’s advantage,

        not to that of customers or competition in the relevant market.

              102. Throughout the time NS engaged in this exclusionary conduct, it had a

        dangerous probability of succeeding in gaining a monopoly in and controlling the

        relevant market and excluding its competitors.

              103. NS’s attempts to destroy competition in the relevant market have

        injured competition in the relevant market, suppressed CSXT’s provision of

        intermodal transportation, and the provision of intermodal transportation of other

        rail carriers, diminished CSXT’s future provision of intermodal transportation and

        the opportunities for provision of intermodal transportation of other competitors, and

        increased CSXT’s operating costs and the operating costs of other competitors.

              104. NS’s overall course of conduct has and will continue to, among other

        things, maintain rates designed to exclude competition in the relevant market, and

        otherwise deprive customers of their ability to make an unfettered choice of rail

        carriers on the merits.

                                          COUNT V
                           (Breach of Contract, against Defendant NS)

              105. CSXT incorporates and realleges the allegations of paragraphs 1

        through 104 of this Complaint as if fully set forth herein.

              106. CSXT and Defendant NS are co-parties to the NPBL Operating

        Agreement, which establishes legally enforceable obligations owed by NS to CSXT.

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        These include, but are not limited to: 1) that shareholders shall maintain and operate

        NPBL as a “separate organization in which all are to be equally interested,” 2) NS

        will “co-operate cordially in encouraging the business of the [NPBL] for which it is

        constructed,” 3) NS shall “deliver to [NPBL] all cars to be interchanged with other

        [parties to the agreement],” 4) NS shall ensure its Directors “vote for such

        resolutions, by-laws or other proceedings as may be necessary to carry into effect”

        the NPBL Operating Agreement, and 5) the implied covenant of good faith and fair

        dealing.

              107. Defendant NS has breached these contractual obligations by, inter alia,

        effectively blocking CSXT’s access to NS’s trackage over which NPBL has rights,

        by refusing to consider proposals that would improve the revenues of NPBL, by

        failing to encourage the business of NPBL, and by inducing its employees and/or the

        Individual Defendants to vote for measures that are harmful to NPBL.

              108. NS’s breaches have harmed CSXT, inter alia, by reducing the revenues

        of NPBL, of which CSXT is a shareholder, by causing CSXT to pay high rates when

        it has utilized the NPBL, and by causing CSXT to lose potential business due to its

        inability to economically access NIT by rail.

                               COUNT VI (Derivative Claim)
          (Breach of Fiduciary Duties, against Individual Defendants Hall, Hurlbut,
                                     Merilli, and Moss)




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                                                JA81
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                  109. CSXT incorporates and realleges the allegations of paragraphs 1

        through 108 of this Complaint as if fully set forth herein.

                  110. CSXT, in its capacity as a shareholder in NPBL, brings this derivative

        action on behalf of NPBL and its shareholders, pursuant to Va. Code § 13.1-672.1,

        against the Individual Defendants for their breaches of fiduciary duties. CSXT was

        a shareholder of NPBL at all times during the conduct complained of in this action,

        and it fairly and adequately represents the interests of NPBL in enforcing NPBL’s

        rights.

                  111. CSXT made a written demand to NPBL to take suitable action on June

        22, 2018. NBPL responded to CSXT on September 11, 2018, denying any illegal

        conduct and disagreeing that any action is warranted in response to CSXT’s demand

        letter.

                  112. The Individual Defendants have breached their fiduciary duties to

        NPBL, including their duties of good faith and loyalty and to act in an honest, fair

        and reasonable manner in the best interests of NPBL. Instead of acting in the best

        interests of NPBL, they have acted predominately in the interests of NS at the

        expense of NPBL, by, for instance, denying CSXT’s Service Proposal and proposal

        for reforms of NPBL’s corporate governance structure, and by failing to

        appropriately manage NPBL, leading to its deteriorating financial condition.




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                                                 JA82
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              113. These breaches have damaged NPBL. CSXT, on behalf of NPBL,

        specifically seeks injunctive relief as specified in the prayer for relief as to the

        Individual Defendants.

                                        COUNT VII
        (Tortious Interference with Business Expectancy, Against Defendants NS and
                                           NPBL)

              114. CSXT incorporates and realleges the allegations of paragraphs 1

        through 113 of this Complaint as if fully set forth herein.

              115. As a shareholder of the NPBL, CSXT has reasonable business

        expectancies, including that the corporation will be managed and directed in a

        manner that is in accord with the Operating Agreement, allowing CSXT access to

        NPBL trackage in Hampton Roads. CSXT reasonably expects economic benefit as

        a result of being a shareholder of NPBL, such as revenues from NPBL and its ability

        to access NPBL trackage and NPBL-served industries. As the majority shareholder

        of NPBL, NS, and the Individual Defendants, respectively, have knowledge of

        CSXT’s business expectancies.

              116. Defendants NS and NPBL have wrongfully employed improper

        methods in order to intentionally interfere with these expectancies, such as unfair

        competition, breach of fiduciary duty by the Individual Defendants, and using the

        NPBL as a means of self-dealing.




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                                                JA83
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              117. Defendants’ interference is without justification and privilege, and has

        caused CSXT damages, such as lost opportunities for contracts with shipping

        partners. Additionally, because Defendants’ conduct was intentionally undertaken

        with malice to harm CSXT and benefit themselves, CSXT is further entitled to

        punitive damages.

                                       COUNT VIII
         (Statutory Business Conspiracy, Va. Code § 18.2-499, Against Defendants NS
                                         and NPBL)

              118. CSXT incorporates and realleges the allegations of paragraphs 1

        through 117 of this Complaint as if fully set forth herein

              119. In violation of Va. Code § 18.2-499, Defendant NS has conspired, by

        express agreement and tacit understanding, with Defendant NPBL, and with the

        Individual Defendants, in their capacity as directors and/or managers of NPBL, to

        intentionally, purposefully, and without lawful justification willfully and

        maliciously interfere with CSXT’s reasonable business expectations, violate the

        individual Defendants’ fiduciary duties to NPBL, and to breach NS’s contract with

        CSXT. Defendants acted without lawful justification.

              120. This conspiracy has harmed CSXT, inter alia, by reducing the revenues

        of NPBL, of which CSXT is a shareholder, and by causing CSXT to lose potential

        business with shipping companies, due to its inability to access NIT.




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                                                JA84
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               121. In addition to compensatory damages, CSXT is entitled to treble

        damages, lost profits, punitive damages, attorneys’ fees, and other relief pursuant to

        Va. Code § 18.2-500.

                                              COUNT IX
                         (Civil Conspiracy, Against Defendants NS and NPBL)

               122. CSXT incorporates and realleges the allegations of paragraphs 1

        through 121 of this Complaint as if fully set forth herein.

               123. Defendant NS has conspired, by express agreement and tacit

        understanding, with Defendant NPBL, and with the Individual Defendants, in their

        capacity as directors and/or managers of NPBL, to intentionally, purposefully, and

        without lawful justification willfully and maliciously interfere with CSXT’s

        reasonable business expectations, violate the Individual Defendants’ fiduciary duties

        to NPBL, and to breach NS’s contract with CSXT. Defendants acted without lawful

        justification.

               124. This conspiracy has harmed CSXT, inter alia, by reducing the revenues

        of NPBL, of which CSXT is a shareholder, and by causing CSXT to lose potential

        business with shipping companies, due to its inability to access NIT.

               125. In addition to compensatory damages, CSXT is entitled to punitive

        damages because the Defendants acted with malice.




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                                                JA85
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                                     PRAYER FOR RELIEF

              WHEREFORE, CSXT respectfully prays for the following:

              1) That this Court render judgment in favor of CSXT, individually and on

                 behalf of NPBL, and against Defendants;

              2) That this Court award CSXT, individually and on behalf of NPBL, actual,

                 consequential, and compensatory damages, and treble damages;

              3) That this Court award CSXT punitive damages in amounts to be

                 determined by the jury;

              4) That this Court enter an injunction against Defendants from continuing to

                 commit the above referenced violations of federal and state law;

              5) That this Court enter an injunction against NS, NPBL, and the Individual

                 Defendants, as appropriate, that restores CSXT’s right as a co-equal

                 shareholder and/or establishes an independent board structure as

                 previously proposed by CSXT and that directs that NPBL approve CSXT’s

                 Service Proposal;

              6) That this Court award CSXT its costs, attorneys’ fees and litigation

                 expenses; and

              7) That this Court enter such other and further relief as it deems just and

                 proper under the circumstances.

              CSXT requests trial by jury on all counts so triable.


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              Dated: October 4, 2018       Respectfully submitted,



                                           CSX TRANSPORTATION, INC.

                                           By Counsel


                                                 /s/
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                                           JA87
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                          EXHIBIT A




                                           JA88
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                                           JA89
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                                           JA90
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                                           JA91
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                                           JA92
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                                           JA93
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                                           JA94
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                                           JA95
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                                           JA96
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                           EXHIBIT C




                                           JA97
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                                           JA98
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                                             JA99
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                                           JA100
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                                           JA101
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                             UNITED STATES DISTRICT COURT
                                                                             FILED
                             EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division                      SEP - 9 2019
        CSX TRANSPORTATION, INC.                                      CLERK, U.S. DISTRICT COURT
                                                                             NORFOLK. VA
        individually and on behalf of
        Norfolk & Portsmouth Belt Line
        Railroad Company,

                         Plaintiff,
        V.                                                      Civil No. 2:18cv530


       Norfolk Southern Railway Company,
       Norfolk & Portsmouth Belt Line
       Railway Company,
       Jerry Hall,
       Thomas Hurlbut,
       Philip Merrilli,
       Cannon Moss,


                         Defendants.




                                     OPINION AND ORDER


             This   matter   is   before     the   Court   on   the    following        four

       Motions to Dismiss:


          • (1) motion filed by Defendant Norfolk & Portsmouth Belt
            Line Railway Company (''Belt Line"), pursuant to Federal
            Rule of Civil Procedure 12(b)(6) and 49 U.S.C. § 10501(b),
             ECF No. 27;
          • (2)     motion   filed      by   Defendant     Cannon     Moss      ("Moss"),
             pursuant to Federal Rules of Civil Procedure 12(b)(1) and
             12(b)(6), ECF No. 29;
          • (3) motion filed by Defendants Jerry Hall ("Hall"), Thomas
            Hurlbut ("Hurlbut"), Philip Merrilli ("Merrilli"),^ pursuant
             to Federal Rule of Civil Procedure 12(b)(6) and 28 U.S.C. §
             1367(c), ECF No. 31;




       1 Defendants Moss, Hall, Hurlbut, and Merrilli will be collectively referred
       to as "Individual Defendants."




                                             JA102
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            • and (4) motion filed by Defendant Norfolk Southern Railway
              Company ("NS" or "Norfolk Southern") pursuant to Federal
                 Rule of Civil Procedure 12(b)(6), ECF No. 34.2

        For the reasons stated below. Defendants' Motions to Dismiss are

        DENIED, except           with respect to Belt Line's             motion to dismiss

        Count VII (tortious interference with a business expectancy) on

        the basis that Plaintiff has failed to state a claim, which is

        GRANTED.


                                 I. FACTUAL and PROCEDURAL HISTORY^


                 Plaintiff CSX Transportation, Inc. ("Plaintiff" or "CSX")

        is a railroad that operates in the eastern United States and

        Canada.       Compl., ECF No. 1 H 7.                 Norfolk Southern is also a

        railroad operating in the eastern United States and Canada.                           Id.

        H   8.      In 1896,        eight railroads,         including     CSX and Norfolk

        Southern's        predecessors         in   interest,   joined    together    to     form

       Belt Line.           Id.     K    15.        Belt Line is a terminal switching

        railroad that operates in the Hampton Roads area of Virginia.

       Id.       nil 9, 15, 20.         Belt Line's purpose was to connect the eight

       owner-railroads' tracks (and traffic carried by the railroads)

       2 Defendants Belt Line, Moss, Hall, Hurlbut, Merrilli, and Norfolk Southern
        will be collectively referred to as "Defendants."

       3 A motion to dismiss under Rule 12(b)(6) is generally limited to a review of
       the allegations in the complaint itself. Goines v. Valley Cmty. Servs. Ed.,
       822 F.3d 159, 165-66 (4th Cir. 2016). However, courts may consider documents
       that are attached to the complaint as exhibits.     Fed. R. Civ. P. 10(c).
       Thus, the facts recited here are drawn from               the   Complaint and attached
       exhibits.     They are assumed true only to decide the motion to dismiss.              The
       facts     stated   here    are   not    factual findings for    any purpose   other   than
       consideration of the pending motions.            See Erickson v. Pardus, 551 U.S. 89,
       94 (2007) ("[W]hen iruling on a defendant's motion to dismiss, a judge must
       accept as true all of the factual allegations contained in the complaint.").




                                                     JA103
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        to various marine teinninals located along Belt Line's tracks.

        Id. Hi/ 15.         In 1917/ Belt Line established a connection from

        several      owner-railroads'    tracks       to       the   Norfolk    International


        Terminals C'NIT").         Id. H 1.      NIT is one of the largest marine

        terminal facilities in Virginia and one of the largest terminals

        on the East Coast.      Id. H 20.

               To govern this arrangement/ the owner-railroads signed the

        Belt   Line    Operating    Agreement     in    1897/        which   sets    forth     the

        ownership     and   operation   of     Belt    Line      and    various     duties     and

        obligations of the shareholders.              Id. H 16/ see also Ex. A.                The

        Belt Line Operating Agreement provides that Belt Line would be a

       ''separate      organization     in    which    all       [railroads]        are   to    be

       equally interested and each to have an equal representation."

        Compl. H 17; Ex. A at 1.             Specifically/ the Operating Agreement

       provides that each shareholder "shall have one representative on

       the Board" of Belt Line.               Compl.       H    17; Ex. A at 1-2.              The

       Operating Agreement further provides that each shareholder must

       "co-operate cordially in encouraging the business of the [Belt

       Line] for which it is constructed."                     Compl. H 18; Ex. A at 4.

       The Operating Agreement also states that Belt Line anticipates

       that    its    shareholders    will    deliver      to    Belt    Line   all   railroad

       cars that the shareholders cannot serve directly.                        Compl. H 18;

       Ex. A at 6 H 10.         CSX alleges the Operating Agreement provided

       CSX with an expectation that Belt Line will provide it with an




                                               JA104
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        efficient means of interchanging its traffic, including, without

        limitation, to and from the NIT.                      Compl.       K    18; Ex. A at 6

        (providing that Belt Line "shall perform the service for which

        it was built and said Company be directly responsible for the

        competent and efficient discharge of its every obligation to the

        parties   hereto").          Finally,       the    Operating       Agreement           provides

        that   the     members      of    the     Belt    Line    Board        of    Directors        are


        obligated      to    vote    for       "such     resolutions,          by-laws        or    other

        proceedings      as    may       be    necessary    to    carry        into      effect       the

        agreements made in" the Belt Line Operating Agreement.                                 Compl. H

        19; Ex. A at 6.

               As a result of mergers and acquisitions among the original

        eight railroads, by the end of the 20th century, only three Belt

       Line member-owners remained; CSX, Norfolk and Western Railway

        Company, and the Southern Railway Company.                        Compl. HH 2, 21.             In

       a   Supplemental        Agreement          dated    March     1,        1989,         the    three

       remaining shareholders agreed to reapportion the board seats:

        CSX was afforded the right to appoint two representatives to the

       Belt Line Board of Directors, and the other two companies were

       afforded the right to appoint three representatives to the Belt

       Line    Board    collectively.             Id.        2,     22;    Ex.       C   H    1.      The

       Supplemental         Agreement         further    provided    that,          other     than    the

       reapportionment,        "[n]othing         herein    shall     be       deemed        to    amend.




                                                   JA105
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        alter,    or     affect       any    other       provision      of    the    [Belt         Line]

        Agreement."         Id. H 22; Ex. C H 2.

               Subsequently, Norfolk and Western Railway Company and the

        Southern Railway Company merged to form Norfolk Southern.                                  Id. f

        23.    The new company owns 57% of Belt Line, and CSX owns 43%.

        Per the revised 1996 Belt Line By-Laws, NS is able to appoint

        four voting members to the Belt Line Board of Directors and CSX

        appoints two.         Id. ^ 23.          CSX alleges that for at least the past

        ten years, NS has inserted former NS employees in all management

        positions      of     Belt    Line       and    appointed      current      or   former       NS

        employees in four of the six Belt Line Board of Directors voting

        positions and one non-voting director position.                             Id. H 2, 26.

        Individual Defendants Hall, Hurlbut, and Merilli are all current

        NS employees and three of the current voting members of the Belt

        Line    Board    of        Directors      appointed     by     NS.     Id.       ^    10,    26.

        Defendant Moss is             the fourth voting          member of the               Belt Line

        Board appointed by NS, the President and General Manager of Belt

        Line since 2011, and is a former employee of NS.                         Id. Hf 10, 27.

        Moss's predecessor, David Stinson, was also a former NS employee

        and    returned       to    work    at    NS    after    his    tenure      as   Belt       Line


        President.        Id. H 27.            Donna Coleman, the current non-voting

        member   of     the    Board    of     Directors       and   Vice    President        of    Belt

        Line, is also a former employee of NS.                       Id. H 27.       In addition.




                                                       JA106
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        Bill O'Brien, the current Terminal Superintendent of Belt Line,

        is also a former employee of NS.              Id.

               CSX alleges that Norfolk Southern has abused its position

        as     majority      shareholder,        colluding        with     the       Individual

        Defendants and Belt Line to deny competitors access to NIT.                           Id.

        Ht 3, 20, 25.        Norfolk Southern is able to access NIT directly

        via Norfolk Southern's tracks.                Other railroads can only access

        NIT    through     Belt   Line's   tracks       because    these      tracks    connect

        Norfolk      Southern's      railroad    tracks       leading    to   NIT     with    the

        tracks of other railroads.              See Map, ECF No. 1-2.            CSX alleges

        that Norfolk Southern, through its control of Belt Line,                              has

        blocked access to NIT by others.                Id.    Defendants have allegedly

        done    so    by    causing     Belt     Line    to     establish      and     maintain

        unreasonably high rates for its switch services for intermodal

        freight,4 which are dramatically higher than rates charged by

        comparable railroads.          Id. f 34.        The rate was set in 2009, over

        the objection of the Belt Line board members not appointed by

        NS.    I^ H 34.

               Defendants' actions are alleged to have adversely affected

        commerce     in    Hampton    Roads     and   Virginia.         The   Virginia       Port

       Authority has allegedly indicated that NIT would benefit from

        multiple rail carriers being able to access NIT because it would



       * Intermodal refers to the use of two modes of freight, such as ship and rail,
       to transport goods from shipper to consignee.          Compl. at 3 n.l.




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        allow more    volume     to be moved at competitive prices, and has

        requested that Belt Line "facilitate dual [rail] access [by CSX

        and NS]    for handling containers at NIT," because Belt Line's

        current failure to provide "proper access to NIT by CSX puts

        Virginia at a competitive disadvantage."              Id. HH 4, 36.

             The only recent example of CSX actually utilizing Belt Line

        to access NIT occurred in 2015 when, due to closures of other

        ports    around    the     country,   NIT     was    inundated    with     excess

        containers.       Because of customer demand, CSX was forced to pay

        the high rate charged by Belt Line.                 This was the only period

        where CSX could pay the high rates, and that was only because

        the other port closures caused all costs associated with ocean

        shipping    to    temporarily      skyrocket.        Under     normal    business

        conditions.      Belt    Line's    rate   and   its       operating     procedures

        preclude competitor access to NIT.            Id. H 4.

             Defendants have allegedly further rejected any proposal to

       address     Belt    Line's    financial      state    or     Norfolk    Southern's

       control of Belt Line.           In advance of the April 18, 2018 Belt

       Line Board and stockholders meetings, CSX presented a Service

       Proposal    that    would    have   significantly      and    rapidly    increased

       Belt Line's revenue and operating income by nearly doubling the

       volume of cars that Belt Line moves annually.                   Id. H 38.      The

       proposal included a lower switch rate per car with a guarantee

       of a minimum annual volume, with CSX moving 18,000 cars to or




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       from NIT, and it would have purportedly generated approximately

       $1,440,000       annually      in    incremental     revenue       and    potentially

       $660,000 annually in incremental operating income for Belt Line.

        Id.   H   39.     CSX    alleges Individual Defendants and Belt Line

        Management refused to form an independent committee to evaluate

        the   proposal     or    allow     a   formal    vote,    and    thus    effectively

        rejected it.           Id. H 40.       Additionally, in response to CSX's

        proposal.       Moss     revealed      that     Defendants       were    considering

        entering into a new agreement that effectively would impose a

        substantial increase in charges paid to NS for Belt Line's usage

       of its rights of access to NS's track, and which would, in turn,

        reduce the profitability of intermodal service for Belt Line,

        thus increasing costs to Belt Line's customers.                   Id. H 41.

              CSX   has   also    allegedly proposed,        both       before   and   at   the

        April 2018 Belt Line Board and shareholders' meetings, several

        remedial    actions      to   address     defects    in   Belt     Line's      current


        corporate governance structure. Id. H 67.                 These proposals would

        have permitted each shareholder to designate only one individual

       for election as a director; permitted the shareholders to elect

       four independent directors to the Belt Line Board; and permitted

        the Board and shareholders to implement a plan for an orderly

        transition to independent management.                Id. H 68-69.           CSX also

       identified and proposed to NS eight candidates for election as

       independent directors to fill the remaining four positions on




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        the     Belt      Line      Board.           Id.        71.            CSX's          shareholder


        representative made a motion for the Belt Line Board to adopt

        CSX's    proposals.            Id.      H    70.      CSX    alleges            the     Individual

        Defendants rejected CSX's governance proposal in its entirety,

        voted    against       CSX's       motion,     refused      to    nominate             (much        less

        elect)      any    independent          directors,      and      instead          elected           four

        directors      designated          by   NS    (three    current            NS    employees           and

        Defendant Cannon Moss) and only two directors designated by CSX.

        Id. K 72.         Donna Coleman who is also alleged to have an interest

        in NS, was also elected as a non-voting director.                                Id.

              As further evidence of this alleged collusion, CSX asserts

        that the management of Belt Line all have NS email addresses,

        which they use to conduct the business of the Belt Line, id. K

        28,   and      for     at   least       12   years,     every         president          and        vice

        president of Belt Line was a former NS employee.                                 Id. f 29.          All

        of    the    Individual        Defendants           allegedly         have        interests          in

        furthering        Norfolk      Southern's           interests         in        their        role    as

        directors         of   Belt     Line,        with    the      expectation               of     future

        employment and remuneration from Norfolk Southern.                                      Id. ^ 30.

        In 2010, Belt Line refused to accept CSX's offer to provide its

        locomotives        and      fuel     free     of    charge       to    Belt        Line,        while

       accepting a lease or contract to use NS's locomotives without

       competitive bidding.                Id. H 46.         In 2008, Belt Line commenced

       the sale of property in Norfolk and attempted to sell property




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        in     Portsmouth.              The    sale    of       Norfolk    property          would     have

        constrained Belt Line's access to NIT and the sale of Portsmouth

        property would have constrained CSX to its own intermodal yard

        in Portsmouth.            Belt Line also gave up its access rights to the

        track between NS Juncture and Carolina Juncture (the "diamond"

        track).      Doing so has required Belt Line trains to be moved into

       a trainyard controlled by NS.

               CSX     alleges          this     collusion         by     Belt       Line     management

       represents a breach of the contractual duty owed by Belt Line to

        CSX.     CSX also alleges that Individual Defendants are in breach

       of their fiduciary duties to Belt Line.                            Id. K 3, 32, 37.           This

        hurts Belt Line because Belt Line's operating revenue is derived

       principally from switch operations, which is dependent upon the

       switch services being provided to the shareholders' companies,

       who in turn pay for those services.                         Id. K 33.         Although NIT has

       been rapidly expanding and                     increasing         its   revenues in recent

       years     due      to     increased       shipping.        Belt     Line's      revenues      have

       tellingly remained flat or decreased.                              Id.    tt 3,       37.     Belt

       Line's rail car volume has been essentially flat for years, and

       decreased       in       2017.     Current      car      volume   on    the   Belt     Line   as a

       whole is heavily dependent on a single customer (not at NIT)

       engaged       in     a    single       line    of    business.          No    new     sources    of

       substantial and recurring business for Belt Line have been added

       in recent years, nor do any appear to be planned.                                    Moreover, no

                                                           10




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       excess    cash    flow     is   being     generated      that      could    be    used      for

       capital    expenditures         for   maintenance,        upgrades,        or    expansion.

       Id. H 37.

               CSX filed the Complaint beginning this suit on October 4,

       2018.    ECF No. 1.        CSX makes the following claims:

          • Count I, conspiracy to restrain trade, in violation of 15

             U.S.C. § 1, against Defendants Norfolk Southern and Belt

             Line;

          • Count    II,      conspiracy        to    monopolize,      in    violation        of   15

             U.S.C. § 2, against Defendants Norfolk Southern and Belt

             Line;

          • Count III, monopolization, in violation of 15 U.S.C. § 2,

             against Norfolk Southern;

          • Count    IV,      attempted      monopolization,           in    violation        of   15

             U.S.C. § 2, against Defendant Norfolk Southern;

          • Count V, breach of contract, against Norfolk Southern;

          • Count       VI,   a      derivative       claim    in    CSX's    capacity        as    a

             shareholder        in    Belt   Line,        pursuant   to     Va.   Code    §   13.1-

             672.1, for breach of fiduciary duties, against Individual

             Defendants Hall, Hurlbut, Merilli, and Moss;

          • Count       VII,         tortious        interference         with     a     business

             expectancy, against Norfolk Southern and Belt Line;




                                                     11




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          • Count VIII, statutory business conspiracy, in violation of

               Va.    Code    §   18.2-499,   against         Norfolk    Southern      and   Belt

               Line;

          • and Count IX, civil conspiracy, against Norfolk Southern

               and Belt Line.


        On November 27, 2018, Defendants filed their respective motions

        to dismiss.          Belt Line seeks to dismiss all counts against it

        (Counts      I,    II,    VII,   VIII,    and      IX).      In    its    motion       and

        accompanying memorandum. Belt Line argues that all such counts

        must   be    dismissed     because;   1)    CSX     cannot      force   Belt    Line   to

        accept its proposed rate, 2) all counts are preempted by the

        jurisdiction of the Surface Transportation Board under 49 U.S.C.

        § 10501(b), or alternatively, 3) the case should be held in

        abeyance     to permit the        ongoing       STB    proceedings       to    conclude,

        4) the federal claims against it (Counts I and II) must be

        dismissed because a parent and majority-owned subsidiary cannot

        conspire with each other, 5) the state law claims—Counts VII,

        VIII, IX—are time barred, and 6) because CSX fails to state a

        claim.


               In its own individual motion and accompanying memorandum,

        Norfolk Southern also argues that: 1) the state law claims are

        time barred, 2) the breach of contract claim (Count V) fails

       because       CSX   fails    to   identify      a   covenant       in    the   Operating

       Agreement that NS           has breached, 3)        CSX fails to state a claim

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        for tortious interference because NS is a party to the Operating

        Agreement      and    the      economic        loss        rule   bars       a     tortious

        interference claim.          NS's motion does not seek to dismiss Counts


        I-IV, the federal claims.

               In   their     separate       motion     and      accompanying        memorandum,

        Defendants Hall, Hurlbut, and Merilli argue that CSX fails to

        state a claim for breach of fiduciary duty, and the Court should

        decline to exercise supplemental jurisdiction.                         In his separate

        motion and accompanying memorandum. Defendant Moss argues that:

        1) the Court lacks subject matter jurisdiction over Count VI, as

        the breach of fiduciary duty does not arise from the same case

        or controversy as CSX's federal claims, 2) even if the Court has

        jurisdiction,        it     should    decline         to     exercise     supplemental

        jurisdiction, and 3) CSX fails to state a claim for breach of

        fiduciary duty.

               Plaintiff filed a response to each of the motions, ECF Nos.

        39-42, and Defendants filed their respective replies, ECF Nos.

        44-47.      Having been fully briefed, the motions to dismiss are

        ripe     for   review.         The     Court       has      reviewed     the       parties'

        submissions     and       concludes   that     a    hearing       is   not       necessary.

        Local Civil Rule 7(J); Fed. R. Civ. P. 78.




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                                    II. STANDARD OF REVIEW


                                        A. Rule 12(b)(1)

               Belt Line and Defendant Moss challenge the jurisdiction of

        the   Court over various counts.               These arguments are properly-

        considered under Fed. R. Civ. P. 12(b)(1).

               A    motion     to   dismiss      for      lack   of   subject       matter

        jurisdiction, pursuant to Rule 12(b)(1) of the Federal Rules of

        Civil Procedure, may attack a complaint on its face, insofar as

        the complaint fails to allege facts upon which the court can

        base jurisdiction, or it may attack the truth of any underlying

        jurisdictional allegations contained in the complaint.                     Beck v.

        McDonald, 848 F.3d 262, 270 (4th Cir. 2017); Adams v. Bain, 697

        F.2d 1213, 1219 (4th Cir. 1982).               In the former situation, known

        as a facial challenge, the court is required to accept all of

        the complaint's factual allegations as true, "and the plaintiff,

        in effect, is        afforded    the    same    procedural protection as he

        would receive under a 12(b)(6) consideration."                   Adams, 697 F.2d

        at 1219.


               In the latter situation, involving a challenge to the truth

        of    the   jurisdictional      allegations,      also   known    as   a   factual

        challenge, "the district court may regard the pleadings as mere

        evidence    on   the   issue    and    may    consider   evidence    outside   the

        pleadings."      Velasco v. Gov't of Indonesia, 370 F.3d 392, 398

        (4th Cir. 2004) (citing Adams, 697 F.2d at 1219).                   In explaining

                                                 14




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        how   district   courts     should    evaluate       evidence      presented    in   a

        factual challenge, the United States Court of Appeals for the

        Fourth   Circuit    has    indicated    that    it    depends      on   whether     the

        jurisdictional     facts    are   intertwined        with    the    merits     facts.

        Kerns v. United States, 585 F.3d 187, 196 {4th Cir. 2009).                        When

        jurisdictional facts are not intertwined                 with the        merits, the

        trial court may weigh evidence and resolve factual disputes to

        determine its jurisdiction.            See Arbaugh v. Y&H Corp., 546 U.S.

        500, 514 (2006); Adams, 697 F.2d at 1219.                   In such a case, the

        plaintiff   bears     the    burden     of     proving      jurisdiction       by    a

        preponderance    of   the    evidence    and    may    present ''affidavit[s],

        depositions or live testimony" to meet its burden.                        Adams, 697

        F.2d at 1219; accord United States ex rel. Vuyyuru v. Jadhav,

        555 F.3d 337, 437-48 (4th Cir. 2009).                 When jurisdictional and

        merits facts are intertwined, "[i]t is the better view that . .

       . the entire factual dispute is appropriately resolved only by a

        proceeding on the merits."              Adams, 697 F.2d at 1219; accord

        Kerns, 585 F.3d at 193, 196.

                                      B. Rule 12(b)(6)

              Defendants all seek to dismiss the various counts pursuant

       to Fed. R. Civ. P. 12(b)(6).            The well-established Rule 12(b)(6)

       standard of review permits dismissal when a complaint fails "to

       state a claim upon which relief can be granted."                         Fed. R. Civ.

       P. 12(b)(6).      A complaint fails to state a claim if it does not

                                                15




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        allege    "enough       facts    to    state        a    claim    to      relief      that   is

        plausible on its face."               Bell Atl. Corp. v. Twombly^                     550 U.S.

        544, 570 (2007).         Although a complaint need not be detailed, the

        "[f]actual allegations must be enough to raise a right to relief

        above    the    speculative      level."           Id.    at    555;    see      Ashcroft    v.

        Iqbal, 556 U.S. 662, 678 (2009).

             A motion to dismiss tests the sufficiency of a complaint

        without resolving factual disputes, and a district court "'must

        accept as true all of the factual allegations contained in the

        complaint' and 'draw all reasonable inferences in favor of the

        plaintiff.'"           Kensington      Volunteer         Fire    Dep't      v.    Montgomery

        Cty.,    684    F.3d    462,    467    (4th    Cir.      2012)    (citation        omitted).

        Although the truth of the facts alleged is presumed, district

        courts are not bound by the "legal conclusions drawn from the

        facts"    and    "need    not    accept       as    true    unwarranted          inferences,

        unreasonable conclusions, or arguments."                         E. Shore Mkts., Inc.

        V. Assocs. Ltd. P'ship, 213 F.3d 175, 180 (4th Cir. 2000); see

        Iqbal,    556    U.S.    at    678    (citing       Twombly,      550      U.S.    at    555).

       "Threadbare       recitals       of    the    elements      of    a     cause     of    action,

        supported       by   mere      conclusory         statements,        do    not     suffice."

       Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).                                     To

        suirvive a motion to dismiss under Rule 12(b)(6), "a complaint

       must include 'more than an unadorned, the-defendant-unlawfully-



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       hamed-me      accusation.'"          Johnson       v.    Am.   Towers,      LLC,    781   F.3d

       693, 709 (4th Cir. 2015) (quoting Iqbal, 556 U.S. at 678).

             A motion to dismiss pursuant to Rule 12(b)(6) must be read

       in conjunction        with Federal Rule of                   Civil Procedure 8(a)(2).

       Rule 8(a)(2) requires only "a short and plain statement of the

       claim showing that the pleader is entitled to relief," Fed. R.

       Civ. P. 8(a)(2), so as to ". . . give the defendant fair notice

       of what the . . . claim is and the grounds upon which it rests.

       . . ."      Twombly, 550 U.S. at 555 (quoting Conley v. Gibson, 355

       U.S. 41, 47 (1957)).              Fair notice is provided by setting forth

       enough facts for the complaint to be "plausible on its face" and

       "raise   a    right    to    relief       above   the    speculative         level on       the

       assumption that all the allegations in the complaint are true

       (even    if   doubtful       in    fact).    .    .     ."     Id.    at    555    (internal

       citations omitted).

             And     as   discussed       supra    n.3,      pursuant       to    Rule    12(d),    if

       matters outside the pleadings are submitted in conjunction with

       or in opposition to a 12(b)(6) motion, the court generally must

       either exclude such materials from consideration or convert the


       motion into a motion for summary judgment.                                Fed. R. Civ. P.

       12(d).        However,      a     court    may    consider       matters      outside       the

       pleadings expressly relied on in a complaint.                              See Lorenzo v.

       Rumsfeld,     456     F.    Supp.    2d    731,    734       (E.D.   Va.    2006)    (citing

       Phillips V. LCI Int'l, Inc., 190 F.3d 609, 618 (4th Cir. 1999))

                                                    17




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        (finding    that      at    the         12(b)(6)        stage,       "a    court    can   consider

        documents       outside        of    the       pleadings,            without    converting           the

       motion to one for summary judgment, so long as the documents are

       integral to and explicitly relied on in the complaint."); Davis

        V. George Mason Univ., 395 F. Supp. 2d 331, 335 (E.D. Va. 2005)

       (quoting Gasner v. County Dinwiddie, 162 F.R.D. 280, 282 (E.D.

       Va.   1995))       ("In     the       Eastern         District         of    Virginia,     'when       a

       plaintiff fails to introduce a pertinent document as part of his

       complaint, the defendant may attach the document to a motion to

       dismiss     the     complaint             and    the       Court      may    consider      the       same

       without converting the motion to one for summary judgment.'").

             Where a party has made both a Rule 12(b)(1) motion and a

       Rule 12(b)(6) motion, a court should address the 12(b)(1) issue

       first.       5B    Charles        Alan         Wright      & Arthur         R.   Miller,    Federal

       Practice     and    Procedure             §    1350    (3d      ed.    2004).        If   the    court

       concludes        there      is       no       subject       matter      jurisdiction,           it    is

       appropriate       to     avoid       a     decision        on    the    Rule     12(b)(6)       motion

       because     finding         the      absence          of    subject         matter    jurisdiction

       results     in     dismissal          of      the     complaint,           thereby    mooting        the

       remaining defenses and other arguments about the validity of the

       claims alleged.           Id.




                                                           18




                                                        JA119
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                                          III. DISCUSSION


             Belt     Line   is    the    only    party    that     seeks   to    dismiss     the

        federal claims.        The Court begins by addressing Belt Line's four

        arguments that the federal claims should be dismissed.

                                   A. All Claims - Belt Line


             Belt Line makes two arguments that all claims against it

        should   be   dismissed:         first,    that    the     claims   against    it     are

        preempted by proceedings before the Surface Transportation Board

        («STB") and second. Belt Line appears to make an argument that

        CSX has failed to state any claim                  because Belt Line has not

        committed a wrongful act.

                                           1. Preemption

             First,     Belt      Line    argues    that     the    Court    does    not     have

        subject matter jurisdiction over any of the counts against it

        because they are expressly preempted by the Interstate Commerce

        Commission Termination Act of 1995 ("ICCTA").                   The ICCTA created

        the STB.


             The STB is an economic regulatory agency that Congress
             charged with the fundamental missions of resolving
             railroad rate and service disputes and reviewing
             proposed railroad mergers. The STB is decisionally
             independent,    although   it    is    administratively
             affiliated with the Department of Transportation.

       Overview       of     the         STB,      Surface       Transportation         Board,

       https://www.stb.gov/stb/about/overview.html.                         The     ICCTA,    in




                                                   19




                                                  JA120
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        particular 49 U.S.C. § 10501(b), grants exclusive jurisdiction

        to the STB over:


               (1) transportation by rail carriers, and the remedies
               provided   in  this   part  with  respect   to   rates,
               classifications,    rules  (including   car    service,
               interchange, and other operating rules), practices,
               routes, services, and facilities of such carriers; and

               (2)   the    construction,  acquisition,  operation,
               abandonment, or discontinuance of spur, industrial,
               team, switching, or side tracks, or facilities, even
               if the tracks are located, or intended to be located,
               entirely in one State,

       49 U.S.C. § 10501(b).                As alleged in the Complaint, Belt Line

        and Norfolk Southern have negotiated an increase in the charges

        Belt    Line      would    pay    to    Norfolk     Southern    to    access    Norfolk

        Southern's tracks that lead to the NIT.                    Compl. H 41.       The Court

        notes that on July 25, 2019, Belt Line notified the Court that

        the    STB   decided       to    hold   its    related     proceeding    in    abeyance

        pending      resolution     of     this federal court proceeding              including

        any appeals.         ECF No. 61.         Norfolk Southern has petitioned the

        STB for reconsideration.               ECF No. 63.


               In    any    event.       Belt    Line's     jurisdictional      argument        is

        meritless.        The U.S. Court of Appeals for the Fourth Circuit has

        found   that       the    express      preemption    clause    under    49     U.S.C.   §

        10501(b)       preempts     regulation        of    the    railroad    industry    with

        respect      to    rates,       locations,    and    the    operation    of    railroad

        tracks by state           and    local governments.          PCS   Phosphate     Co.    v.

        Norfolk S. Corp., 559 F.Sd 212, 218-19 (4th Cir. 2009).                         The STB


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                                                   JA121
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       also    interprets     this    provision         to     preempt      state      and    local

       actions    that impact       the    regulation        of    railroads.          See    Green

       Mountain      R.R.   Corp.    v.    Vermont,      404      F.3d   638,    642    (2d    Cir.

       2005); Adrian & Blissfield Ry. Co. v. Vill. of Blissfield, 550

       F.3d 533, 540 (6th Cir. 2008) (citing CSX Transp., Inc.—Petition

       for Declaratory Order,             2005 WL 1024490, at *2 (S.T.B. May 3,

       2005)   (the    two ''broad        categories"        of   actions      preempted      by   §

       10501(b) are "state and local actions . . . denying a railroad

       the ability to conduct some part of its operations or to proceed

        with activities that the Board has authorized . . . [and any]

       state or local regulation of matters directly regulated by the

       Board—such as        the   construction,         operation,       and    abandonment of

       rail lines; railroad mergers, line acquisitions, and other forms

       of consolidation; and railroad rates and service.")).                            Belt Line

       has not cited any case that supports the proposition that the

       ICCTA preempts other federal statutes like the antitrust claims

       before the Court.


              Even    assuming      the     ICCTA       could      preempt      other     federal

       statutes, with respect to both the federal and state law claims

       that are      pled against Belt Line,              courts     have      recognized      that

       "Congress     narrowly tailored the              ICCTA     preemption     provision to

       displace      only 'regulation,'        i.e.,      those      state      laws    that   may

       reasonably      be    said    to     have    the      effect      of     'managing'         or

       'governing' rail transportation,                 while permitting the continued

                                                   21




                                               JA122
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        application of laws having a more remote or incidental effect on

        rail transportation."       Fla. E. Coast Ry. Co. v. City of W. Palm

        Beach, 266 F.3d 1324, 1331 (11th Cir. 2001) (quoting Black's Law

        Dictionary 1286 (6th ed. 1990)) (emphasis added).                        The Fourth

        Circuit has found that "voluntary agreements" entered into by

        private    railroad    companies   "are       not    presumptively        regulatory

        acts,"    and   are   generally   not   preempted          by   the   statute.     PCS

        Phosphate, 559 F.3d at 218-19 ("If contracts were by definition

        'regulation,'     then   enforcement         of    every    contract     with    'rail

        transportation' as its subject would be preempted as a state law

        remedy 'with respect to regulation of rail transportation.'").

        Thus, when considering a preemption argument involving the STB,

        courts begin with a presumption that the acts are non-regulatory

       if they result from a private agreement like a contract, but

        courts must also look at whether the "allegations, if pursued,

        would directly interfere with the STB's exclusive jurisdiction"

       over the regulation of railroads.                  PCS Phosphate Co. v. Norfolk

       S. Corp., 520 F. Supp. 2d 705, 717 (E.D.N.C. 2007), aff'd, 559

        F.3d 212 (4th Cir. 2009) (phosphate mining company brought claim

       against defendant railroad for misleading, unfair, and coercive

       threats to abandon a railroad line which plaintiff's business

       depended on; STB proceedings also adjudicated whether defendant

       railroad could abandon the railroad line, and thus, preempted

       the claim).


                                                22




                                            JA123
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              Here, the owner-shareholder companies, including Plaintiff

       and Norfolk Southern, formed Belt Line through contract.                            This

       is   the    type   of ''voluntary agreement" among             parties       that the

       Fourth Circuit has explained is not a "presumptively regulatory

       act."      PCS Phosphate, 559 F.3d at 218-19.                Moreover, Belt Line

       has not overcome the presumption, that a voluntary agreement is

       not regulatory,         by demonstrating that the various federal and

       state law claims would affect the STB's exclusive jurisdiction

       over the regulation of railroads.                  The question before the STB

       is whether to approve the increased rate that Norfolk Southern

       will charge Belt Line for use of NS's tracks in the future.                         The

       question     before     this    Court    is   whether   Belt   Line    and    Norfolk

       Southern engaged in illegal conduct up to this point in time

       that    violated,        for     instance,        federal    antitrust       laws    or

       constituted        a   state    law     business     conspiracy   or     breach      of

       contract (in particular, by setting the Uniform Rate charged to

       access NIT too high in order to deter competition).                    If CSX were

       to   prevail     in    this    Court on    the     federal   antitrust   claims      or

       state law business conspiracy claims in this suit, this Court

       may award damages for CSX's previous losses or injunctive relief

       to prevent       Norfolk Southern and Belt Line from               continuing to

       carry      out   such    an    antitrust      or    business   conspiracy.           In

       particular, the injunctive relief would prevent "Defendants from

       continuing to commit the above referenced violations of federal

                                                  23




                                                 JA124
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       and state law," restore CSX's shareholder rights, establish an

       independent board structure, and/or require approval of                              CSX's

       service     proposal.       Compl.,       Prayer for Relief.               That is,      any

       injunctive       relief    may    prevent      Defendants       from       continuing     to

       engage      in   the    conspiracy        or    make    changes       to    Belt    Line's

       governance.         However,      the     STB's    jurisdiction            would   not   be

       affected; that is, the STB may still approve or disapprove the

       pending rate increase that Norfolk Southern would charge Belt

       Line in the future.


              In   contrast,      in    the     earliest      PCS     Phosphate      case,      the

       district court found,            inter alia,        that the         plaintiff's     claim

       brought     under      North     Carolina's       unfair       and    deceptive      trade

       practices law, which was based in tort, sought treble damages

       for    defendants'        threats    to    abandon      a    railroad       line.        PCS


       Phosphate, 520 F. Supp. 2d at 717.                     If the court addressed the

       question of whether defendants had to continue operation of a

       railroad track, the court would have to adjudicate an issue that

       was    within    the   exclusive       jurisdiction       of    the    STB—namely,       the

       abandonment       of      railroad        lines     (and       resultant       damages).

       Therefore, the tort claim "managed" or "governed" the regulation

       of railroads, and the Court held that the ICCTA preempted state

       tort law on this issue.                Id. ("These allegations, if pursued,

       would directly interfere with the STB's exclusive jurisdiction

       over     the     abandonment        of    railroad       tracks.            Accordingly,

                                                  24




                                                 JA125
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        plaintiff's         UDTPA     claim    is    preempted.").           The   court       in   PCS

        Phosphate also found that the plaintiff's claims for breach of

        contract, breach of an easement, and unjust enrichment did not

        intrude on the STB's jurisdiction because they related to prior

        conduct and agreements formed by the parties.                              PCS Phosphate,

        520 F. Supp. 2d at 716 ( [T] he court holds that section 10501(b)

        does not preempt plaintiff's breach of contract and breach of

        easement covenants claims.                  These claims concern the performance

        of    obligations        under      contracts      voluntarily       negotiated        by   the

        parties' predecessors in interest and do not have the effect of

        preventing          or        unreasonably          interfering           with        railroad

        operations.").              Here,     for    those     same     reasons,       the     various

       federal and state law claims do not intrude on the issue before


        the    STB,   which      is    compensation        paid     by Belt     Line     to    Norfolk

        Southern to use Norfolk Southern's tracks.


               For    the    reasons     stated       above,      the   Court     finds      that   the

        claims against STB are not preempted by the ICCTA, and there is

        no compelling reason to stay this action.

                                              2. The Proposal

               Second, Belt Line             argues that all the             counts against it

        must    be    dismissed        because      Belt     Line     has   not    committed        any

        wrongful      act.       Specifically,         Belt    Line     notes     that    it    cannot

       accept CSX's proposal to allow CSX to access NIT at a lower rate

       than     Belt    Line's         Uniform       Rate     without       violating         its   own

                                                      25




                                                     JA126
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        Operating Agreement, and Belt Line charged CSX the Unifonn Rate

        to access NIT.^


                 At the     outset,    the      Court    notes     that,   to   the    extent      that

        Belt      Line     is     making    a    merits        argument,   such      an     issue      is

        inappropriate to resolve on a 12(b)(6) motion.                          Gellman v. State

        of Md., 538 F.2d 603, 606 (4th Cir. 1976).                         Moreover, it is not

        clear     what     claims    Belt       Line    asks    this   Court    to   dismiss      as   a


        result of its purported inability to accept CSX's rate proposal.

        To the extent that Belt Line argues that CSX has failed to state

        a claim        against Belt Line for antitrust conspiracy, tortious

        interference, and conspiracy under state law, these arguments

        will     be    addressed       in   depth       below     as   Belt     Line    makes      more

        specific 12(b)(6) arguments.                    However, the Court briefly notes

        at this juncture that Belt Line apparently misunderstands CSX's

        proposal regarding the rate as alleged in the Complaint.                                   Belt

        Line's        Operating     Agreement          does    state    that    Belt      Line     must

        provide a uniform rate for all shareholders.                          ECF No. 1-1 at 3-4

        ^ 9.          However, neither the Complaint nor the rate proposal

        attached to the Complaint, which CSX proposed in 2018, states

        that CSX is seeking a lower preferential rate, below the Uniform

        Rate,      for     only    itself.         The       service    proposal       states      that

            [p]resently, the Belt Line's switch rate of $210 per car is an


        ®   As   further   discussed   below,     the    Individual    Defendants    make   a    similar
       unavailing argument in seeking to dismiss the shareholder derivative claims
        alleged against them.

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                                                       JA127
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        economic barrier that prevents CSXT from being able to move any-

        meaningful port freight by rail at NIT. . . .                             Accordingly, CSXT

        proposes    the     following,      all      to    be     memorialized          in    a   formal

        agreement:       One-way   rate        of    $37.50       per   container            (empty     or

        loaded) for a term of three years on movements handled by the

        Belt Line between Berkley Yard and NIT."                              EOF No, 1-5.             The

        service proposal does not state that the rate would be lowered

       for only CSX.         The lowered rate is not limited to CSX, at least

        as alleged in the Complaint and the rate proposal, but rather

        applies to any traffic by any company on Belt Line's tracks

        between    ^'Berkley Yard and NIT."                  Compl.       H   39; ECF No. 1-5.

        Therefore, the proposal is within the power of Belt Line and its

        directors     to    accept,       and       does    not    appear         to     violate       the

       Operating Agreement.           It appears that CSX is not alleging it

       should     have     been   given    a    preferential         rate,        but    that     it   is

       alleging the Uniform Rate is set too high in order to benefit

       Norfolk Southern's interests at the expense of Belt Line's own

       interests      and    CSX's    interests.                Compl.        H    41.        Although

       ultimately a merits question, courts have found that rejecting

       proposals which are in a company's own interest and within the

       company's power to accept may be evidence of, for instance, an

       antitrust      conspiracy.         See,       e.g.,      SourceOne         Dental,     Inc.     v.

       Patterson Companies, Inc., 310 F. Supp. 3d 346, 357 (E.D.N.Y.

       2018)    (in      denying    summary         judgment,       the       court      found     that

                                                     27




                                                    JA128
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        ^^evidence that shows that the parallel acts were against the

        apparent      individual       economic       self-interest          of     the     alleged

        conspirators" is evidence of ''a common motive to conspire").                              As

        CSX is not arguing that Belt Line unlawfully failed to give CSX

        a   preferential      rate,     but    that      Belt   Line's     rejection        of    the

        proposed reduced uniform rate is evidence of wrongdoing, Belt

        Line's argument, that the claims should be dismissed because CSX

        is seeking a preferential rate, misses the mark and seeks to

        dismiss a claim that was never asserted.

              For the general reasons stated above, the Court finds that

        CSX has adequately alleged some form of wrongdoing by Belt Line

        that can support a claim.                  The Court further addresses below

        Belt Line's 12(b)(6) arguments specific to each claim.

                         B. Federal Antitrust Claims - Belt Line


              Next,    the     Court     addresses         Belt     Line's        two     remaining

        arguments specific to Counts I-IV, the federal antitrust claims.

                                       1. Parent-Subsidiary

             Belt     Line    argues    that    Plaintiff         has   failed     to     state    an

        antitrust claim because Norfolk Southern is the parent company

        of Belt Line, and cannot conspire with a subsidiary.                            Thus, Belt

        Line argues the antitrust conspiracy counts fail.

             The    Supreme     Court    has       held    that    a    corporation        and    its

        wholly   owned       subsidiary,      as    well     as    a    corporation        and    an

        unincorporated division, must be viewed as a single entity for

                                                    28




                                                   JA129
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        purposes     of    §    1     of    the    Sherman        Act,   and     therefore     cannot

        conspire with each other.                  Copperweld Corp. v. Independence Tube

        Corp., 467 U.S. 752, 770-71 (1984).                         The Court reasoned that,

        unlike concerted conduct among otherwise independent entities,

        which presents substantial anticompetitive risk and is therefore

        closely      scrutinized            by     the     Sherman       Act,     the       internally

        coordinated conduct of a parent and its subsidiary presents no

        such risk because that conduct is basically assumed by one actor

        pursuing the economic interests of a single firm.                             Id. ("[Tjhere

        can    be    little         doubt    that        the   operations        of     a   corporate

        enterprise     organized            into    divisions       must    be    judged      as    the

        conduct of a single actor. . . .                       A division within a corporate

        structure pursues the common interests of the whole rather than

        interests separate from those of the corporation itself."). That

        is,    [a] § 1 agreement may be found when the conspirators had a

        unity of purpose or a common design and understanding, or a

        meeting of minds in an unlawful arrangement.                             But in reality a

        parent and a wholly owned subsidiary always have a unity of

        purpose or a common design.                 They share a common purpose whether

       or not the parent keeps a tight rein over the subsidiary; the

       parent may assert full control at any moment if the subsidiaiiy

       fails    to   act       in    the    parent's       best    interests."          Id.    at   771

       (internal citations and quotations omitted).




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                                                     JA130
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              Copperweld's     bright-line       rule    is   limited    to    antitrust

        conspiracies     between a   parent      corporation and a        wholly-owned

        subsidiaiiy.     However,    even   if     the    subsidiary is       not    wholly

        owned, courts have found that some related corporations, such as

        parents and majority-owned subsidiaries or "sister" subsidiaries

        of a common parent, have a sufficient unity of interest that

        they are incapable of conspiring for purposes of § 1 of the

        Sherman Act.     Siegel Transfer, Inc. v. Carrier Express, Inc., 54

        F.3d 1125, 1135 (3d Cir. 1995) (applying Copperweld and finding

        a "unity of interest" between corporation and its subcontractor

        hired to carry out "day-to-day" functions); City of Mt. Pleasant

        V. Associated Elec. Coop., Inc., 838 F.2d 268, 276-77 (8th Cir.

        1988); Hood V. Tenneco Texas Life Ins. Co., 739 F.2d 1012, 1015

        (5th Cir. 1984); see also Oksanen v. Page Mem'1 Hosp., 945 F.2d

        696, 706 (4th Cir. 1991) ("We recognize that a medical staff can

        be   comprised    of   physicians     with       independent    and    at    times

        competing economic interests.            As a result, when these actors

       join together to take action among themselves, they are unlike a

       single entity and therefore they have the capacity to conspire

       as a matter of law.").

             A sufficient unity of interest to prevent the formation of

       an antitrust conspiracy may be found                when the parent owns a

       substantial     majority of    the    subsidiary's      stock.         See,   e.g.,

       Rohlfing v. Manor Care, Inc., 172 F.R.D. 330, 344 (N.D. 111.

                                              30




                                            JA131
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       1997) {in finding unity of interest between sister subsidiaries

        where a parent company owned 100% of one subsidiary and 82.3% of

       another, court stated that "[s]uch a unity of interest is very

        likely to be found when the parent owns a substantial majority

        the subsidiary's stock.").                   In determining whether parent and

        majority-owned subsidiaries can conspire for antitrust purposes,

       courts     also      look     at    whether     the     parent      and       subsidiary          are

        inextricably        intertwined         in    the    same       corporate      mission,          are

        bound    by   the     same    interests       which       are    affected       by    the       same

       occurrences,         and      exist      to    accomplish         essentially          the       same

       objectives.          For example, a parent that does not wholly own a

        subsidiary      but    nevertheless           asserts      total    dominion          over      its

        actions, by way of management control, contractual obligations,

        economic      incentives,         or    otherwise,        is    probably       incapable          of

        conspiring     with       that     subsidiary       for    purposes       of    §     1    of    the

        Sherman Act.        Williams v. I.E. Fischer Nevada, 999 F.2d 445, 447

        (9th Cir. 1993) (affirming summary judgment decision that held a

       franchisor and franchisee were a "common enterprise" incapable

        of    conspiring      to     restrain        trade);      Siegel,       54     F.3d       at    1135

        (affirming summary judgment and finding unity of interest where

        one     corporation        was     an     "inseparable          part"    of     the       other's

        management).

               Here, it is alleged that Norfolk Southern is the majority

        shareholder      of    Belt       Line.      However,       it is       also    alleged         that

                                                      31




                                                     JA132
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       Norfolk Southern only owns 57% of Belt Line, which is below what

       other    courts     have   found     necessary       to   find    ''a   substantial

       majority."      Compl. K 23; see, e.g., Siegel Transfer, Inc. v.

       Carrier Exp., Inc., 54 F.3d 1125, 1133 (3d Cir. 1995) ("Although

       Bethlehem Steel did not own .08% of the Railroad's stock, the

       difference between its 99.92% ownership and the 100% ownership

       in Copperweld is de minimus.").                 Moreover, while it is alleged

       that Norfolk Southern has managed to insert current or former NS

       employees in Belt Line management positions, id. H 38, it cannot

       be    said   that   Norfolk   Southern      exerts    total   dominion,        as    CSX

       still retains the right to appoint two of the directors.                       Id.

       2, 23, 26; see, e.g.. Freeman v. San Diego Ass'n of Realtors,

       322 F.3d 1133, 1146 (9th            Cir.    2003), as amended on denial of

       reh'g (Apr. 24, 2003) (finding that competitor associations that

       separately appointed directors to a corporation were not part of

       a common enterprise).

              Another important reason that the Court cannot grant the

       motion to dismiss, on the grounds that a parent and majority-

       owned subsidiary cannot conspire for antitrust purposes, is that

       the    Plaintiff    alleges   that    Norfolk      Southern      and    Belt    Line's

       interests diverge.         Compl.       3, 24, 25, 32, 48, 112.                Because

       Norfolk Southern allegedly conspired with Belt Line to maintain

       an inflated switch service rate in order to exclude competitor

       railways,     and   because   Norfolk      Southern is     able    to access        NIT

                                                  32




                                             JA133
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        through its own tracks, Norfolk Southern benefits by retaining a

        monopoly allowing             it      to    handle          all   of    the    freight from        NIT.

        Even if other railroads paid the inflated switch service rate to

        Belt    Line      in       order      to    access          NIT,       Norfolk    Southern        still

        benefits because Belt Line, in turn, pays Norfolk Southern an

        inflated price for access to Norfolk Southern's tracks to NIT.

        Id.    HH   34,     41.       However,               this    hurts      Belt     Line's       interests

        because Belt Line is charged higher fees by Norfolk Southern,

        which are passed on to its customers, and other railroads are

        less   likely       to     use     Belt      Line's         tracks,       reducing      Belt     Line's

        volume.        If      a    competitor           railway          were    to     use    Belt     Line's

        services to access NIT, Norfolk Southern still profits from the

        inflated switch rate that Belt Line must pay to use NS's tracks.

        Therefore, Norfolk Southern's interest in maintaining a higher

        switch service rate, so that it can allegedly retain a virtual

        monopoly, diverges from Belt Line's interest in encouraging the

        business     of     Belt      Line         for       which    it    was       formed.         Operating

        Agreement, ECF No. 1-1 H 15 (Belt Line was formed to "ensure

        competition for transportation services" among the railroads.).

               For the reasons stated above. Belt Line's argument that the

        Complaint      alleges           it    is        a    common       enterprise          with    Norfolk




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                                                             JA134
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       Southern,       and      therefore      cannot        conspire          for    the   purposes   of

       antitrust law, fails.®

                                          2. Antitrust Injury-

              Finally, the Court addresses Belt Line's argument that CSX

       has failed to allege an antitrust injury because                                     CSX is not

       alleged to have been denied access to the entire relevant market

       (the Port of Hampton Roads), only NIT, one of several marine

       terminals that form the market.


              In order to state a claim under either § 1 or § 2 of the


       Sherman Act, a plaintiff must allege an "antitrust injury," that

       is,    a   "business        loss     of    the     sort          the    antitrust      laws   were

       designed      to    prevent."           Advanced        Health-Care            Servs.,   Inc.   v.

       Radford Cmty. Hosp., 910 F.2d 139, 149 (4th Cir. 1990); SD3, LLC

       V.    Black   &    Decker     (U.S.)       Inc.,       801       F.3d    412,    432   (4th   Cir.

       2015), as amended on reh'g in part (Oct. 29, 2015) (finding that

       an    antitrust       injury       is     loss    resulting             from    anticompetitive

       effects    of      the    defendant's behavior on the                         plaintiff and     the

       market).      This Court has found that an antitrust injury is not

       limited    to      those    situations       where          a    competitor is         completely

       shut   out    of    an     entire    market,          but       may include       "reduction    of

       output, increase in price, or deterioration in quality."                                      E.I.



        ® The Court notes that most of these cases were decided on summary judgment as
       the determination of whether a parent corporation shares "a unity of
       interest" with a subsidiary is a factual determination. Therefore, the Court
       will not prematurely reach such issue at the motion to dismiss stage of the
       litigation.

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        DuPont de Nemours & Co. v. Kolon Indus., Inc., 688 F. Supp. 2d

        443, 460 (E.D. Va. 2009) (denying motion to dismiss where the

        plaintiff had alleged partial exclusion from market).

               Here, CSX has alleged an antitrust injury.                            Although the

        injury is limited to only NIT, one of several port terminals

        that   form    the    Port       of    Hampton       Roads,   CSX    has   alleged     that,

        because      the    rate    charged      by Belt Line         to potential customers

        like    CSX    to     access          Norfolk    Southern's         tracks    to    NIT   is


        artificially high,           this      has resulted        in reduced        output.      CSX

        also alleges that the Virginia Port Authority has stated that

        the Port would benefit from multiple rail carriers being able to

        access NIT because it would allow more volume to be moved, i.e.

        output has been reduced by the alleged anticompetitive activity.

        Further,      the   artificially and            anticompetitive        high     prices    are

        alleged to be passed on to customers, and such alleged increase

        in price is another form of antitrust injury.                        Id.

               For the reasons stated above, the Court finds that CSX has

        alleged an antitrust injury.

                      C. State Tort and Contract Claims - Defendants


                                     1. Statute of Limitations


               The    Court        now   turns     to        Defendants'     various       arguments

        regarding CSX's state tort and contract law claims (i.e. Count V

       for breach of contract. Count VII for tortious interference with

        business       expectancy.            Count     VIII      for       statutory      business

                                                        35




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        conspiracy, and Count IX for civil conspiracy).                             As with the

        federal    claims,      the     Court    must      begin     with   challenges     to   its

        jurisdiction; Norfolk Southern and Belt Line both argue that the

        state law claims are time barred, thus depriving this Court of

        jurisdiction.

              Count     V    for     breach    of   contract.      Count     Vll   for    tortious

        interference with business expectancy. Count Vlll for statutory

        business conspiracy, and Count IX for civil conspiracy, are all

        subject to a five-year limitations period.                           Va. Code § 8.01-

        246(2)    (setting forth         statute       of limitations for           breach of a

        written contract); Dunlap v. Cottman Transmission Sys., LLC, 287

        Va.   207,      220-222       (Va.     2014)       (holding     that   the       five-year

        limitations         period    under     Va.    Code    §     8.01-243(B)     applies    to

        claims    for       tortious    interference          with    business      expectancy);

       Detrick v. Panalpina, Inc., 108 F.3d 529, 543 (4th Cir. 1997)

        (applying five-year limitations period under Va. Code § 8.01-

        243(B) to statutory business conspiracy claims); Hurst v. State

        Farm Mut. Auto. Inc. Co., No. 7:05-cv-776, 2007 U.S. Dist. LEXIS

        21172, *17 (W.D. Va. March 23, 2007) (holding that limitations

        period for civil conspiracy is based on limitations period for

       underlying       wrongful       act).        Defendants       argue   that    the   claims

       accrued in 2009,            when Belt Line set the alleged artificially

       high Uniform Rate, and subsequent acts are continuations of the

       first wrongful act.             Plaintiff argues that each subsequent event

                                                      36




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       constitutes a new              wrongful act giving                rise    to each cause        of

       action anew.


              Under Virginia law, the applicable statute of limitations

       accrues separately for each wrongful act.                              L-3 Commc'ns Corp. v.

       Serco, Inc., No. 1:15-CV-701, 2018 WL 1352093, at *5 (E.D. Va.

       Mar. 15, 2018) (applying Virginia law and finding ''any act to

       interfere with the expectancy in each Task Order constituted an

       independent        tort"       with    a    new    statute        of    limitations).         The

       Virginia Supreme Court has distinguished between wrongful acts

       and damages from a single and continuous wrongful act.                                   Hampton

       Roads Sanitation Dist. v. McDonnell, 234 Va. 235, 239 (Va. 1987)

       ("If   the     wrongful act is of a permanent nature and one                                  that

       produces all the damages which can ever result from it, [then]

       the    entire      damages      must       be   recovered         in    one   action   and    the

       statute      of    limitations         begins        to    run    from    the   date     of   the

       wrongful act.            Conversely, when wrongful acts are not continuous

       but    occur      only    at    intervals,        each         occurrence     inflicts    a   new

       injury and gives rise to a new and separate cause of action.");

       accord    Union     Labor      Life    Ins.     Co.       v.   Sheet    Metal   Workers    Nat'l


       Health Plan, No. 90-2728, 1991 WL 212232, at *5 (D.D.C. Sept.

       30, 1991) (Virginia statute of limitations accrued anew                                    where

       "wrongful         acts    or    breaches        of     duty"      occurred      "in    distinct

       intervals or installments, as opposed to being continuous.").




                                                         37




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               Defendants Belt Line and Norfolk Southern singularly focus

       on the establishment of the Uniform Rate in 2008, and argue that

       any damages flow from that singular alleged breach of contract,

       tortious interference, or conspiracy, and thus, actions grounded

       upon these violations are barred by the statute of limitations.

       However, that focus is misplaced.               Here, Plaintiff has alleged

       multiple wrongful acts that may constitute a breach of contract,

       tortious interference with a business expectation, and/or common

       law     or   statutory    conspiracy   within     the   five-year    statute   of

       limitations.        In particular, it is alleged that in 2018, CSX

       presented a proposal to Defendants at the Belt Line Board and

       Stockholders meeting, and the Defendants declined to evaluate or

       vote     upon   such     proposal.     The     Complaint   alleges    that   this

       constituted a new wrongful act, and the statute of limitations

        began accruing        upon the    wrongful act.        New damages flow from

        this wrongful act — the Plaintiff's expectation damages, which

       is what Plaintiff's profits would have been if Defendants had

       accepted      the   proposal   minus   what Plaintiff's         profits   actually

        were.       These damages are distinct from the Defendants' alleged

        2008    wrongful act.       The   damages for the       2008   wrongful act of

       setting the Uniform Rate would be the difference in CSX's profit

       if the parties had set the Uniform Rate at a fair market rate in

        2008 minus CSX's actual profit.             The damages from establishing

       the 2008 Uniform Rate do not encompass the damages sought for

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       other alleged wrongful acts in this action.                               Thus, this is not a

        case     where     a     singular        wrongful       act       results       in   continuing

        damages.        See Kancor Americas, Inc. v. ATC Ingredients, Inc.,

        No. 15-CV00589-GBL-IDD, 2016 WL 740061, at *6 (E.D. Va. Feb. 25,

        2016) (denying summary judgment because                            the    various breach of

       contract, unjust enrichment, and conversion claims were not time

        barred    as     defendant's        failure       to    pay       back    the     money    was    a

       separate act each time defendant failed to pay, giving rise to a

       new     cause     of     action,     as    opposed       to    a     single    act    where       the

        damages      are       pennanent      and     continue            accruing        even    if     the

        defendant does not continue to act wrongfully).

               While it is easy to see how these new actions constitute a

       new act of breaching the contract or tortiously interfering, it

        may be more difficult to see how it is a new act of conspiring

        because the alleged conspirators are the same and the alleged

        motivations are the same.                   However, the Complaint alleges that

       in 2018, Defendants entered into a new agreement to increase the

       amount Belt Line pays to NS to access NS's tracks to NIT.                                         (In

       fact,     this      is    the      subject    of       proceedings         before     the       STB).

       Defendants        Norfolk     Southern       and   Belt       Line    fail    to    address      this


       allegation,         which       reflects      a    new       alleged       conspiracy.           Any

       increase in the price that Norfolk Southern charges Belt Line

        would, in turn, be passed onto Belt Line's customers.                                    That is,

       it    would     lead     to   an   increase       in   the    Uniform      Rate.      The       Court


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                                                     JA140
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        concludes that Plaintiff has alleged a new conspiracy within the

        statute of limitations period; this second attempt to raise the

        Unifonn Rate is not a continuation of the same conspiracy to set

        the Uniform Rate at the 2008 level because the price is again

        increased.         See Forest Lakes Cmty. Ass'n, Inc. v. United Land

        Corp.   of    Am.,      293   Va.    113,    124    (Va.   2017)    (in finding            that

        multiple trespasses occurred, each of which was s\ibject to the

        statute      of    limitations        independently,       the     Supreme       Court      of

        Virginia cautioned courts to distinguish between recurring and

        indefinite        injuries     and    repeated       actions     because       the    latter

        gives rise to causes of action that "look "remarkably like an

        earlier     one    but   is   nonetheless       a   standalone      claim      in    its   own

        right" and the           statute     of limitations        in the       latter scenario

        accrues from the new date of injury).

              For     the       reasons     stated     above,      the     Court    finds          that

        Plaintiff     has       alleged      wrongful       acts   within    the       statute      of

        limitations period.            Therefore, as the claims are not untimely,

        the Court does not lack jurisdiction.

                                       2. Breach of Contract


              The Court now turns to Defendants' various arguments about

        the   state       law   claims.       The   Court     begins     with    the    breach      of

        contract claim.           Count V, the breach of contract claim, is only

       alleged against Norfolk Southern.                     Norfolk Southern argues that




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                                                    JA141
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        CSX   fails    to   state    a       claim   because      it   has   not   identified    a


       covenant in the Operating Agreement that NS has breached.

              The contract in question is the Operating Agreement of Belt

        Line, which states that Belt Line would operate "for the mutual

        benefit of each [shareholder] in the interchange of business."

       EOF No. 1-1 at 1.            Norfolk Southern attempts to argue that this

       language       is    merely       a    preamble,         and    not   a    binding   term.

       Plaintiff has alleged that this term is the very overarching

        purpose of the Belt Line agreement.                      The Court does not need to

        determine whether this language constitutes a binding term of

        the   contract      at   the     motion       to     dismiss    stage.       Plaintiff's

       allegation is sufficient to overcome the motion to dismiss, as

        the language is either unambiguous and therefore a discernible

        contract term justifying denial of the motion to dismiss, or it

        is ambiguous such that the motion to dismiss should be denied as

        discovery would be necessary to determine the intention of the

        parties regarding this clause.                  See, e.g., Grubb & Ellis Co. v.

        Corkhill,     No.   l:09-CV-974,         2009      WL   10689439,    at    *1   (E.D.   Va.

        Oct. 15, 2009) (denying motion to dismiss because "[i]n this

        case the Court finds that the language of the contract is not

        unambiguous as the parties clearly interpret various provisions

        of the contract differently.                  Further, the Court believes that

        parol evidence may be necessary to determine the intent behind

        the terms of the contract.").


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                                                     JA142
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               Further,     Plaintiff         notes     that     other     articles      of     the

       Agreement contain covenants Norfolk Southern is alleged to have

       breached, as they state that the parties to the agreement ''will

       co-operate cordially in encouraging the business of the [Belt

       Line] for which it is constructed."                 ECF No. 1-1 at 4.             Contrary

       to Norfolk Southern's assertions, this clause is not indefinite.

       Under     Virginia         law,      cooperation          clauses     are        generally

       enforceable.            See,   e.g.,     Felman    Prod.,      Inc.   v.    Indus.      Risk

       Insurers, No. CIV.A. 3:09-0481, 2011 WL 4543966, at *4 (S.D.W.

       Va.     Sept.     29,     2011)     (finding      that     cooperation       clause       in

       insurance contract was enforceable).                    Here, Norfolk Southern has

       stated no reason why this clause would be any different.

               For   the   reasons     stated    above,    the     motion    to    dismiss     the

       breach of contract claim, on the basis that CSX has failed to

       identify      a   covenant     in   the    Operating       Agreement       that    Norfolk

       Southern has breached, is denied.

                3. Tortious Interference with a Business Expectancy

             Norfolk       Southern      next   argues    that     CSX   fails     to    state   a

       claim    for      tortious     interference        with    a    business     expectancy

       (Count VII) because Norfolk Southern is a party to the Operating

       Agreement and a party may breach, but cannot interfere with, its

       own     contract.         Further,       Norfolk    Southern        argues       that   the

       economic loss rule bars a tortious interference claim.                            For its


       part. Belt Line argues that CSX's alleged business expectancy is

                                                   42




                                                  JA143
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       a general interest shared by all stockholders and a claim of

       interference with such a business expectation can be brought

       only as a derivative claim.            Next, Belt Line argues that CSX has

       failed to state a valid business expectancy.

             In Virginia, a party may recover for tortious interference

       with a business expectancy if it shows: ^^Ml) the existence of a

       business     relationship      or    expectancy,         with    a   probability      of

       future economic benefit to the plaintiff; (2) the defendant's

       knowledge of the relationship or expectancy; (3) a reasonable

       certainty     that      absent      defendant's         intentional      misconduct,

       plaintiff would have continued in the relationship or realized

       the   expectancy;       and   (4)    damages       to    the    plaintiff.'"         Am.

       Chiropractic Ass'n v. Trigon Healthcare, Inc., 367 F.3d 212, 228

       (4th Cir. 2004) (quoting Commercial Bus. Sys., Inc. v. Halifax

       Corp., 253 Va. 292, 484 S.E.2d 892, 896 (Va. 1997)).

             Both    Belt   Line's    first      argument,      that    there    can   be   no

       tortious     interference     with    a    business      expectancy      because     any

       business expectancy is a general expectation shared by all Belt

       Line stockholders, and Norfolk Southern's first argument, that

       it cannot interfere with a contract to which it is a party,

       suffer   from     similar     defects.          The     business     expectation     in

       question     is   not   the   savings      to     its   shareholders     that   would

       result from Norfolk Southern charging a fair rate to Belt Line

       to access the tracks to NIT, and Belt Line then setting a lower

                                                  43




                                                 JA144
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       Uniform Rate.        CSX also is not alleging tortious interference

       with the Operating Agreement.                Rather CSX argues that Norfolk

       Southern    and     Belt    Line    have     interfered    with      CSX's    business

       expectancy from third party customers who would have paid CSX to

       transport goods from NIT.                 That is not a general expectation

       shared by all Belt Line stockholders but one that is specific to

       CSX, and Norfolk Southern is not a party to any such anticipated

       business.


               Norfolk   Southern's       second    argument     is    that    the   economic

       loss rule     bars any recovery by CSX for tortious interference

       with a business expectancy.                Under Virginia law, the economic

       loss rule provides that where a person is a party to a contract

       with another and has suffered purely economic losses related to

       the contract, rather than, for instance, physical injuries, that

       person may not recover damages in tort.                   See Blake Construction

       Co. V. Alley, 353 S.E.2d 724, 727 (Va. 1987).                       This is because

       "a   plaintiff      who    suffers    purely      economic      loss   must    sue   in

       contract    and   cannot     sue     in    tort."    Fix       v.   Eakin/Youngentob

       Assocs., Inc., 57 Va. Cir. 149, at *1 {Alexandria City, Va. Cir.

       2001).     That is, the parties' recourse is through the agreement

       that they have signed rather than tort claims.                      Here, CSX and NS

       have entered into a contract: the Operating Agreement of Belt

       Line.     Having only suffered economic damages, the economic loss

       rule     prevents     CSX     from        bringing   a     claim       for    tortious

                                                  44




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       interference, or any other tort, where any damage results from a

       breach of the Operating Agreement.                 However, "[t]he economic

       loss rule does not bar recovery [for] plaintiffs' claim for

       tortious interference with a prospective business or economic

       advantage."       Fix, 57 Va. Cir. at 149.            These damages are not

       related to the contract; therefore, CSX may still bring a tort

       claim although it has only suffered economic loss.                    For these

       reasons, Norfolk Southern's motion to dismiss Count Vll-tortious

       interference with a business expectancy-fails.

               However, Belt Line's second argument, that CSX has failed

       to state a sufficient business expectancy to survive a motion to

       dismiss,    has greater merit.         Courts      have   held that the     mere

       possibility of a future business relationship is not enough to

       satisfy the tort's first and third elements—1) probability of

       future economic benefit to the plaintiff, and 3) but for the

       defendant's misconduct, the plaintiff would have realized the

       expectancy.       Instead, a plaintiff must demonstrate that a future

       economic benefit is objectively probable.                Am. Chiropractic, 367

       F.3d at 228 (citing Commercial Bus. Sys., 484 S.E.2d at 897).

       In Peterbilt of Bristol, Inc. v. Mac Trailers, Mfg., the Western

       District of Virginia found that a local truck dealer failed to

       state a valid claim for tortious interference                   with a business

       expectancy because the complaint alleged merely that an out-of-

       state    dealer    illegally   sold    a   truck    to    one   of   plaintiff's

                                             45




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       existing      customers,      but        failed      to   allege    that    the        economic

       benefit was objectively probable by demonstrating that but for

       the interference, the customer would have purchased the truck

       from    the     plaintiff     truck       dealer.         No.    1:09CV00058,          2009    WL

       4063663, at *1 (W.D. Va.                 Nov.     23, 2009).        Here,       the    business

       expectancy is even more tenuous than the one in Peterbilt.

              CSX has failed to name or identify an actual third party

       with whom CSX would engage in business.                      CSX alleges that it has

       lost    ''opportunities        for       contracts        with     shipping       partners."

       Compl. H 117.          The Complaint then relies on the Virginia Port

       Authority's assessment that having an additional railroad with

       access     to    NIT    "would       allow        more    volume     to     be        moved   at


       competitive prices," and the fact that CSX is the only other

       railroad that can "provide intermodal services" at NIT.                                 Id.

       4, 36.     These allegations are insufficient to meet the objective

       probability standard set forth in Peterbilt.                         In Peterbilt, the

       third    party     also      had     a     preexisting          business    relationship.

       Similarly,       CSX   has    alleged       a    business       relationship          with    its

       shipping partners         {although they are               unidentified).              2009   WL

       4063663, at *1.           However,        the     plaintiff in Peterbilt did not

       sufficiently allege that the plaintiff would have realized the

       economic benefit.            That is, the plaintiff did not allege that,

       but for the out-of-state competitor's wrongdoing, the customer

       would have purchased the truck from plaintiff.                            Id.     Similarly,

                                                       46




                                                   JA147
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       CSX has not alleged that it would realize the economic benefit

       by demonstrating, for instance, that its shipping partners also

       use NIT and would engage CSX if CSX were able to access NIT.

       Therefore, the Court finds that Plaintiff has failed to allege a

       plausible claim that it has suffered tortious interference with

       a business expectancy.

             Although CSX does not request leave to amend any defective

       claims,   after   a    dismissal     under Fed.       R.     Civ.   P.    12(b)(6),   a

       court '^normally      will give     plaintiff        leave    to file      an amended

       complaint" because "[t]he federal rule policy of deciding cases

       on the basis of the substantive rights involved rather than on

       technicalities        requires      that       plaintiff       be        given     every

       opportunity       to         cure     a        fomal          defect        in      his

       pleading."    Ostrzenski v. Seigel, 177 F.3d 245, 252-53 (4th Cir.

       1999) (emphasis       omitted).      A    court      may grant such leave           sua

       sponte.    Edwards v. Murphy-Brown, L.L.C., 802 F. Supp. 2d 670,

       673 (E.D. Va. 2011).          However, ''a district court may deny leave

       to amend if the amendment 'would be prejudicial to the opposing

       party, there has been bad faith on the part of the moving party,

       or the amendment would have been futile.'"                    U.S. ex rel. Nathan


       V.   Takeda   Pharm.    N.   Am.,   Inc., 707        F.3d    451,   461     (4th   Cir.

       2013) (quoting Laber         v.   Harvey,      438   F.3d    404,   426     (4th   Cir.

       2006)).




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             Here, there has been no showing of prejudice, bad faith, or

       futility that would result from allowing Plaintiff to amend.

       Thus, Plaintiff is granted leave to amend the Complaint.

                       4. Statutory and Common Law Conspiracy

             Next, Belt Line argues that Counts VIII and IX, alleging

       statutory and common law conspiracy, should be dismissed because

       Belt Line cannot conspire with Norfolk Southern as there can be

       no    conspiracy    between    a      parent    and      its   majority-owned

       subsidiary.     Alternatively, Belt Line argues the conspiracy is

       not plausible.

             Belt Line's first argument rehashes the same argument it

       made with respect to the federal antitrust conspiracy claims,

       except it     attempts   to   apply    the    argument    to   the   state   law

       conspiracy claims.       As explained below, the Court rejects the

       argument for the same reasons discussed above in the antitrust

       conspiracy section.      Compare Havird Oil Co. v. Marathon Oil Co.,

       149 F.3d 283, 292 (4th Cir. 1998) (finding that a parent and a

       non-wholly owned subsidiary could not be considered the same

       entity and therefore, could be liable under South Carolina state

       conspiracy law) with Zimpel v. LVI Energy Recovery Coirp., 23 Va.

       Cir. 423 (Fairfax Cnty., Va Cir. 1991) (finding that because

       subsidiary was wholly owned it could not conspire                    with its

       parent for the purposes of a Virginia state law conspiracy).



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             Like its Copperweld antitrust argument that a parent and

       subsidiary cannot conspire for antitrust purposes, Belt Line

       argues that the Virginia intracorporate immunity doctrine does

       not permit a single entity to conspire for the purposes of

       common law      business or statutory conspiracy.                       The    Virginia

       intracorporate       immunity      doctrine        recognizes      that      conspiracy
       requires two or more persons, and therefore, a single entity,

       like a corporation, cannot conspire with itself.                         To deteirmine

       whether two parties are "a single entity," Virginia courts have

       looked to the U.S. Supreme Court decision in Copperweld.                         Zimpel

       V. LVI Energy Recovery Corp., 23 Va. Cir. 423 (Fairfax Cnty.,

       Va. Cir. 1991) ("The Virginia Civil Conspiracy statute has [like

       in   Copperweld]     been    construed       to   disallow   consideration           of    a

       parent and its wholly owned subsidiary as separate 'persons.'").

             Here,    Belt       Line    cannot      satisfy    the       brightline         rule

       established     in    Copperweld       because     it   is   not    a    wholly-owned

       subsidiary of Norfolk Southern, and CSX alleges that Belt Line

       and Norfolk Southern have divergent interests.                     Further, as with

       federal law,        under   Virginia     law,      whether   two    parties      are      a

       single   entity      is     a    question     of    fact,    and        it    would       be

       inappropriate to resolve that issue definitively at this stage.

       Peterson v. Fairfax Hosp., No. 11188., 1993 WL 946248, at *10

       (Loudoun Cnty., Va. Cir. Sept. 23, 1993) ("The Court has already

       overruled     the    Demurrer     of   the    Defendants     predicated         on    the

                                                49




                                               JA150
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       theory     of   intracorporate      immunity.           Such    a    defense      to    the

       conspiracy Count is best raised at a trial on the merits or by

       way of a motion for summary judgment.").

             Belt Line next argues, with respect to the merits of the

       statutory and common law conspiracy counts, that CSX has failed

       to adequately allege such claims because CSX has not alleged

       Belt Line engaged in any unlawful acts.                   As with the antitrust

       conspiracy      claims.     Belt   Line     argues       that       it   committed       no

       wrongful    act,    and    therefore      all    claims    against          it   must   be

       dismissed.       As discussed above, supra at 25-27, CSX has already

       alleged plausible         wrongful acts, for instance, the failure by

       Belt Line to adopt or even consider CSX's rate proposal.                               This

       is enough to allege a breach by Belt Line of its fiduciary duty

       to shareholders.          Compl. UH 109-113, 114-117; see specifically

       id.   K   116    ("Defendants      NS    and    [Belt    Line]       have    wrongfully

       employed    improper methods in order to intentionally interfere

       with these expectancies, such as unfair competition, breach of

       fiduciary duty by the Individual Defendants, and using Belt Line

       as a means of self-dealing.").             Under Virginia law, a breach of

       fiduciary duty is an unlawful act on which a conspiracy claim

       can rest.       Feddeman & Co., C.P.A., P.C. v. Langan Assocs., P.C.,

       260 Va. 35, 46 (Va. 2000).              Therefore, Plaintiff has alleged at

       least     one   wrongful    act—breach      of   fiduciary          duty    upon   which

       common law and statutory conspiracy claims may rest.                         Therefore,

                                                 50




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       Plaintiff         has     adequately       alleged       common      law    and     statutory

       conspiracy claims.

               For the reasons stated above, Belt Line's motion to dismiss

       the state law conspiracy counts fails.

                                          D. Derivative Claims


                                               1. Jurisdiction


               Finally,        the     Court     addresses     the    Individual      Defendants'

       challenges to Count VI-the shareholder derivative claim.                                    The

       Court begins with Moss's jurisdiction challenge.                               Moss argues

       that Count VI should be dismissed for lack of siabject matter

       jurisdiction because it does not arise out of the same case or

       controversy as the various federal antitrust, state law breach

       of contract, tortious interference and conspiracy claims against

       NS    and    Belt       Line,    and    therefore       provides      no    independent      or

       related basis for jurisdiction.

               The applicable statute provides that federal "courts shall

       have supplemental jurisdiction over all other claims that are so

       related       to        claims     in     the     action       within       such     original

       jurisdiction that they fonn part of the same case or controversy

       under Article III of the United States Constitution."                               28 U.S.C.

       §    1367.        For    the     claims    to    form   part    of    the    same    case    or

       controversy, the claims must "arise from the same set of facts."

       Eriline Co. S.A. v. Johnson, 440 F.3d 648, 653 (4th Cir. 2006).

       Here,       the    shareholder          derivative      claims       are    based    on     the


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                                                       JA152
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       allegations that the Belt Line directors breached their various

       fiduciary duties         by engaging in         the federal antitrust,                 state

       breach of contract, and tort conspiracies, with the corporate

       Defendants.       Moss argues that to prove a federal antitrust claim

       will require CSX to introduce expert testimony from economists,

       while    the    derivative        claim    will        require        expert     testimony

       regarding the standard of care required from Virginia corporate

       board members and factual evidence                 regarding any violation of

       that standard.


              ''To   determine    whether     state      law    claims        and    federal      law


       claims arise from a common nucleus of operative fact, district

       courts consider whether the claims are based on 'the same facts,

       or involve similar occurrences, witnesses or evidence.'"                              Maria

       V.   Projekt    Prop.     Restoration,      Inc.,       No.    18-CV-61279,         2019    WL

       1116187,      at *2 (S.D.        Fla. Jan.      23,     2019)    (quoting       Hudson v.

       Delta    Airlines,       Inc.,    90   F.3d     451,     455    (11th        Cir.   1996)).

       Although it is true that some elements of                        the various claims

       will    require    different       evidence       in     this    case,       the    factual

       evidence      required    to     demonstrate      that    Belt        Line    and    Norfolk

       Southern       committed         antitrust        and         state      law        business


       conspiracies, and that Moss breached his fiduciary duties, are

       essentially the same.            To prove these claims, CSX will have to

       demonstrate       that    Moss     colluded       with    the     other        Defendants,

       committing wrongful acts that constitute breaches of antitrust

                                                  52




                                                 JA153
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       and    conspiracy          law    by     Norfolk       Southern         and     Belt    Line,    and

       breaches of fiduciary law by Moss.                              That is, the wrongful act

       that    CSX    alleged       Moss        committed         is    substantially          linked    to

       Norfolk Southern and Belt Line's alleged wrongful act; these

       wrongful acts merely constitute violations of different laws for

       each   of     the   Defendants.            However,        this       demonstrates       that    the

       claims      against       Moss    still        arise    out      of   a   common       nucleus    of

       operative fact as the claims against the other Defendants, in

       particular, the federal antitrust claims alleged against Norfolk

       Southern       and        Belt         Line.           For       these        reasons.     Moss's

       jurisdictional argument fails.

                                    2. Failure to State a Claim


              All    Individual          Defendants       argue         that     CSX    has    failed    to

       allege a breach by the directors of their fiduciary duties.

              In Virginia, a director has a duty to act in "good faith"

       and    to    "discharge          his    duties"       in     accordance         with    "the    best

       interests of the corporation."                    Va. Code § 13.1-690(A); see also

       DCG&T ex rel. Battaglia/Ira v. Knight, 68 F. Supp. 3d 579, 587

       (E.D. Va. 2014) (in Virginia, corporate directors must exercise

       good   faith        in    their        dealings       with      the     corporation      and     its

       shareholders).             Directors also owe a duty of loyalty, which

       "forbids the director from placing himself in a position where

       his    individual           interest           clashes       with       his      duty     to     his

       corporation."            Id. (internal quotations omitted).

                                                        53




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               The   Complaint       alleges    three    purported        breaches      of    these

       fiduciary duties: 1) the failure to consider and rejection of

       the service proposal, as to all Individual Defendants, 2) the

       failure to consider and rejection of the governance proposal, as

       to all Individual Defendants, and 3) the failure to staunch the

       deteriorating financial condition of Belt Line, as to Defendant

       Moss.


                                        a. Service Proposal

             Individual Defendants argue that the first purported breach

       cannot be a breach because, if they had accepted the service

       proposal,       they     would    have     violated         Belt    Line's       Operating

       Agreement.       The Operating Agreement states that Belt Line must

       provide a uniform         rate for all shareholders (Norfolk Southern

       and CSX).       Defendants argue that CSX's proposal sought a rate

       for   itself    that    was   lower     than   the   Uniform       Rate   that   was    set.


       However, as already discussed, the Complaint and the attached

       service       proposal    do     not    allege       that    CSX     sought      a     lower

       preferential rate for itself.                  The lowered rate is not limited

       to CSX, but appears to be a proposal for a lower Uniform Rate.

       The proposal states clearly that                  Presently, the [Belt Line's]

       switch rate of $210 per car is an economic barrier that prevents

       CSXT from being able to move any meaningful port freight by rail

       at NIT. . . .          Accordingly, CSXT proposes the following, all to

       be memorialized in a formal agreement: One-way rate of $37.50

                                                  54




                                                 JA155
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       per container (empty or loaded) for a term of three years on

       movements handled by the [Belt Line] between Berkley Yard and

       NIT."    ECF No. 1-5.


              Nowhere in the proposal or the Complaint does it state that

       the rate would be lowered only for CSX.                      Again, Belt Line and

       its directors had the authority to accept the proposal; however,

       CSX    has   alleged    that   Belt     Line    and    its   directors      failed   to

       accept or even consider the proposal because of a conspiracy to

       keep the Uniform Rate artificially high in order to help Norfolk

       Southern     maintain    monopoly      power    over    traffic      to    NIT.    Such

       allegations are sufficient to allege a plausible breach of a

       director's various fiduciary duties under Virginia law.                            See,

       e.g., Glass v. Glass, 228 Va. 39, 47, 321 S.E.2d 69, 74 (1984)

       (engagement in a civil conspiracy may violate a director's duty

       to act in good faith); In re LandAmerica Fin. Grp., Inc., 470

       B.R. 759, 797 (Bankr. E.D. Va. 2012) (citing Upton v. S. Produce

       Co., 133 S.E. 576, 580 (Va. 1926) (stating that officers may not

       abuse their positions for self-gain and profit as they "owed the

       duty    of    frankness        and     fair    dealing       as      fiduciaries     to

       [shareholders].").

                                  b. Governance Proposal

              Because   CSX    has     only    alleged       one    count    of    breach   of

       fiduciary duty, and the Court has found that CSX has alleged a

       plausible breach of fiduciary duty claim with respect to the

                                                55




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       rejection and failure to consider CSX's service proposal, it is

       not necessary to decide                 whether CSX       has plausibly alleged a

       breach of fiduciary duty based on Individual Defendants' failure

       to consider and rejection of the Governance proposal.                         However,

       the Court briefly addresses each remaining argument.

               With    respect      to     Individual      Defendants'       argument       that

       Plaintiff       failed      to    plausibly      allege    breaches    of    fiduciary

       duties because Individual Defendants did not have the power to

       change    the    corporate        governance     structure    of    Belt    Line,    that

       argument ignores the allegations that the directors individually

       breached       their   duties      by refusing       to    consider the      corporate

       governance proposal at all, and also breached their fiduciary

       duties by refusing to adopt other aspects of the proposal aside

       from changing the process of appointing directors, which were in

       the     directors'       power     to    accept.      See,     e.g.,      Stickley    v.

       Stickley, 43 Va. Cir. 123, at *21 (Rockingham Cnty., Va. Cir.

       1997)    (finding      breach      of    fiduciary    duty    where    officer      acts

       solely for the interest of majority shareholder and inter alia,

       rejects various proposals and requests by minority shareholder).

       Therefore, it appears CSX                has plausibly alleged a breach of

       fiduciary      duty    by    Individual     Defendants,       and   the     motions   to

       dismiss on these grounds are denied.




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                         c. Deteriorating Financial Condition

             Next, Individual Defendant Moss argues that he had no duty

       to act in the financial best interest of Belt Line because Belt

       Line is not a profit maximizing corporation.                 Directors of for-

       profit   corporations       have   a   duty    to    maximize   profits.       See

       generally David B.         Guenther,   The Strange      Case    of    the   Missing

       Doctrine    and   the   "Odd   Exercise"       of    Ebay;   Why     Exactly   Must

       Corporations Maximize Profits to Shareholders?, 12 Va. L. & Bus.

       Rev. 427, 429 (2018) (collecting cases).               The Complaint alleges,

       as discussed above, that Belt Line's Operating Agreement states

       the purpose of     the corporation is "for the               mutual benefit of

       each [owner-shareholder] in the interchange of business."                      EOF

       No. 1-1.    This clause plausibly alleges that Belt Line did have

       to maximize profits because maximizing profits may be for the

       mutual benefit of its shareholders.                 In that case. Moss has a

       duty to act in the interest of Belt Line's shareholders by

       maximizing profits, and CSX has plausibly alleged that a failure

       by Moss to maximize profits is contrary to the interest of Belt

       Line's shareholders and violative of his fiduciary duties.



         The Court recognizes that there is a debate about the scope of this duty and
       how to maximize profits, as reflected in the most recent Principle of
       Corporate Governance as to the purposes of a corporation, issued by the
       Business Roundtable.   Statement on the Purpose of a Corporation, Business
       Roundtable   (Aug.  19,   2019),  https;//opportunity.businessroiandtable.org/
       ourcommitment; see also Claudine Gartenberg & George Serafeim, 181 Top CEOs
       Have Realized Companies Need a Purpose Beyond Profit, Harv. Bus. Rev., Aug.
       20, 2019, https://hbr.org/2019/08/181-top-ceos-have-realized-companies-need-
       a-purpose-beyond-profit.

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             It is true that directors of                     social, environmental, and

       other charitable organizations do not have a duty to maximize

       profits.      Guenther, supra at 429,                  However, the Complaint does

       not   allege       that   Belt     Line     is    a    social,    environmental,          or

       charitable organization.                 Therefore, based on the allegations,

       the   Court    cannot       conclude      that    Belt    Line    is   not     a    profit-

       maximizing     corporation         per se,       and    that    Moss   did    not owe      a

       fiduciary duty to maximize profits.

             For    the    reasons    stated      above,      the   Individual      Defendants'

       motions to dismiss the derivative claims fail.

                                 3. Supplemental Jurisdiction

             Individual Defendants further ask                   the   Court to decline          to

       exercise      supplemental          jurisdiction          over     the       shareholder

       derivative     claims       for    breach    of       fiduciary   duty       because     the

       antitrust claims are already complex and the combination of the

       two in one trial may lead to jury confusion.                       Under 28 U.S.C. §

       1367(c), a district court may decline to exercise supplemental

       jurisdiction if:

             (1) the claim raises a novel or complex issue of State
             law,
             (2) the       claim     substantially           predominates     over        the
             claim    or    claims       over    which    the    district     court       has
             original jurisdiction,
             (3) the      district court has dismissed all claims over
             which it has original jurisdiction, or
             (4) in exceptional circumstances, there are                             other
             compelling reasons for declining jurisdiction.




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       Individual Defendants have not demonstrated any of the factors

       above.      No novel or complex issues of state law are raised; the

       state law claims do not substantially predominate; and the Court

       has   not     dismissed       any   federal    claims.        With    respect       to

       Individual Defendants' argument that the jury would be confused

       by trying all claims together, in these circumstances, such a

       jury confusion argument is not a compelling reason for declining

       jurisdiction as any confusion may be mitigated with careful jury

       instructions.        Wright's Well Control Servs., LLC v. Oceaneering

       Int'l, Inc., No.        CV 15-1720, 2016 WL 740357, at *2 (E.D. La.

       Feb. 25,     2016)    ("In every lawsuit involving             multiple claims,

       jurors    are      required    to   weigh    the   evidence    for    each     claim

       individually, and that obligation will present no undue burden

       on the jury in this case."); Guedry v. Marino, 164 F.R.D. 181,

       186 (E.D. La. 1995) (noting that the risk of jurors becoming

       confused by the "sheer number of claims presented . . . can be

       addressed     by    instructions").         Further,   shareholder        derivative

       claims and antitrust claims are each complex.                       In re Cendant

       Corp.,    Derivative      Action    Litig.,    232     F.   Supp.    2d    327,    337

       (D.N.J.     2002)     (describing     shareholder       derivative        action   as

       complex).       Therefore, the Individual Defendants have failed to

       explain why jurors may be capable of understanding the antitrust

       and derivative claims if tried separately, but would be confused

       by the same claims if faced with them in the same proceeding.

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                                     IV. CONCLUSION


             For   the   reasons   stated   above,    the   Motions   to Dismiss   of

       Defendants Moss, Hall, Hurlbut, Merrilli, and Norfolk Southern

       are DENIED.       ECF Nos. 29, 31, 34.        Defendant Belt Line's Motion

       to Dismiss is GRANTED IN PART AND DENIED IN PART.                ECF No. 27.

       The Court PROVIDES Plaintiff with leave to amend the Complaint

       to cure defects with respect to Count Vll-tortious interference-

       within ten (10) days after the entry of this Order.                The joint

       motion for a hearing, ECF No. 43, is DENIED.

             The Clerk is REQUESTED to send a copy of this Opinion and

       Order to all counsel of record.


             IT IS SO ORDERED.




                                                        Mark S. Davis
                                            CHIEF UNITED STATES DISTRICT JUDGE


       Norfolk, Virginia
       September ^       , 2019




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                                            JA161
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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Norfolk Division

        CSX TRANSPORTATION, INC.,

                                   Plaintiff,

         v.                                                      Civil Action No. 2:18-cv-530-MSD-RJK

        NORFOLK SOUTHERN RAILWAY
        COMPANY, et al.,

                                   Defendants.

               NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY’S
              MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

                Defendant Norfolk and Portsmouth Belt Line Railroad Company (the “Belt Line”), by

        counsel, for its memorandum in support of its Motion for Summary Judgment against CSX

        Transportation, Inc. (“CSXT”), states as follows:

                                                    Introduction

                This is a case about intermodal container traffic. CSXT claims that the Belt Line and

        Norfolk Southern Railway Company (“NS”), since at least 2007, have conspired to block CSXT

        from intermodal rail access at Norfolk International Terminal (“NIT”). CSXT asserts four counts

        against the Belt Line: two antitrust conspiracy claims and two state law conspiracy claims. All

        fail as a matter of law.

                The Belt Line has not conspired with NS or harmed CSXT. CSXT’s claims are all time-

        barred, and its current demand for a special rate for NIT traffic is no different from the demand it

        made, but did not pursue, in 2010. Its legal theory to establish a conspiracy contradicts settled

        law, its state law claims are missing the essential element of an unlawful act, and its antitrust claims

        ignore the Belt Line’s undisputed costs, depending instead on invalid price comparisons.




                                                       JA162
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                                   Discontinuance of the “Diamond” in 2007

               19.     In 2007, the Belt Line Board discontinued service over a portion of NS-owned track

        that CSXT calls the “diamond.” While CSXT now argues that the purpose was to make NIT access

        more difficult, CSXT was not using the Belt Line to access NIT at the time. See Girardot Dep.

        217:15-23 (Ex.15). The December 2007 Board meeting minutes reflect that the reason was cost:

        “After discussion and consideration of an alternate route and associated costs of trackage rights

        the following resolution was, on motion duly made and seconded, adopted…” Dec. 2009 Board

        Meeting Minutes, p. 5 (Ex. 16).

               20.     The discontinuance was filed with the STB, with no objection by CSXT. See STB

        Docket No. AB-290 (Sub-No. 299X), NSR – Discontinuance of Service Exemption & NPBL –

        Discontinuation of Trackage Rights Exemption, May 15, 2008 (Ex. 17).

                                Establishment of the $210 Switching Rate in 2009

               21.     In 2009, the Belt Line’s Board formed a rate committee to review its tariff. The

        rate committee included representatives from the Belt Line’s management and each of its owners.

        See Coleman Dep. 109:1-110:25 (Ex. 18).

               22.     At the Belt Line’s December 2009 Board meeting, following evaluation by the rate

        committee, the Belt Line’s Board adopted a uniform $210 line haul switching rate, to take effect

        January 1, 2010. See Dec. 2009 Board Meeting Minutes (Ex. 19).

               23.     In sworn deposition testimony, John Booth, CSXT’s Director of Joint Facilities

        who spent 28 years working with switching railroads throughout the CSXT system, including the

        Belt Line, described the $210 rate as “in the neighborhood of what we had been expecting” in

        2009, “kind of in the middle of the road,” and “not an unusual number for a terminal switch carrier

        or an intermediate switch carrier. . .” Booth Dep. 20-22; 141-42 (Ex. 20).



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                                                                                               Action Item 4


                                                                                             NPB 8100-J
                                                                                                Cancels
                                                                                             NPB 8100-I




                                     NORFOLK AND PORTSMOUTH BELT LINE

                                            RAILROAD COMPANY




                                             TARIFF NPB 8100-J

                                                 CANCELS

                                              TARIFF NPB 8100-I




                                         SWITCHING CHARGES
                                                ALSO
                                   CHARGES FOR MOVEMENT INVOLVING
                            WEIGHING AND RE-WEIGHING LIGHT OR LOADED CARS
                                                 AND
                         CHARGES FOR SPECIAL SERVICE OF ENGINE AND TRAIN CREW
                                                  AT
                              CHESAPEAKE, NORFOLK AND PORTSMOUTH, VA
                                             AND VICINITY




   ISSUED December 10, 2014                                             EFFECTIVE February 1, 2015




                                                 ISSUED BY

                              NORFOLK & PORTSMOUTH BELT LINE RAILROAD COMPANY
                                                 1340 Truxton St
                                              Chesapeake, VA 23324




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                                                     JA164                                           NPBL000220
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                                                       TARIFF NPB 8100-J

                                        RULES AND OTHER GOVERNING PROVISIONS
                                           GENERAL RULES AND REGULATIONS


      RULE I -- Following is list of Railroads connecting with Norfolk and Portsmouth Belt Line Railroad Company:

                                                     CSX Transportation, Inc.
                                                Norfolk Southern Railway Company
                                                        Bay Coast Railroad

      RULE 2 -- Switching charges named herein will include the placement of an empty car to be loaded, and return of the
      same car loaded, or the placement of a loaded car and the return of the same car empty.

      RULE 3 -- Except as otherwise provided in this Tariff, the rates per loaded car published in this Tariff will also apply on
      empty cars, new or old, moving on revenue billing.

      RULE 4 -- Settlement for detoured trains will be made in accordance with rules of Detour Agreement adopted by the
      Association of American Railroads for Detouring Trains.

      RULE 5 -- If an empty car is ordered for loading and if the service of switching or placing it has been performed and the
      car is not loaded for movement over this railroad, the switching charge for a loaded car as shown in Item 60, will be
      collected from the person, firm or corporation ordering such car. Not applicable in connection with empty cars refused or
      rejected by shipper account defective or unfit for loading.

      RULE 6 -- Charges published herein apply to or from sidings and industries served directly by the rails of the Norfolk and
      Portsmouth Belt Line Railroad Company, also to or from sidings and industries reached by the Norfolk and Portsmouth
      Belt Line Railroad Company under operating agreements with other railroads.

      RULE 7 -- DEMURRAGE RATES AND REGULATIONS -- All cars handled under this Tariff will be subject to the
      established car demurrage rules and charges as published in Tariff NPB 6004 Series or successive issues thereof.


      RULE 8 -- APPLICATION OF SHIPMENTS LOADED IN ARTICULATED CARS -- When shipments are loaded in so-
      called articulated cars (two or more car units permanently or temporarily joined together), the switching charges
      published in this Tariff will apply separately to each unit of the articulated equipment.



   ITEM 10                              REFERENCE TO TARIFFS, ITEMS, NOTES, RULES, ETC.

      (A) Where reference is made in this tariff to tariffs, items, notes, rules, etc., such references are continuous and include
      supplements to and successive issues of such tariffs and reissues of such items, notes, rules, etc.



   ITEM 20                                        CONSECUTIVE NUMBERS

      Where consecutive numbers are represented in this tariff by the first and last numbers connected by the word "to" or a
      hyphen they will be understood to include both of the numbers shown. If the first number only bears a reference mark,
      such reference mark also applies to the last number shown and to all numbers between the first and last numbers.




   ITEM 30                                     METHOD OF CANCELLING ITEMS

      As this tariff is supplemented, numbered items with letter suffixes will be used in alphabetical sequence starting with A.
      Example: Item 445-A cancels Item 445, and Item 365-B cancels Item 365-A in a prior supplement, which in turn
      cancelled Item 365.




                                                                  2




                                                                 JA165                                                             NPBL000221
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                                                        TARIFF NPB 8100-J

                                           RULES AND OTHER GOVERNING PROVISIONS
                                            GENERAL RULES AND REGULATIONS


   ITEM 40                              PENALTY CHARGE FOR UNAUTHORIZED APPROPRIATION OF
                                        RAILROAD-OWNED CARS FOR NON-REVENUE MOVEMENTS

      When a railroad-owned car is appropriated for the non-revenue movement of freight without a specific prior authorization
      from NPB, a penalty charge of $430.00 per car per movement will be assessed against the party appropriating such car.
      Such charge will be in addition to all other charges applicable to such car (See Note 1).

      The payment of demurrage, detention, car storage or switching charges does not permit the unauthorized use or
      additional loading of empty or loaded cars which have been placed by this railroad for loading or unloading (See Note 2).

      NOTE 1. This penalty charge does not apply to intraplant movements by other than railroad-owned power which are
      necessary to facilitate the loading or unloading of railroad-owned cars in connection with immediately prior or subsequent
      revenue movements, either switching or line-haul.

      NOTE 2. Unauthorized use of a railroad-owned car refers to the unauthorized movement of a car by other than railroad-
      owned power beyond the confines of the industry where car was originally placed by this railroad for loading or
      unloading.


   ITEM 50                             CARS MOVED FROM LOADING TRACKS WITHOUT BILLING AND HELD
                                       ON CARRIER'S HOLD TRACKS AWAITING BILLING INSTRUCTIONS

      Except as otherwise provided for in this tariff, when on shipper's order, cars are moved by carrier from industry or team
      tracks without billing and held on carrier's tracks awaiting forwarding instructions as defined in Item 200, Part 11. Tariff
      NPB 6004-Series, a charge of $52.00 per car will be assessed against the party responsible for furnishing such
      forwarding directions and the cars will remain on continuous demurrage or detention (See Note) in the demurrage
      account of the party in whose name the car was ordered until such forwarding directions are received by carrier's agent.
      (See Exception).

      On car or cars removed from industry or team tracks on shipper's order and held awaiting billing instructions on carrier
      tracks and such car or cars are ordered back to the original industry or team tracks, the hold for disposition charge of
      $52.00 per car will be assessed for switch movement to the hold point on NPBL and a switching charge of $220.00 per
      car will be assessed for movement from hold point on NPBL back to original industry or team tracks. Provided that such
      move is inter-terminal, the applicable inter-terminal switching charge will apply in each direction in addition to the holding
      charge of $52.00. In all cases of hold for disposition, cars will remain on continuous demurrage.

      EXCEPTION -- The charge of $52.00 per car will not apply when carrier's agent receives forwarding directions by noon
      of the day following performance of the service excluding Saturdays, Sundays and Holidays as defined in Item 200, Part
      11, Tariff NPB 6004-Series.




                                                                  3




                                                                 JA166                                                            NPBL000222
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                                                                       TARRIFF NPB 8100-J

                                                   SWITCHING CHARGES OF THE
                                      NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY



   ITEM 60                                                       INTRA-TERMINAL SWITCHING
                                                                                                                                              CHARGE PER CAR
      A.     Except as provided in Paragraph B, between industries, sidings or tracks
             located on or served by Norfolk and Portsmouth Belt Line Railroad Company .....................                                    $331.00

      B.     Cars switched between private sidings and leased storage tracks
             served by Norfolk and Portsmouth Belt Line Railroad ..........................................................                     $295.00



   ITEM 70                                                       LINE HAUL SWITCHING
                                                                                                                                              CHARGE PER CAR
             Between industries or sidings located on or served by Norfolk and Portsmouth
             Belt Line Railroad Company and interchange tracks with connecting lines on
             Shipments originating at or destined to points located beyond yard or switching
             Limits of connecting lines:

      A.       Applicable on all commodities ............................................................................................       $210.00

   _________________________________________________________________________________________________

   ITEM 80                                                       INTER-TERMINAL SWITCHING
                                                                                                                                            CHARGE PER CAR
             Between industries or sidings located on or served by Norfolk and Portsmouth
             Belt Line Railroad Company and interchange tracks with connecting lines within yard or
             Switching limits of connecting lines: .....................................................................................        $262.00




   ITEM 90                                                       INTERMEDIATE SWITCHING
                                                                                                                                              CHARGE PER CAR
             Between interchange tracks with connecting lines:


             (a) Applicable on all commodities ..........................................................................................       $155.00




                                                                                      4




                                                                                    JA167                                                                    NPBL000223
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                                                                         TARIFF NPB 8100-J

                                                  SWITCHING CHARGES OF THE
                                     NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY


                                              SWITCHING CHARGES, ALSO
                             CHARGES FOR WEIGHING AND RE-WEIGHING LIGHT AND LOADED CARS
                                CHARGES FOR SPECIAL SERVICE OF ENGINE AND TRAIN CREW
                                NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY


   ITEM 100                                                     MOVEMENT INVOLVING WEIGHING
                                                                    (See Note A below)
                                                                                                                                                   CHARGE PER CAR
                (A) Weighing cars on private scales located at the industry:

                When weighed before or after placement, or outbound cars before removal fron
                Industry track .................................................................................................................     $50.00

                (B) Weighing cars on other private scales (See Note B below):

                For weighing inbound or outbound loaded cars, when so requested before
                Actual placement or interchange ………………………………………….………………                                                                             $100.00

           NOTE A -- Charges shown in this item are for handling of car incidental to weighing
           and are in addition to switching charges herein for the required handling.
           Norfolk and Portsmouth Belt Line Railroad Company does not own or operate track scales.

           NOTE B -- Those desiring the weighing on private scales must make their
           own arrangements with the owners of the scales for their use.


   ITEM 110                                   SWITCHING CHARGE ON CARS RECEIVED IN ERROR
                                                      OR NO FORWARDING DIRECTIONS
                                                                                                                                                   CHARGE PER CAR
           Cars received by Norfolk and Portsmouth Belt Line Railroad Company,
           in error or without necessary forwarding directions, will be handled in
           accordance with AAR Car Service Rule 7.

           If cars are returned to the tendering carrier, forwarded to the
           proper carrier, or require holding, Norfolk and Portsmouth Belt Line
           Railroad Company may assess the tendering carrier ...........................................................                             $262.00


   ITEM 120                            LOCOMOTIVES, STEAM SHOVELS, BONDING CARS, DERRICKS
                                                  ON CRANES, DEAD ON OWN WHEELS
                                        LOCOMOTIVES, ON OWN WHEELS, UNDER STEAM IN CHARGE
                                                  OF PILOT. (See Note)
                                                                                                                                                   CHARGE PER CAR

      When handled between interchange tracks and/or industries or sidings located on or
      served by the Norfolk & Portsmouth Belt Line Company ..............................................................                            $264.00

      NOTE -- Cost of Pilot when furnished by Norfolk and Portsmouth Belt Line Railroad
      Company will be in addition to the switching charge.




                                                                                        5




                                                                                       JA168                                                                   NPBL000224
USCA4Case
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                                                                     TARIFF NPB 8100-J

                                                SWITCHING CHARGES OF THE
                                   NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY


                                                SWITCHING CHARGES, ALSO
                                   CHARGES FOR WEIGHING AND RE-WEIGHING LIGHT AND LOADED CARS
                                   CHARGES FOR SPECIAL SERVICE OF ENGINE AND TRAIN CREW
                                   NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY


   ITEM 130                                                    INTRA-PLANT SWITCHING
                                                                                                                                         CHARGE PER CAR

          (A). Except as provided in Paragraph B, for switching car between
          two points on same track or from one track to another track entirely
          within the confines of the same (single) plant or industry .....................................................                 $133.00

          (B). For switching car between two points on same track or from one track to
          another track entirely within the confines of the same (single) plant or industry
          when use of carrier rails is involved ......................................................................................     $223.00


   ITEM 140                              SPECIAL SWITCHING SERVICE/SPECIAL TRAIN SERVICE

          A.  For special switching service of engine and train crew, on request of industry, when
              regularly assigned on duty switch crew is requested(See Notes ...................................                            $350.00 (per hr)
          Note 1. Special Switching service is defined as switching other than required by ordinary
                  operating convenience.
          Note 2. Special switching service will be provided subject to the availability of engine
                  and crews and will be provided at the sole discretion of the NPBL.
          Note 3. The charge for special service is per hour with a minimum of 2 hours and will be
                  in addition to published tariff charges for cars switched.

          B.  For Special Train Service of engine and train crew, outside regular assigned duty,
              furnished an industry for its use. ....................................................................................      $3,500.00
          Note 1. Charge will apply for a minimum of 8 hours or fraction thereof.
          Note 2. An additional charge of $440.00 per hour or fraction thereof will apply for assignment
                 of engine and crew beyond eight (8) hours, with a maximum of twelve (12) hours for
                 each assignment.
          Note 3. Charge will be computed from the time the crew starts duty at its home terminal until
                  the crew ends duty at its home terminal.
          Note 4. Special Train service will be provided subject to the availability of engine and crews and
                  will be provided at the sole discretion and option of the NPBL.
          Note 5. This charge will be in addition to published tariff charges for cars switched.




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                                                                                 JA169                                                                  NPBL000225
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                                                       TARIFF NPB 8100-J

                                          SWITCHING CHARGES OF THE
                             NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY


   ITEM 150                    SWITCHING - TURNING OF CARS TO PERMIT LOADING AT STOP-OFF
                                POINTS OR UNLOADING AT STOP-OFF POINTS OR DESTINATIONS:

          1. In instances where it is desired that freight in carloads be placed on delivery tracks for loading at stop-off points
          or unloading at stop-off points or destinations from one particular side or end of car, cars must be properly placarded
          on both sides and notation made on bill of lading and waybill substantially as follows:

                                                      NOTICE TO CARRIER

          Deliver Car for loading or unloading from door or end specified by placard.

          2. On freight in carloads, not properly placarded on both sides of car to load or unload from one particular side or
          end of car, which shipper or consignee, after initial placement of car directs carrier to turn and return to the same
          track for loading or unloading from opposite side or end of car, the following shall apply:

                                                            CHARGES

          (A) If the car is turned at a "Y" or a turntable within the confines of an industry apply the intra-plant switching charge
          published in Item 130.

          (B) If the car is turned at a "Y" or a turntable outside the confines of the industry, apply intra-terminal switching
          charge published in Item 60.

          NOTE I -- If Bill of Lading carries notation that car has been placarded, and placard has disappeared before
          placement, the charge named herein will not apply.




                                                            -THE END-




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                                                                JA170                                                             NPBL000226
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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

         CSX TRANSPORTATION, INC.,               )
                                                 )
                                 Plaintiff,      )
                                                 )
         v.                                      )
                                                 )
         NORFOLK SOUTHERN RAILWAY                )
         COMPANY, et al.,                        )         Case No. 2:18-cv-530
                                                 )
                                 Defendants.     )
                                                 )
                                                 )
                                                 )



                     DEFENDANT NORFOLK SOUTHERN RAILWAY COMPANY’S
                   BRIEF IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT




                                               JA171
USCA4Case
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               Defendant Norfolk Southern Railway Company (“NS”), by counsel and pursuant to Rule

        56 of the Federal Rules of Civil Procedure, submits the following brief in support of its Motion

        for Summary Judgment on all claims of Plaintiff CSX Transportation, Inc. (“CSX”). For the

        following reasons,1 NS’s Motion should be granted.

                                                INTRODUCTION

               CSX levels a serious, but false, charge. CSX is a Class 1 railroad serving half of the

        country, with over $10 billion in annual revenue. CSX claims that, for more than a decade,

        Defendants have blocked CSX from having rail access to the docks at a single ocean shipping port

        terminal in Virginia—Norfolk International Terminal (“NIT”)—and that CSX’s inability to move

        international intermodal shipping containers directly from that terminal by rail has resulted in harm

        reverberating through its entire business

              . But, in reality, CSX does have rail access to NIT via the Norfolk and Portsmouth Beltline

        Railroad Company (“NPBL”), and NPBL has never refused to move CSX’s freight. CSX has

        chosen to move its intermodal containers to and from NIT by truck instead of by rail




        These undisputed facts lay plain that this case is not about CSX being blocked from NIT. Rather,

        this case is about CSX’s desire to avoid paying the going rate to access NIT by rail, namely

        NPBL’s uniform $210 switch rate for rail traffic—a rate that any user of NPBL must pay; a rate




        1
          NS also adopts and incorporates the arguments made in NPBL’s brief that are readily transferable
        to NS. U.S. ex rel. LaCorte v. SmithKline Beecham Clinical Lab’ys, Inc., 149 F.3d 227, 237–38
        (3d Cir. 1998) (recognizing incorporation of “readily transferrable” arguments between parties).
        This includes all arguments regarding the lack of any conspiracy between NPBL and NS, whether
        antitrust, business conspiracy, or civil conspiracy. NPBL’s arguments equally apply to NS as the
        alleged other party to the conspiracy and are, thus, properly subject to adoption and incorporation.




                                                      JA175
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        that CSX has in fact paid without complaint on other portions of NPBL not at issue here; and a

        rate that has since 2010 barely covered NPBL’s operating costs. Though the available tariff rate

        is eminently justified, CSX seeks to use this lawsuit and the threat of treble antitrust damages to

        extract a special deal from NPBL that is well below the rate that NPBL’s Operating Agreement

        requires it to charge.

                In view of the undisputed facts, Defendants are entitled to summary judgment on all of

        CSX’s claims.       As a threshold matter, well-established statute of limitations precedent

        demonstrates that CSX’s claims are time-barred, or at minimum must be substantially narrowed

        on that basis. Additionally, CSX’s ill-conceived antitrust claims fail for a number of independent

        reasons. First, CSX has gerrymandered its proposed relevant market—a required element for all

        of the antitrust claims—around its own circumstances rather than by reference to actual

        competitive conditions, ignoring that (a) trucking containers from port to destination is an

        alternative to moving them by rail for ocean carriers; and (b) ocean carriers can move intermodal

        containers through other terminals and ports to their ultimate destination.         Second, CSX’s

        monopolization and attempted monopolization claims fail because CSX cannot satisfy the

        elements of the essential facilities claim it presses here. Third, CSX’s conspiracy-based antitrust

        claims fail because there is no conspiratorial agreement, and under the “rule of reason,” CSX

        cannot prove the requisite substantial anticompetitive effect. CSX’s state law claims fare no better,

        and likewise cannot survive summary judgment for a litany of reasons, including because (1) NS

        assisted NPBL with moving CSX’s intermodal trains to NIT in 2015, and (2) NS had no obligation

        to accept or consider CSX’s 2018 request for a special low switch rate or corporate governance

        proposal. For these reasons, this Court should grant NS’s Motion and dismiss CSX’s claims.




                                                         2

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                          STATEMENT OF UNDISPUTED MATERIAL FACTS

               A.      The Parties

               1.      NS and CSX are Class 1 railroads that operate in the eastern United States and

        Canada. (ECF No. 66, at 2.)

               2.      NPBL is a terminal switching railroad founded in 1896 by eight railroads that

        operates in the cities of Norfolk, Portsmouth, and Chesapeake, Virginia. (Compl. ¶ 1). NPBL’s

        business and affairs are governed by an Operating Agreement, dated July 7, 1897 (the “Operating

        Agreement”). (Ex. 1, NSR_00104139). NPBL’s primary business is to interchange, or switch,

        freight cars for other railroads, primarily its owners. Id. NPBL takes cars tendered by other

        railroads and delivers them to locations on its rail line, or vice-versa. (Ex. 2, Moss Dep. 30:12-

        18).

               3.      Following mergers and acquisitions among the original nine railroads, the number

        of shareholder railroads eventually was reduced to only CSX, Norfolk and Western Railway

        Company (“NW”), and Southern Railway Company (“SR”). (Compl. ¶ 2). By Supplemental

        Agreement dated March 1, 1989, CSX, NW, and SR amended the Operating Agreement to allow

        CSX to appoint two NPBL board members and NW and SR to collectively appoint three board

        members. (See Ex. 3, CSXT00863182). NW and SR’s merger left NS and CSX as the sole

        shareholders of NPBL, with 57% and 43% respective ownership interests. (Compl. ¶ 23).

               B.      NS and CSX compete for international intermodal container business.

               4.      NPBL is not a competitor to either NS or CSX. (Ex. 4, Joyner 30(b)(6) Dep. 25:1-

        3; Ex. 5, Girardot (first) Dep. 41:13-20; Ex. 6, CSX Corp. Rep. Dep. 34:4-6, 35:19-36:7; Ex. 7,

        Marvel Rep. ¶¶12, 16-17; Ex. 8, Strongosky (first) Dep. 72:22-73:3).


        2
          In 1989, NW and SR had legally merged following ICC approval of the Merger in 1982 but were
        still working through the operational merger. ECF No. 116, at 1.


                                                        3

                                                     JA177
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               5.      NS and CSX vigorously compete for the transportation of international intermodal

        containers delivered to or from ports on the East Coast. (Ex. 9, Heller Dep. (first) 36:18-21).

               6.      “International intermodal traffic” refers to the transportation of cargo containers

        that are either imported to or exported from the United States and use more than one mode of

        transportation on a single trip from origin to destination. (Ex. 10, Wright Rep. ¶ 21).

               7.      Railroads often utilize “double-stacked” trains to move intermodal containers. A

        double-stacked train can hold up to three containers in a single well, as opposed to a single-stacked

        train that can hold only one container per well. (Ex. 5, at 184:12-25).

               8.      CSX executives acknowledge that double-stacked trains double a railroad’s train

        capacity and create cost and operational efficiencies. (Ex. 11, Kenney (first) Dep. 41:20-42:1,

        117:5-15; Ex. 8, at 45:14-47:1, 148:17-149:19; Ex. 12, Piacente Dep. 73:24-74:23; Ex. 13,

        CSXT0000897 at Slide 6; Ex. 14, CSXT0001792 at -794; Ex. 15, CSXT0124777 at -778).

               C.      The Port of Virginia

                       1.      The Port of Virginia has operated three terminals.

               9.      Until May 2020, the Port of Virginia (“POV”) had three terminals supporting

        international intermodal traffic, Virginia International Gateway (“VIG”), Portsmouth Marine

        Terminal (“PMT”), and Norfolk International Terminals (“NIT”).3 (Ex. 7, at ¶ 23).

               10.     At VIG, CSX and NS have on-dock access via the Commonwealth Railway

        (“CWRY”), a short-line railroad. (Ex. 5, at 99:18-99:24; Ex. 16, Luebbers Dep. (first) 60:05-

        60:08). In 2019, VIG completed an expansion project and can now offer roughly the same capacity

        as NIT at 1.2 million containers annually. (Ex. 17, Capozzi Dep. 220:23-221:2; Ex. 10, at ¶ 119).

               11.     At PMT, NPBL owns the tracks leading to the terminal, which is located next to


        3
          These three terminals—NIT, VIG, and PMT—are sometimes collectively referred to as the
        “Hampton Roads ports” or the “Hampton Roads terminals.” Id.


                                                         4

                                                      JA178
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        CSX’s Portsmouth Intermodal Yard. (Ex. 10, at ¶ 37). When operational, PMT could handle

        approximately 200,000 containers per year. (Id. at ¶ 116).

               12.     CSX had on-dock access to PMT through trackage rights over NPBL’s tracks while

        PMT was operational. (Ex. 17, at 74:24-75:5). NS had on-dock access at PMT by using NPBL

        and paying NPBL the uniform switch rate. (Ex. 2, at 113:01-113:07).

               13.     PMT was temporarily shuttered between 2010 and 2014. PMT was shuttered again

        in 2020 and remains closed today. (Ex. 17, at 172:23-173:19; Ex. 10, Tbls. 5 & 6).

               14.     At NIT, NS has on-dock access via tracks that it owns. (Ex. 18, Martinez Dep.

        31:20-32:04). NPBL has trackage rights over NS’s tracks. Id.

               15.     CSX has rail access to the on-dock facilities at NIT via NPBL, provided that CSX

        pays the NPBL switch rate. (Ex. 19, MacDonald Dep. 42:3-6, 134:16-135:9; Ex. 8, at 195:2-9;

        Ex. 20, CSXT0037049 at Slide 4; Ex. 21, Hall Dep. 33:20-22, Ex. 22, Eliasson Dep. 81:6-9; Ex.

        23, CSXT0050615 at -615).

               16.     A railroad seeking access to NIT must coordinate an available operating window

        with NS.     (Ex. 24, DiDeo Dep. 192:22-193:10; Ex. 25, CSXT0126579 at -579; Ex. 26,

        CSXT0001301; Ex. 9, at 257:7-258:8; Ex. 27, C. Booth Dep. 87:17-88:7).

               17.     NS and NPBL trains enter and move through NIT in different directions, meaning

        that two trains cannot be on the tracks at the same time. (Ex. 19, at 92:21-93:1, 121:4-9; Ex. 28,

        CSXT0117504 at -504). NS enters NIT through the southern main gate and travels in a continuous

        clockwise fashion as it moves into NIT, loads containers, and then exits NIT’s northern back gate.

        (Ex. 19, at 91:18-92:5). NPBL has trackage rights that allow it to enter and exit NIT through the

        northern back gate. (Ex. 29, NSR_00306428 at -429; Ex. 30, CSXT0001276 at -276). This

        requires NPBL to leave NIT through the same gate in which it enters. (Ex. 31, NPBL013648 at -




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        649; Ex. 19, at 97:7-17).

                       2.      VIT directs ocean carriers where to dock.

               18.     Virginia International Terminals, Inc. (“VIT”) is the private terminal operating

        subsidiary of the Virginia Port Authority (“VPA”) that operates the POV. (Ex. 17, at 105:1-6; Ex.

        32, Vick Dep. 27:25-28:8).

               19.     VIT actively manages port operations at the POV




               20.




                       3.      The Port of Virginia competes against other ports.

               21.     Ports compete with one another for international intermodal “discretionary cargo,”

        which is cargo that can move through more than one port to its ultimate destination. (Ex. 17, at

        186:4-187:2; Ex. 15, CSXT0124777 at -777).

               22.     Ports along the West Coast of the United States compete with ports along the East

        Coast of the United States for discretionary international intermodal traffic for some origins and

        destinations, particularly in the Midwest. (Ex. 8, at 62:21-63:23; Ex. 11, at 29:20-30:11; Ex. 12,

        at 89:23-90:11; Ex. 39, Houfek Dep. 19:13-20:4; Ex. 40, CSXT0063241 at -241; Ex. 41,

        CSXT0069501 at -501; Ex. 42, CSXT0034771 at -771-72; Ex. 43, CSXT0045124 at -124).

               23.     The inland locations for which the POV has the greatest natural shipping advantage

        over other ports tend to be origins and destinations locations close to the port itself. (Ex. 10, at

        ¶ 70; Ex. 39, at 19:14-20:25).


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               24.     The POV competes with Canadian ports and with the ports of Baltimore,

        Philadelphia, Savannah, Jacksonville, Charleston, and New York/New Jersey (“Port of NY/NJ”)

        for discretionary international intermodal traffic. (Ex. 17, at 187:15-188:2; Ex. 19, at 112:6-10;

        Ex. 20, at Slide 7; Ex. 44, CSXT0003542; Ex. 45, CSXT0038547 at -747; Ex. 15, at -777).

               25.     CSX and NS consider how pricing affects an ocean carrier’s decision to call at

        various ports. (Ex. 46, CSXT0032388 at -388; Ex. 8, at 127:3-128:12; Ex. 47, CSXT0046487 at

        -488; Ex. 48, NSR_00026305 at -305; Ex. 9, at 117:6-13).




                       4.     CSX has a competitive advantage at the Port of New York/New Jersey.

               26.     The POV’s main competitor for discretionary international intermodal cargo is the

        Port of NY/NJ, which is the East Coast port with the largest intermodal container business. (Ex.

        10, at ¶ 73; Ex. 17, at 187:20-23; Ex. 5, at 77:25-78:3; Ex. 8, at 212:1-6; Ex. 53, CSXT0052080

        at -802-083; Ex. 54, CSXT0072702 at -702; Ex. 46, CSXT0032388 at -388; Ex. 15,

        CSXT0124777 at -777).

               27.     The Port of NY/NJ is the first port of call on the East Coast for many ocean carriers,

        providing it with a speed-to-market advantage over the POV when serving overlapping inland

        destinations such as the Midwest. (Ex. 10, at ¶ 73; Ex. 32, at 75:23-76:4; Ex. 40, at -241; Ex. 55,

        CSXT0003625 at -625).

               28.     CSX has long prioritized the Port of NY/NJ as its main port for international

        intermodal traffic services.   (Ex. 10, at ¶ 74; Ex. 56, Kendall Dep. 29:16-30:1; Ex. 57,


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        VPA000793; Ex. 58, Joseph Bonney, “CSX Raises the Roof,” JOC.com, Oct. 18, 2010, available

        at https://www.joc.com/maritime-news/csx-raises-roof_20101018.html (“You hear a lot about the

        Heartland Corridor. My statement is, ‘Bring them on.’ We can handle them here in New Jersey

        and beat them head-on, straight up every day.” (quoting Clarence Gooden, CSX’s executive vice

        president and chief commercial officer)); Ex. 59, CSXT0024736 at -736).




               30.    CSX reaches the same major Midwest locations through the Port of NY/NJ that NS

        serves through the POV, including Chicago, Cleveland, Cincinnati, Columbus, Detroit, Louisville,

        Kansas City, and St. Louis. (Ex. 62, NSR_00000912 at Slide 21; Ex. 63, CSXT0003592 at Slide

        11; Ex. 60, at Slides 3-4; Ex. 64, CSXT0096239).

               31.




                      5.      NS has a Competitive Advantage at the Port of Virginia.

               33.    NS completed its “Heartland Corridor” project in 2010, which gave NS double-

        stack service through the POV and the fastest and most direct routes to Midwest destinations from

        the POV. (Ex. 76, NS_00001839 at -840; Ex. 73, McClellan Dep. 22-23, 151).




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               34.     CSX did not achieve double-stack capabilities from the POV until December 2016

        when the Virginia Avenue Tunnel construction was completed, part of the National Gateway

        project. (Ex. 5, at 217:5-12; Ex. 12, at 73:24-74:6; Ex. 68, CSXT0052366 at Slide 9; Ex. 69,

        CSXT0024736 at -736).




               35.




                       6.     Trucks compete against railroads for traffic at the POV.

               36.     Between 2012 and 2019, trucks accounted for 60%-65% of all international

        intermodal traffic through the POV. (Ex. 10, at ¶ 59, Chart 1).

               37.     CSX and POV officials confirm that trucks and rail compete most closely for

        international intermodal traffic movements of up to 200 miles. (Ex. 71, Marvel Reply Rep. ¶ 40;

        Ex. 12, at 86:7-16; Ex. 5, at 60:16-22; Ex. 35, at 72:12-73:5; Ex. 32, at 48:17-49:6; Ex. 72,

        CSXT0032082 at -082).

               38.     CSX and NS executives confirm that trucks and rail also compete for international

        intermodal movements between 200 and 500 miles, and in certain circumstances, for movements

        longer than 500 miles. (Ex. 8, at 112:8-24; Ex. 73, at 119:4-120:18; Ex. 5, at 62:7-17; Ex. 11, at

        47:12-21; Ex. 70, at 33:13-23; Ex. 74, CSXT0159556 at -565; Ex. 4, at 19:7-20:9; Ex. 10, at ¶ 61;

        Ex. 75, NSR_00041595 at -597; Ex. 40, at -241; Ex. 45, at -747).

               39.




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                40.     Both NS and CSX set at least some of their international intermodal rates in order

        to remain competitive with trucks. (Ex. 10, at ¶¶ 66-67; Ex. 40, at -241; Ex. 8, 120:4-22; Ex. 9, at

        248:3-249:9; Ex. 72, at -082; Ex. 77, CSXT0097850 at -850; Ex. 5, at 112:2-113:1).




                41.     Through CSX’s Highway To Rail (“H2R”) program, CSX actively seeks to convert

        trucking of international intermodal traffic to rail movement of those containers by CSX. (Ex. 11,

        at 64:11-65:12; Ex. 72, at -083; Ex. 8, at 117:7-13).

                D.      NPBL charges a uniform switch rate per the Operating Agreement.

                42.     The Operating Agreement requires that NPBL fix a “uniform rate” for the NPBL’s

        “movement of freight cars … regardless of distance.” (Ex. 2, at 114:7-16; Ex. 1, at art. 9; Ex. 6,

        at 28:13-16; Ex. 22, at 130:24-131:14). The uniform rate is to be “adjusted from time to time” to

        pay a six percent dividend to shareholders. (Ex. 1, at art. 9). The uniform rate that NPBL charges

        to switch cars is referred to as its “switch rate.”

                43.




                44.     NPBL’s switch rate is set through a published tariff. (Ex. 82, Stinson Dep. 128:8-

        22; Ex. 79, NPBL000220). Historically, NPBL has used rate committees to evaluate and propose

        adjustments to the switch rate to the NPBL Board for a vote. (Id. at 158:21-25; Ex. 83, Coleman

        Dep. 47:10-15).

                45.     Through its statutory authority, the Surface Transportation Board (“STB”) has

        exclusive jurisdiction over the reasonableness of switch rates and the trackage rights agreement

        between NS and NPBL. 49 U.S.C. §§ 11102(a), (c)(1).


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               46.     NS provides administrative support to NPBL per contracts with NPBL. (See Ex.

        2, at 35:2-23 (leases three locomotives), 52:9-25 (billing and contract services), 58:2-6 (technology

        services), 60:4-61:25 (car management system), 62:1-13 (email addresses), 193:11-24 (benefits

        administration), 289:1-290:6 (locomotive maintenance)).

                       1.      NPBL set the switch rate at $210/well to cover its operating expenses.

               47.     In 2009, the Board set NPBL’s switch rate at $210 per well, effective January 1,

        2010. (Ex. 88, CSXT0125260). The rate has remained the same since 2010. (Ex. 2, at 202:14-

        18).

               48.     The NPBL switch rate is based on NPBL’s operating costs. (Ex. 89, Crowley Rep.

        at 5, Tbl. 1; Ex. 2, at 234:12-20; Ex. 83, at 104:6-8).

               49.




               50.     It is “very relevant” to consider NPBL’s actual costs in setting the switch rate. (See

        Ex. 81, at 75:16-17, 90:4-7; Ex. 22, at 87:5-9; Ex. 90, Ingram Dep. 169:2-6).

               51.     Since 2010, NPBL’s Board has approved the annual budget presented by NPBL’s

        officers, which includes NPBL’s anticipated expenses for the following year. (Ex. 89, at 4 n.8).

               52.     CSX’s expert testified that he did not take into account the NPBL’s operating

        expenses when he analyzed the NPBL switch rate. (Ex. 70, at 92:4-15).

                       2.      There was no vote on CSX’s 2010 Rate Proposal.

               53.     On July 23, 2010, CSX sent a letter to NPBL (the “2010 Proposal”) proposing that

        the parties enter into a contract relating to NPBL’s movement of CSX’s intermodal freight to and


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        from NIT. (Ex. 91, NPBL007431 at -433). Among other things, CSX proposed that it pay NPBL

        a switch rate of $37.50 per container. Id. The terms proposed by CSX were subject to negotiation

        between CSX and NPBL. Id. CSX sent NPBL a draft contract as part of the negotiation. (Ex. 92,

        J. Booth Dep. 248:10-249:8; Ex. 93, CSXT0109886 at -886-908).

               54.       The proposed discounted rate did not consider all of NPBL’s costs for moving the

        trains. (See Ex. 92, at 69:4-8, 72:7-11, 123:19-124:1; Ex. 81, at 131:9-12, 15-18, 135:6 (proposal

        not based on expenses); Ex. 80, at 117:14-118:7 (plan profitability was speculative and

        unsupported)).

               55.       NPBL’s officers presented their analysis to the NPBL Board. However, no board

        member ever moved for a vote on whether NPBL should agree to the 2010 Proposal. (See Ex. 94,

        NPBL017933 at -938). Nor did CSX, as a shareholder, make a motion at the April 13, 2011

        shareholders meeting to agree to the 2010 Proposal. (Ex. 95, CSXT0000262 at -262).

                         3.     CSX’s 2018 Rate and Governance Proposals

               56.




               57.       On March 23, 2018, CSX sent a letter to NPBL management proposing that the

        parties enter into a contract relating to NPBL’s movement of CSX’s intermodal freight to and from

        NIT. (Ex. 105, CSXT0100329; Ex. 106, CSXT0119620; Ex. 6, at 143:22-144:2). CSX said it

        was “willing to work through [a rate committee] if necessary.” (Ex. 105).

               58.       NPBL pursued the proposal. Moss spoke with CSX about the proposal, met with

        VIT as to port management, and consulted with NS regarding an operating plan for the movements

        CSX proposed. (Ex. 107, NPBL006228; Ex. 2, at 242:10-17).




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               59.     NPBL management raised CSX’s proposal at the April 18, 2018 NPBL Board

        meeting. (Ex. 108, NPBL000745). Board members raised concerns that giving CSX a special,

        contract rate would violate the Operating Agreement’s uniform rate provision. (Ex. 109, Merilli

        Dep. 55:2-8). These concerns led NPBL’s management to recommend that the Board form a rate

        committee to fully investigate the proposal. (Ex. 2, at 242:21-22).

               60.     CSX was not interested in a rate committee. (Ex. 2, at 244:25-245:1). The CSX-

        appointed directors never moved to form a rate committee and never moved for a vote on the 2018

        Rate Proposal at the April 18, 2018 Board meeting. (Ex. 6, at 138:17-19; Ex. 110, Armbrust Dep.

        214:15-21). NPBL never rejected the rate proposal made by CSX. (Ex. 2, at 287:25-288:9).

               61.     On April 6, 2018, CSX sent a letter to NS and NPBL demanding that the NPBL

        Board be restructured to overturn the Supplemental Agreement’s 3-2 allocation of board seats

        between the two parent railroads and for NPBL to adopt an ethics compliance program. (Ex. 111,

        CSXT0100552). But NPBL already maintained a code of ethics and conflicts of interest standards.

        (Ex. 2, at 49:22-50:3; Ex. 83, at 39:17-40:6, 214:2-8; Ex. 109, Merilli Dep. 55:13-56:3).

               62.     CSX asked for a vote to restructure the Board at the shareholder meeting on April

        18, 2018. (Ex. 112, CSXT0149075). NS voted its majority shares against the proposal. (Id.; Ex.

        113, NSR_000738434). Shortly thereafter, CSX commenced this litigation.

               E.      CSX was not foreclosed at NIT and used NPBL to move other freight.

               63.     Prior to 2015, NPBL moved only one intermodal train to NIT at CSX’s request.

        (Ex. 19, at 73:20-25). In that instance, CSX recognized that the switch rate was not “too onerous.”

        (Ex. 96, CSXT0082577 at -577). CSX did not ask NPBL to move any other intermodal freight to


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        or from NIT until March 27, 2015. (Ex. 19, at 131:8-133:3).

                  64.   After receiving CSX’s request to move a train of intermodal freight to and from

        NIT on March 27, 2015, NS worked with NPBL, CSX, and VIT to create an operating window.

        (Ex. 19, at 142:6-19). An operating window was agreed to on March 31, 2015, and NPBL moved

        the train on April 1, 2015. (Ex. 19, at 144:20-25; Ex. 116, CSXT0001301). Over the next couple

        of months, CSX asked NPBL to move eight more trains to and from NIT. (Ex. 2, at 291:21-24;

        Ex. 19, at 189:17-20). NPBL moved every train that CSX asked it to move. (Ex. 2, at 291:25-

        292:7).

                  65.   As part of these movements, NS provided an operating window for NPBL to move

        the trains on NS’s track to NIT on Tuesday and Thursday mornings, which was consistent with

        the operating window that NS provided NPBL on March 1, 2011. (Ex. 97, CSXT0001537; Ex.

        117, CSXT0126579; Ex. 19, at 179:15-180:9).

                  66.   CSX has not asked NPBL to move intermodal freight to or from NIT since July

        2015. NPBL has never refused to move CSX’s intermodal freight to or from NIT. (Ex. 2, at

        291:21-292:7; Ex. 19, at 189:17-20; Ex. 11, at 28:21-23).

                  67.   CSX has used NPBL to move other freight.




                  68.




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               69.



               70.

                                                                                 Both (i) the total volume

        of containers moving by rail in and out of the POV, and (ii) the total number of containers moved

        by CSX, have increased from 2009 to the present. (Ex. 10, at Tbls. 5, 6).

               71.



               F.      NS and NPBL are litigating against each other regarding NS’s request to have
                       the STB set the trackage fee.

               72.




               73.     NPBL and NS could not agree on the amount of the trackage fee that NPBL would

        pay NS for use of NS’s tracks. (Ex. 101, NPBL005850; Ex. 102, CSX Resp. NPBL’s Req. Admis.

        Nos. 5 & 8 (AEO) (admitting that NS has not increased the trackage fee and that NPBL opposed

        NS’s request to increase the trackage fee)).

               74.     As a result, on Sept mber 13, 2018, NS petitioned the STB to set the trackage rights

        compensation, a proceeding where NS and NPBL are adverse parties. (See Ex. 103, CSX Resp.

        NPBL’s Req. Admis. No. 3 (admitting that Defendants did not enter into any trackage fee

        agreement)).



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        “proper consumer” and the products that those consumers may find reasonably interchangeable).

        Here, both of CSX’s proposed markets are too narrow in that both (i) improperly omit other modes

        of transportation that plainly compete with rail transportation for ocean carriers’ business; and (ii)

        improperly omit from their geographic scope ports beyond the POV that provide alternative

        options for ocean carriers to move their intermodal containers to their ultimate destination. CSX’s

        failure to properly define either the service dimension or the geographic dimension is fatal to its

        claims.

                                i.     Relevant geographic market.

                  The Complaint alleges a geographic market of “the intermodal port facilities of Hampton

        Roads, Virginia,” (Compl. ¶ 49), and Prof. Marvel narrows this market further to only NIT. (Ex.

        7, at ¶ 40). But here, not only are all three intermodal terminals at the POV reasonable

        alternatives,8 so are other ports outside of the POV, most significantly the Port of NY/NJ.




                                                                                 Ocean carriers can, and do,

        use other POV terminals instead of NIT. (See SOF ¶¶ 10, 12). Indeed, there is no international

        intermodal traffic or customer that must move through NIT. (SOF ¶ 69).

                  Moreover, the undisputed evidence demonstrates that ports compete with one another for

        the movement of international intermodal discretionary cargo—cargo that by definition can be




        8
          CSX significantly increased its international intermodal container movements at both NIT and
        the POV as a whole during the relevant period. (SOF ¶ 71). PMT closed to international
        intermodal container traffic in April 2020. (SOF ¶ 13).


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        moved through more than one port to its final destination.9 (SOF ¶¶ 21-22, 24). The primary

        competitor of the POV is the Port of NY/NJ, (SOF ¶ 26), which benefits from often being the first

        port of call on the East Coast, providing that port with a speed-to-market advantage over the POV

        when serving inland destinations such as the Midwest compared to the POV. (SOF ¶ 27). CSX

        and NS serve the same major Midwest locations through the Port of NY/NJ that they serve through

        the POV, including Chicago, Cleveland, Cincinnati, Columbus, Detroit, Louisville, Kansas City,

        and St. Louis. (SOF ¶ 30). Further, CSX has long prioritized the Port of NY/NJ for its own

        international intermodal service, (SOF ¶ 28), having had double-stack capabilities out of the Port

        of NY/NJ for at least 10 years,



                                                                                      Competition between

        the POV and the Port of NY/NJ means that ocean carriers can choose to route traffic through either

        port, as demonstrated




               The POV also competes with other East Coast ports—Baltimore, Philadelphia, Savannah,

        Jacksonville, Charleston, and Canadian ports—for discretionary international intermodal traffic.

        (SOF ¶ 24). These East Coast ports provide ocean carriers with additional options to reach some

        of the same origins and destinations served by NS and CSX at the POV. (SOF ¶¶ 21, 24).


        9
          The inland locations for which POV has the greatest natural shipping advantage tend to be close
        to the port, which in turn tend to be most efficiently served by trucks rather than rail. (SOF ¶ 23).
        10




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        Similarly, West Coast ports compete with East Coast ports (including the POV) for discretionary

        cargo going to or from markets in the Midwest. (SOF ¶ 22). In fact, CSX evaluates how pricing

        at different ports affects ocean carriers’ decisions about which ports to utilize to move intermodal

        freight.11 (SOF ¶ 25).



             Both of CSX’s proposed geographic markets are deficient as a matter of law because they fail

        to include reasonable geographic alternatives available to ocean carriers.

                                 ii.   Relevant service market.

                Failure to properly define the service dimension of a relevant market is a separate and

        independent reason CSX’s claims must be dismissed. Here, CSX failed to include end-to-end

        truck transportation as a competitive alternative to rail for ocean carriers. Trucks accounted for

        more than 60% of the international intermodal traffic at the POV during the 2012-2019 period.

        (SOF ¶ 36). While trucks dominate movements of cargo containers up to 200 miles, they also

        compete with rail for a portion of movements of 200 miles or more. (SOF ¶¶ 37-38).




                                                                                                    Despite



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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division

        CSX TRANSPORTATION, INC.,
        individually and on behalf of NORFOLK
        & PORTSMOUTH BELT LINE
        RAILROAD COMPANY,

                     Plaintiff,

                     v.                             Civil Action No. 2:18-cv-530-MSD

        NORFOLK SOUTHERN RAILWAY
        COMPANY, et al.,

                     Defendants.
                                                /




                 PLAINTIFF CSX TRANSPORTATION, INC.’S CONSOLIDATED
             OPPOSITION TO DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT




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                16.      NPBL periodically convenes “rate committees,” purportedly to “evaluate and

        propose adjustments to the switch rate to the NPBL Board for a vote.” NS SOF ¶ 44; see also

        CSX Ex. 22 (NPBL009639). Historically, these committees have been comprised of NPBL

        management and NS and CSX personnel. See CSX Ex. 5 (Coleman Dep. 110:6-15).

                17.      NS has long used NPBL rate committees to monitor CSX’s activities in the region

        and preserve its control of NIT. See, e.g., CSX Ex. 23 (NSR_00199532) (1999 message from

        NS’s Bob Belvin to members of the 1999 NPBL rate committee and NS-appointed NPBL

        directors, stating that

                                                                      ”); CSX Ex. 24 (NSR_00306424)

        (email from NS intermodal market manager Chris Luebbers, summarizing 2002 rate committee

        meeting, including NS’s concern that



                                                                    ”); CSX Ex. 25 (NSR_00306426 at -

        427) (email from Luebbers, summarizing 2006 committee’s recommended



                                   ”).

                      b. The 2009 Rate Committee

                18.      In 2009, NPBL convened a rate committee “



                              .” CSX Ex. 26 (NSR_00074104 at -107).

        “                                                                                    . CSX Ex.

        19 (NSR_00027070 at -071). As part of the discussion, CSX recommended NPBL reduce its rate

        to allow for CSX intermodal traffic to NIT, which would increase NPBL’s revenues. See CSX


                                                        11



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        Ex. 27 (CSXT0080856) (June 2009 letter from CSX’s Tony Ingram to NPBL’s David Stinson);

        CSX Ex. 19 (NSR_00027070 at -073).

               19.    The NS-appointed members of the NPBL rate committee had a different goal. As

        NS’s Chris Luebbers explained in an April 2009 email to NS-appointed rate committee members

        Liesl McLemore and Gregg Cronk: “[

                                                                              CSX Ex. 2 (NSR_00084753

        at -754) (emphasis added). According to Luebbers, the rate committee was a high priority for NS’s

        intermodal group because “

                                                                      .” Id. at -753.

               20.    NS rate committee members internally discussed how to combat CSX’s position

        “

                                            .” CSX Ex. 28 (NSR_00084730) (emphasis added); see also

        CSX Ex. 29 (NSR_00027114) (April 2009 email string with Luebbers, NS’s VP of Intermodal &

        Automotive Jeff Heller, and NS-appointed NPBL director Mark Manion, discussing trackage at

        NIT, which Heller describes as “                                ”); CSX Ex. 30 (NSR_00011118)

        (April 2009 email from NS’s Luebbers to NS rate committee members McLemore and Cronk,

        warning that a lower NPBL rate at NIT “

                                                                ”).

               21.    Two days before the rate committee’s July 2009 meeting, NS intermodal executives

        drafted a letter to NS-appointed NPBL director Mark Manion and the other NS-appointed members

        of the NPBL Board, titled “                                                        .” CSX Ex. 3

        (NSR_00177916). The letter describes that “




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        from NS’s Mike Wheeler, who said that the NPBL Board

                                                 . See NS Ex. 80 at 117:14-118:7; see also CSX Ex. 4

        (Wheeler Dep. 119:16-120:6) (

                               ”). The financial analysis requested by NS-appointed directors showed the

        Belt Line would cover its costs and make money under either scenario. See CSX SOF ¶ 36.

                     d. Defendants Impose Logistical and Operational Obstacles to Access NIT
                        [Disputed: NS SOF ¶¶ 15, 63-67, 75-77; NPBL SOF ¶ 10, 15, 19, 28-33, 35]

               43.      In 2008, NS discontinued service on a segment of track located near NIT, often

        called the “Diamond,” where NPBL had maintained trackage rights.7 NS SOF ¶¶ 76-77; NPBL

        SOF ¶¶ 19-20. The Diamond had allowed NPBL to access NIT via “an efficient, progressive

        move.” CSX Ex. 53 (Girardot Decl. ¶ 7). Without it, NPBL trains carrying CSX intermodal

        freight must travel a longer distance and move into NS’s Portlock Yard, where engines have to be

        attached to the back of the train before proceeding along NS’s track (where NPBL has trackage

        rights) to NIT. Id.; see also CSX Ex. 7 (Moss Dep. 170:11-172:20); CSX Ex. 10 (Hunt Dep.

        159:3-160:7). As the Port of Virginia has recognized, this increases CSX’s operational costs to

        access NIT. See CSX Ex. 54 at 23; see also CSX Ex. 53 (Girardot Decl. ¶ 7) (removal of Diamond

        results in long delays and unequal treatment relative to NS trains); CSX Ex. 55 (Girardot Dep.

        93:5-95:20) (describing burdensome operations required to access NIT via NPBL without the

        Diamond); CSX Ex. 56 (NSR_00011108) (2009 email from NS’s Luebbers, explaining that the

        Diamond “was conveniently removed when the Ford plant shut down”).

               44.      In 2009, NPBL rejected CSX’s offer to purchase the Belt Line’s Port Norfolk Yard




        7
          Although NPBL suggests the NPBL Board agreed to discontinue its trackage rights due to
        “costs,” NPBL SOF ¶ 19, the meeting minutes cited imply the Board discussed costs associated
        with an “alternative route” to the Diamond. See NPBL Ex. 16 at -847.
                                                      20



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        professor with more than forty years’ experience—has confirmed, the empirical data show that NS’s

        and NPBL’s conduct harms ocean carriers. Because CSX cannot effectively act as a competitive

        constraint on NS at NIT, NS charges higher prices to carriers who use NIT intensively. See NS Ex.

        7 ¶¶ 69-81.

                                                                                       . See id. ¶ 81. And

        because ocean carriers contract with NS for multiple lanes across a large geographic portfolio, the

        reverberations of this overcharge extend throughout the network. See id.

                102.   Because ocean carrier RFPs cover multiple ports, CSX has lost substantial business

        across its entire network because of its lack of on-dock access at NIT. See CSX SOF ¶¶ 77-81, 86,

        88. Dr. Marvel estimates that CSX’s lost profits totaled more than $       million between 2009 and

        2020:




        See NS Ex. 71 ¶¶ 120-126 & Exs. 14 & 15; see also NS Ex. 7 ¶¶ 85-100.




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                                           STANDARD OF REVIEW

                The Court can grant summary judgment to Defendants only if “there is no genuine dispute

        as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

        56(a). “Because credibility determinations, the weighing of the evidence, and the drawing of

        legitimate inferences from the facts are jury functions, not those of a judge,’” the Court may

        evaluate the evidence only as needed to determine whether there is “sufficient disagreement to

        require submission to a jury.” McAirlaids, Inc. v. Kimberly-Clark Corp., 756 F.3d 307, 310 (4th

        Cir. 2014). The Court should view all facts and permissible inferences from them in the light most

        favorable to CSX. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587-88

        (1986). If a reasonable jury could return a verdict for CSX, “then a genuine factual dispute exists

        and summary judgment is improper.” Wright v. Va. Peninsula Regional Jail Auth., No. 2:19cv189,

        2021 WL 963496 at *2 (E.D. Va. March 15, 2021) (Davis, C.J.).

                                                  ARGUMENT

           I.      CSX’s Claims are Timely.

                Though Defendants do not acknowledge it, they bear the burden of proof on the affirmative

        defenses of the statute of limitations. See Graham v. Island Creek Coal Co., 184 F. Supp. 2d 511,

        515 (W.D. Va. 2002) (noting that defendants “bear the burden of proof on the issue of whether the

        plaintiff’s claims are barred by the statute of limitations,” and denying summary judgment where

        the record contained disputed evidence as to the date on which plaintiff’s injury occurred). The

        record does not support summary judgment on limitations grounds. As explained below, CSX

        alleges ongoing antitrust violations, which are timely so long as they continue into the limitations

        period, which CSX has shown. Accordingly these claims—including all evidence of Defendants’

        ongoing anticompetitive conduct—must be submitted to a jury. The same is true for CSX’s state

        law claims, as detailed below.
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                   a. CSX’s Sherman Act Claims are Timely (Counts I-IV).

               Defendants’ primary argument against CSX’s antitrust claims is that they are barred by the

        applicable four-year statute of limitations. See NS Br. at 16-20; NPBL Br. at 15-21 (both citing

        15 U.S.C. § 15b). Defendants contend that, because CSX did not sue within four years of their

        very first anticompetitive act, their ongoing monopoly and conspiracy are now unreachable, and

        they are free to block CSX’s access to NIT, stifle competition, and overcharge ocean carriers in

        perpetuity with impunity.

               Defendants’ arguments misstate the law. Under the “continuing violation” doctrine—

        which NS only briefly acknowledges and NPBL ignores—“[t]he period of limitations for antitrust

        litigation runs from the most recent injury caused by the defendants’ activities rather than from the

        violation’s inception.” Xechem, Inc. v. Bristol-Myers Squibb Co., 372 F.3d 899, 902 (7th Cir.

        2004). And, contrary to NS’s suggestion, this principle applies equally to CSX’s antitrust

        conspiracy and monopolization claims. See id. (explaining, in applying continuing violation

        doctrine to monopolization claim, that “improperly prolonging a monopoly is as much an offense

        against the Sherman Act as is wrongfully acquiring market power in the first place”). As the

        Fourth Circuit reaffirmed just one day after Defendants filed their motions, “‘in the context of a

        continuing conspiracy to violate the antitrust laws,’ the statute of limitations begins to run from

        ‘each time a plaintiff is injured by an act of the defendants.’” Mayor of Baltimore v. Actelion

        Pharms. Ltd., __ F.3d __, 2021 WL 1376980, at *6 (4th Cir. Apr. 13, 2021) (citing Zenith Radio

        Corp. v. Hazeltine Res., Inc., 401 U.S. 321, 338 (1971)); see also United States v. Dentsply Int'l,

        Inc., No. Civ. A. 99-005, 2001 WL 624807, at *17 & n.18 (D. Del. Mar. 30, 2001), aff'd sub

        nom. Howard Hess Dental Labs. Inc. v. Dentsply Int'l, Inc., 424 F.3d 363 (3d Cir. 2005) (in

        Sherman Act monopoly case, denying motion for summary judgment based on the statute of


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        limitations after concluding that a jury could find certain conduct sufficient to restart the statute of

        limitations under the continuing violation doctrine).

               This is true even if “the acts occurr[ing] within the limitations period were reaffirmations

        of decisions originally made outside the limitations period,” W. Penn Allegheny Health Sys., Inc.

        v. UPMC, 627 F.3d 85, 107 (3d Cir. 2010), and even if the conduct at issue is “intentional,

        concerted inaction” rather than affirmative acts, In re Lower Lake Erie Iron Ore Antitrust Litig.,

        998 F.2d 1144, 1172 (3d Cir. 1993) (emphasis added). For example, in Hanover Shoe, Inc. v.

        United Shoe Machinery Corp., the Supreme Court held that the plaintiff’s claims were timely, even

        though the defendant’s allegedly monopolistic leasing policy had been first adopted more than

        forty years before plaintiff sued. See 392 U.S. 481, 502 n.15 (1968). The Court explained: “We

        are not dealing with a violation which, if it occurs at all, must occur within some specific and

        limited time span. Rather, we are dealing with conduct which constituted a continuing violation

        of the Sherman Act and which inflicted continuing and accumulating harm.” Id.

               So too here. Although evidence produced in discovery shows that Defendants have

        engaged in anticompetitive and conspiratorial conduct for years, see, e.g., CSX SOF ¶¶ 10, 17, the

        record contains ample evidence of overt acts and “intentional, concerted inaction” causing new

        injuries within the limitations period, see, e.g., id. ¶¶ 45-54 (operational challenges and CSX’s

        payment of $210 rate in 2015), ¶¶ 56-61 (trackage rights); ¶¶ 62-71 (2018 proposal); see also id.

        ¶ 102 (injury to CSX).22 Each of these acts is enough to “start[ ] the statutory period running

        again” on CSX’s antitrust claims. Actelion Pharms., 2021 WL 1376980, at *6.



        22
          Defendants take a stinted view of the evidence, suggesting that CSX has pointed to only six
        examples of wrongful conduct since 2009. See NS Br. at 16; NPBL Br. at 15 (citing CSX’s 2d
        Supp. Resp. to NPBL’s Interrog. No. 4). To be clear, the interrogatory cited by Defendants asked
        CSX to identify “the specific overt act(s) by NPBL that you contend form the basis for the
        conspiracy alleged in Counts I, II, VIII, and IX of your Complaint.” See NS Ex. 118 at 2 (emphasis
                                                          43



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                None of the authority Defendants cite is to the contrary. First, Klehr v. A.O. Smith Corp.,

        actually refutes their arguments. There, the Supreme Court analyzed a RICO claim by analogizing

        to the Sherman Act, explaining that “in the case of a continuing violation . . . , each overt act that

        is part of the violation and that injures the plaintiff . . . starts the statutory period running again,

        regardless of the plaintiff’s knowledge of the alleged illegality at much earlier times.” 521 U.S.

        179, 189 (1997).23 In other words, when a continuing violation includes conduct within the

        limitations period that causes injury, the plaintiff may bring claims based on that conduct,

        regardless of when the conduct began. See W. Penn Allegheny Health, 627 F.3d 85 at 107 (holding,

        after Klehr, that “Hanover Shoe and Lower Lake Erie leave no room for [Defendants’] proposed

        rule. . . . [P]laintiff's suit was timely even though the acts that occurred within the limitations period

        were reaffirmations of decisions originally made outside the limitations period.”).

                The other cases cited by NS are inapposite. Both Kaw Valley Electric Cooperative Co. v.

        Kansas Electric Power Cooperative, Inc., 872 F.2d 931, 933-35 (10th Cir. 1989), and Lancianese

        v. Bank of Mount Hope, 783 F.2d 467, 470 (4th Cir. 1986), held that the continuing violation

        doctrine did not apply because the plaintiff pointed to damages, but not conduct, within the

        limitations period. And in Al George, Inc. v. Envirotech Corp., 939 F.2d 1271, 1275 (5th Cir.




        added). It did not ask CSX to identify all wrongful conduct within the limitations period; nor did
        it ask for examples of action (or purposeful inaction) by NS. See id. at 2-3 (CSX’s response,
        clarifying that it is “in no way intended as an exhaustive list of overt acts committed by NS in
        furtherance of the conspiracy”). CSX’s response is thus not a catalogue of all evidence supporting
        its claims.
        23
           In arguing that CSX’s antitrust claims are time-barred, NPBL suggests CSX “was aware of its
        alleged injuries” in 2009. See NPBL Br. at 16-17. The evidence cited by NPBL does not support
        this conclusion, particularly in light of Defendants’ repeated obfuscations during this period. See
        CSX SOF ¶¶ 18-41. Regardless, CSX’s knowledge is immaterial, since each act in furtherance of
        Defendants’ continuing violations restarts the limitations period on its claims, no matter what CSX
        knew or when. See Klehr, 521 U.S. at 189.
                                                           44



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        1991), the court determined that the last overt act occurred outside the limitations period. Here,

        as discussed above, CSX has identified both conduct and damages within the limitations period.

                NS contends that Defendants’ post-2014 conduct does not constitute “new and independent

        act[s]” that are “distinct from the ‘abatable but unabated inertial consequences’ of NPBL’s 2009

        decision to set the switch rate at $210.” NS Br. at 20. As the Fourth Circuit recently reiterated,

        however, in cases involving anticompetitive pricing, each sale constitutes a new injury restarting

        the limitations period. See Actelion Pharms., 2021 WL 1376980, at *6. So even if the $210 switch

        rate were the only conduct at issue—which it is not, as the Court has already recognized, see ECF

        No. 66 at 38-39—CSX’s payment of that anticompetitive rate in 2015 would suffice to restart the

        statute of limitations on its claims. But those payments are just one piece of CSX’s case—the

        record also contains plentiful evidence of Defendants’ obstruction of CSX’s efforts to access NIT

        via NPBL in 2015, NS’s cancellation of NPBL’s trackage rights and subsequent attempts to

        negotiate a prohibitively high rate between 2015 and 2018, and Defendants’ rejection of CSX’s

        2018 service and governance proposals. All of these events constitute “new and independent”

        acts, distinct from the setting of the switch rate, that caused harm and thus restarted the statute of

        limitations.24

                NS claims “Defendants took no overt action on the 2018 Rate Proposal.” NS Br. at 19

        (emphasis in original). But “overt action” for antitrust or conspiracy purposes need not be a formal

        Board vote denying CSX’s request. Rather, impeding, delaying and effectively denying through

        inaction are all sufficient to restart the limitation period, whether those acts are characterized as



        24
          For this reason, NS’s citation to XY, LLC v. Trans-Ova Genetics is inapposite. In that case, the
        Federal Circuit affirmed summary judgment on limitations grounds because the plaintiff failed to
        identify any “new and accumulating” injury within the limitations period resulting from the alleged
        conspiracy. See 890 F.3d 1282, 1292 (Fed. Cir. 2018).
                                                         45



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        actions to impede or purposeful inaction. See Lower Lake Erie, 998 F.2d at 1172 (explaining that

        “continuing and accumulating damage may result from intentional, concerted inaction. The

        purposeful nature of the inaction . . . obviously constitutes an injurious act, although perhaps not

        an overt one in the commonly-understood sense”). It is undisputed that, pursuant to its charter,

        NPBL exists to connect its owner railroads to destinations on its network, including NIT. Barring

        Defendants’ anticompetitive conduct, NPBL would have acted to facilitate CSX’s access to NIT,

        as it has facilitated CSX’s and NS’s access to other points. By refusing to take action on CSX’s

        proposals—which would have furthered NPBL’s stated purpose and benefitted NPBL

        financially—Defendants actively blocked CSX’s access to NIT, thus engaging in the very

        anticompetitive activity reflected in the record.

               Most critically, NS’s arguments underscore the many material disputes of fact at issue.

        Compare NS Br. at 19 (arguing CSX “successfully used NPBL to access NIT in 2015”) with CSX

        SOF ¶¶ 46-49, 51-53 (describing substantial, unreasonable barriers imposed on CSX’s access in

        2015); NS Br. at 19 (arguing “Defendants took no overt action” on 2018 Proposal) with CSX SOF

        ¶¶ 64-71 (describing actions by NS and NPBL directors and management to prevent fair

        consideration of the 2018 Proposal); NS Br. at 19-20 (arguing that NS “had the contractual right”

        to reject CSX’s Governance Proposal) with CSX SOF ¶ 2 & infra at 69-70 (disputing NS’s

        interpretation of the relevant agreements). These factual disputes preclude summary judgment.25




        25
           To the extent that Defendants suggest that evidence of pre-2014 conduct is not admissible to
        support CSX’s claims, that argument fails. The trier of fact may consider all evidence of
        Defendants’ continuing violations. See, e.g., Dial Corp. v. News Corp., 165 F. Supp. 3d 25, 37-
        38 (S.D.N.Y. 2016) (“[A] monopoly which is ‘maintained’ during the damages period would need
        to be created before the damages period, and anticompetitive conduct before the limitations period
        may be material to a showing that Plaintiffs were injured during the damages period.”).
                                                            46



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               Because all of this evidence falls within the applicable limitations period, CSX’s state law

        claims are timely. At a minimum, the Court cannot resolve these factual issues on summary

        judgment. Lozano, 839 F.2d at 1023.

                   c. CSX’s Damages Calculation Methodology Does Not Govern Accrual.

               In trying to show that CSX’s claims are time-barred, Defendants point to CSX’s damages

        calculation methodology, which they criticize, based on a total of two federal decisions, as not

        “apportion[ing] damages between any separate unlawful acts.” NPBL Br. at 18-19; see also NS

        Br. at 18-19. To be sure, CSX’s expert, Dr. Howard Marvel, calculated profits CSX lost due to

        “the totality of NS’s and NPBL’s efforts to foreclose CSX” from on-dock rail at NIT. See CSX

        SOF ¶ 102. Most of these occurred in years after 2013—within the limitations periods. See id.

               Defendants’ argument that CSX must tie its damages calculation to specific overt acts

        “obfuscates the difference between, on the one hand, an ‘overt act’ necessary to show the existence

        of a conspiracy, and, on the other hand, an ‘injurious act’ causing damages within the limitations

        period.” Lower Lake Erie, 998 F.2d at 1172. Although a plaintiff must identify at least one timely

        overt act causing injury in order to satisfy the statute of limitations, Zenith Radio Corp., 401 U.S.

        at 338, its damages calculations need not be tied to that act, because “overt acts aren’t what cause

        damage. It is the effectiveness of the overall conspiracy that causes damages.” Lower Lake Erie,

        998 F.2d at 1172 (emphasis added).

               Particularly in monopoly cases like this one, “the relevant inquiry is the anticompetitive

        effect of [Defendants’] exclusionary practices considered together.” LePage’s v. 3M, 324 F.3d

        141, 162 (3d Cir. 2003); see also City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th

        Cir. 1992) (“[I]t would not be proper to focus on specific individual acts of an accused monopolist

        while refusing to consider their overall combined effect.”). Thus, once the jury finds that


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        Defendants’ unlawful conduct injured CSX, “damages may be determined without strict proof of

        what act caused the injury, as long as the damages are not based on speculation or guesswork.”

        3M, 324 F.3d at 166; see also Dial Corp, 165 F. Supp. 3d at 38 (in monopoly case, rejecting

        summary judgment argument that plaintiff’s damages model did not “sort out the effects of any

        particular form of anticompetitive conduct,” explaining that “calculating damages in antitrust cases

        is not an exact science,” and that “if a jury were to find [defendant’s] actions taken as a whole to

        be a violation of Section Two of the Sherman Act, disaggregating the monopolist’s lawful actions

        from its unlawful actions for the purpose of calculating damages may be unnecessary, if not

        impossible”); Poster Exch’g, Inc. v. Nat’l Screen Serv. Corp., 517 F.2d 117, 125 (5th Cir. 1975)

        (approving “day by day calculation of accruing injury” in monopoly and conspiracy case “based

        on continuing antitrust behavior, not merely the continuing damage [plaintiff] feels from a single

        day’s monopoly and refusal to deal”).

               The same is true of CSX’s state law conspiracy claims. The Fourth Circuit has recognized

        that, under Virginia law, damages result from the totality of a conspiracy, not any particular overt

        act. See Blackwelder v. Millman, 522 F.2d 766, 776 (4th Cir. 1975) (reversing summary judgment

        where damages resulting from conspiracy continued into limitations period); see also Com. Bus.

        Sys., Inc. v. Bellsouth Servs., Inc., 453 S.E.2d 261, 267 (Va. 1995) (“Whether a conspiracy caused

        the alleged damage ordinarily is a question for a jury.”). None of the cases cited by NPBL suggest

        otherwise. See NPBL Br. at 19-20 (citing Gallop v. Sharp, 19 S.E.2d 84, 86 (Va. 1942) (providing

        only that “the damage produced must arise as the effective result of the conspiracy”)).27




        27
          The other Virginia cases cited by NPBL do not involve conspiracy claims. See Street v.
        Consumers Mining Corp., 39 S.E.2d 271 (Va. 1946) (trespass); Louisville & N.R. Co. v. Saltzer,
        144 S.E. 456 (Va. 1928) (negligence).
                                                   50



                                                      JA208
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                 NPBL contends that this Court’s decision denying Defendants’ motions to dismiss

        provided a “roadmap” for CSX’s calculation of damages. See NPBL Br. at 20-21 (citing ECF No.

        66 at 38-39). But this Court explained that CSX’s damages would arise from profits lost as a result

        of Defendants’ ongoing anticompetitive and conspiratorial conduct. See ECF No. 66 at 38. It did

        not suggest, at the motion to dismiss phase of the case, that CSX must apportion those lost profits

        by contract or tie them to any singular overt act. See id. NPBL’s argument to the contrary

        misunderstands the facts of the case. CSX’s lost profits are not limited to the marginal difference

        between the switch rate proposed by CSX and the rate charged by NPBL; they are the profits lost

        as a result of ocean carriers choosing not to contract with CSX due to its inability to access on-

        dock rail at NIT, as a result of the totality of Defendants’ anticompetitive and conspiratorial

        conduct. Indeed, that is the consequence of the Defendants’ conspiracy: CSX cannot effectively

        access NIT via NPBL and has lost business and profits due to that constraint. The record contains

        evidence of this lost business, see id. ¶ 88, and CSX’s expert, Dr. Marvel, has calculated CSX’s

        lost profits by year, see id. at ¶ 102. Neither Defendant challenges Dr. Marvel’s damages

        calculation methodology.

                 The record contains ample evidence of overt acts by Defendants during the limitations

        period. The quantum or method for calculating damages arising from the totality of Defendants’

        conduct does not affect the timeliness of CSX’s claims.

           II.      There is Ample Evidence Supporting CSX’s Conspiracy Claims (Counts I, II,
                    VII, IX).

                 CSXT has asserted four conspiracy claims against Defendants. See ECF No. 1 ¶¶ 77-84

        (conspiracy to restrain trade in violation of Sherman Act § 1); id. ¶¶ 85-90 (conspiracy to

        monopolize in violation of Sherman Act § 2); id. id. ¶¶ 101-121 (statutory business conspiracy

        under Va. Code § 18.2-499, -500); id. ¶¶ 122-125 (Virginia common law conspiracy). Although

                                                        51



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                              Exhibit 80




                                             JA210
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                                            JA214
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                                             JA215
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                                             JA216
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                                             JA217
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                                             JA218
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                                             JA219
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                                             JA220
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                                             JA221
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                                             JA222
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                                             JA224
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                              Exhibit 84




                                             JA225
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                                             JA226
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                                             JA227
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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

        CSX TRANSPORTATION, INC.,

                          Plaintiff,

         v.                                         Civil Action No. 2:18-cv-530-MSD-RJK

        NORFOLK SOUTHERN RAILWAY
        COMPANY, et al.,

                          Defendants.




               NORFOLK AND PORTSMOUTH BELT LINE RAILROAD COMPANY’S
                REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT




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        again, regardless of the plaintiff’s knowledge of the alleged illegality at much earlier times.”

        CSXT Br. at 42 (quoting Klehr). CSXT again fails to include the most important part:

                       But the commission of a separate new overt act generally does not permit
               the plaintiff to recover for the injury caused by old overt acts outside the limitations
               period…. The plaintiff cannot use an independent, new predicate as a bootstrap to
               recover for injuries caused by other earlier predicate acts that took place outside
               the limitations period.

        Id. at 189-90 (emphasis added).4

               B. CSXT’s damages model cannot sustain a verdict because it forces the jury to
                  speculate which of CSXT’s damages are for acts within the limitations period.

               Even if CSXT could show that an overt act in furtherance of a conspiracy was committed

        within the limitations period, CSXT is barred from recovering damages for earlier acts that

        occurred outside the limitations period. CSXT filed suit on October 4, 2018, so the 4-year

        limitations period on its federal antitrust claims extends back to October 2014. Yet CSXT’s model

        only calculates aggregate damages caused by the entirety of the alleged conspiracy, including

        damages as far back as 2009 for acts allegedly committed in 2008. See Marvel Reply Report (ECF

        No. 301-10) at ¶¶ 124, 126. That leaves the jury to speculate as to CSXT’s recoverable losses.

        Even CSXT agrees a jury verdict awarding damages cannot be “based on speculation or

        guesswork.” CSXT Br. at 49-50 (quoting LePage’s v. 3M, 324 F.3d 141, 162 (3d Cir. 2003).




        4
                The other cases CSXT cites affirm this principle. See Hanover Shoe, Inc. v. United Shoe
        Machinery Corp., 392 U.S. 481, 502 (1968) (allowing antitrust claim in 1955 for conduct that
        began in 1912, but only permitting recovery of damages that accrued within limitations period);
        Xechem, Inc. v. Bristol-Myers Squibb Co., 372 F.3d 899, 902 (7th Cir. 2004) (for suit filed in 2003,
        plaintiff could recover damages for acts in 2000 and 2002 but not in 1997); Mayor v. Actelion
        Pharms. Ltd., 2021 U.S. App. LEXIS 10531, at *21 (4th Cir. 2021) (“[E]ach time a plaintiff is
        injured by an act of the defendants a cause of action accrues to him to recover the damages caused
        by that act”); W. Penn Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 107 (3d Cir. 2010)
        (plaintiff may only “recover damages for the acts that occurred within the limitations period”).

                                                          6


                                                      JA229
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               CSXT relies exclusively on its expert to calculate its alleged damages. Its expert states

        unequivocally that he calculated an aggregate amount of damages that included damages allegedly

        suffered as far back as October 1, 2009. See Marvel Reply Report (ECF No. 301-10) at ¶¶ 124,

        126 (stating that “in total” he calculated damage “from October 1, 2009 through December 31,

        2020” and that “the source of the damages I estimate is the totality of NS’s and NPBL’s efforts to

        foreclose CSX, rather than NPBL’s exorbitant switch rate alone”).

               CSXT concedes in its opposition that its expert includes damages attributable to acts

        accruing outside the limitations period, and that he fails to distinguish damages for acts within the

        limitations period: “To be sure, CSX’s expert, Dr. Howard Marvel, calculated profits CSX lost

        due to ‘the totality of NS’s and NPBL’s efforts to foreclose CSX’ from on-dock rail at NIT. Most

        of these occurred in years after 2013—within the limitations periods.” CSXT Br. at 49 (internal

        citations omitted) (emphasis added).

               This is fatal to CSXT’s federal antitrust conspiracy claims. When a plaintiff’s evidence

        gives the jury no basis on which to consider or account for the effect of the statute of limitations

        on alleged damages, it would be error to submit it to the jury.5 “[T]he jury would be left entirely




        5
                Failure to disaggregate damages is routinely fatal to a plaintiff’s antitrust claims. Cf. Ky v.
        Marathon Petroleum Co. Lp, 464 F. Supp. 3d 880, 894-95, 897 (W.D. Ky. 2020) (granting
        summary judgment when plaintiff’s expert report “did not specify what portion of the calculated
        damages figure stems from Defendants’ legal conduct and what portion, if any, is caused by any
        of their allegedly illegal forms of conduct.”); In re Independent Serv. Orgs. Antitrust Litig., 114 F.
        Supp. 2d 1070, 1090-91 (D. Kan. 2000) (granting summary judgment because plaintiff failed to
        meet its burden to disaggregate the amount of losses caused by actionable conduct); Vernon v. So.
        Cal. Edison Co., 955 F.2d 1361, 1372 (9th Cir. 1992) (“serious flaws in the only damage study
        which could be proffered to the jury placed [plaintiff] in the position of having no proper proof of
        damages at all”); United States Football League v. NFL, 842 F.2d 1335, 1378-79 (2d Cir. 1988);
        McGlinchy v. Shell Chem. Co., 845 F.2d 802, 808 (9th Cir. 1988); Farley Transp. Co. v. Santa Fe
        Trail Transp. Co., 786 F.2d 1342, 1351 (9th Cir. 1985); ILC Peripherals Leasing Corp. v. IBM
        Corp., 458 F. Supp. 423, 434 (N.D. Cal. 1978, aff’d per curiam sub nom., Memorex Corp. v. IBM
        Corp., 636 F.2d 1188 (9th Cir. 1980), cert. denied, 452 U.S. 972 (1981).

                                                          7


                                                       JA230
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        to speculation to determine [what damages were] triggered by acts that accrued before or after the

        limitations period began, or to assess what portion of [damages are] attributable to acts that caused

        harm within the limitations period.” Gumwood HP Shopping Partners L.P. v. Simon Prop. Grp.,

        Inc., 221 F. Supp. 3d 1033, 1044-45 (N.D. Ind. Nov. 22, 2016) (excluding plaintiff’s expert

        because he calculated aggregate damages partly attributable to acts outside the limitations period);

        see also Bigelow v. RKO Radio Pictures, 327 U.S. 251, 264 (1946) (“Once causation of damages

        has been established, the amount of damages may be determined by a just and reasonable estimate

        as long as the jury verdict is not the product of speculation or guess work”) (emphasis added).

               CSXT argues that its expert “calculated CSX’s lost profits by year,” as a potential way to

        salvage its model. CSXT Br. at 51 (citing Exhibits 15 and 16 of Marvel’s Reply Report). That is

        meaningless because it is not just a matter of subtracting the damages he calculated for years prior

        to 2014. Like the excluded expert in Gumwood, Marvel improperly opines that the acts outside

        the limitations period (including the clearly-time barred acts dating back to 2008) caused part of

        the alleged yearly damages within the limitations period.

               The cases on which CSXT relies are inapposite. For example, in Poster Exchange, Inc. v.

        National Screen Service Corp., 517 F.2d 117 (5th Cir. 1975), where the court approved “day by

        day calculation of accruing injury,” it was specifically only for injury accruing within the

        limitations period; the plaintiff expressly disclaimed any recovery of damages for acts outside the

        limitations period. See id. at 124. The court stressed that “a newly accruing claim for damages

        must be based on some injurious act actually occurring during the limitations period, not merely

        the abatable but unabated inertial consequences of some pre-limitations action.” Id. at 128.




                                                         8


                                                      JA231
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               The issue, therefore, is not that CSXT failed to “tie its damages calculation to specific overt

        acts,” as CSXT frames it, see CSXT Br. at 49, but that CSXT failed to tie its damages to acts that

        occurred within the limitations period. And on this, the failure is indisputable.

               The argument advanced by CSXT in its opposition contradicts settled case law and would

        render the statute of limitations meaningless. CSXT suggests the only thing it must do is pay the

        Belt Line’s allegedly “exorbitant” rate one time during the limitations period, and then all of its

        damages for the entirety of the alleged conspiracy are back on the table. CSXT Br. at 45. Under

        that theory, the Hanover Shoe plaintiff could sue in 1955 and recover damages back to 1910 when

        the first act in furtherance of the conspiracy was committed. The Supreme Court rejected such an

        absurd result, limiting recovery only of damages within the limitations period. See 392 U.S. at

        502. CSXT is unable to do that here based on its damages model. See, e.g., Comcast Corp. v.

        Behrend, 569 U.S. 27, 38 (2013) (plaintiffs’ damages model, which calculated total damages from

        four alleged violations, was impermissibly overinclusive, because it could not establish damages

        attributable to the one violation that was still actionable after the other three were dismissed).

               Because of CSXT’s inability to present any competent evidence of its damages attributable

        to acts occurring within the limitations period, CSXT is missing an essential element of the federal

        antitrust claims against the Belt Line, entitling it to summary judgment on Counts I and II.

               C. Even if CSXT’s damages model was not overinclusive, there was no continuing
                  violation or new overt act during the limitations period.

               For CSXT to reach the jury on damages, it first must show (not just allege) that overt acts

        in furtherance of a conspiracy were committed within the limitations period. CSXT has no

        evidence with which to make the requisite showing. Thus, all of CSXT’s claims against the Belt

        Line are either time-barred or not actionable.




                                                           9


                                                         JA232
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

        CSX TRANSPORTATION, INC.,
        individually and on behalf
        of NORFOLK & PORTSMOUTH BELT
        LINE RAILROAD COMPANY,

                          Plaintiff,
        v.                                                     Civil No. 2:18cv530

        NORFOLK SOUTHERN RAILWAY COMPANY,
        and

        NORFOLK & PORTSMOUTH BELT LINE
        RAILWAY COMPANY,

                          Defendants.



                                     OPINION AND ORDER

              This matter is before the Court on a motion to dismiss/motion

        for judgment on the pleadings/motion to refer filed by Defendant

        Norfolk Southern Railway Company (“NSR”) prior to the close of

        discovery (and prior to the lengthy COVID-19 stay previously

        imposed in this case).         ECF No. 115.       As of the date of this

        Opinion and Order, discovery is now closed and summary judgment

        motions were recently filed by NSR and Norfolk & Portsmouth Belt

        Line Railway Company (“Belt Line”).            A jury trial is currently

        scheduled to begin on July 13, 2021, although under this Court’s

        COVID-19 operating procedures (which permitted the resumption of

        civil jury trials on May 3, 2021), regardless of the outcome of

        the instant motion, such trial date would be subject to further




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        continuance if there is not an available retrofitted courtroom to

        allow the Court to keep jurors socially distanced throughout all

        stages of the jury trial process.

              The relevant background of the case is set forth in greater

        detail in this Court’s September 9, 2019 Opinion and Order.                         ECF

        No. 66.      In short, Plaintiff CSX Transportation, Inc. (“CSX”)

        alleges    that    Defendants    NSR    and     Belt      Line    committed    federal

        antitrust     violations,       state     law        conspiracy        offenses,    and

        contractual breaches associated with the manner in which Belt Line,

        a company jointly owned by NSR and CSX, was operated.                          For the

        reasons set forth below, NSR’s motion is DENIED in part, and

        GRANTED in part, as the Court refers one disputed issue to the

        U.S. Surface Transportation Board (“STB”).

                                         I. Background

              NSR’s motion challenges the jurisdiction of this Court, seeks

        judgment    on    the   pleadings    based      on    a   claim    of   immunity,    or

        alternative to both requests, asks this Court to refer two issues

        to the STB.       It should be noted at the outset that: (1) both Belt

        Line and NSR previously filed timely motions to dismiss in this

        case, ECF Nos. 27, 34; (2) Belt Line’s prior motion advanced a

        related,    though      not    identical,       challenge         to    this   Court’s

        jurisdiction,       with      such     earlier-in-time            challenge     deemed

        “meritless” by this Court, ECF No. 66, at 20; (3) NSR did not

        previously challenge this Court’s jurisdiction or otherwise raise

                                                 2



                                               JA234
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        an immunity defense—to the contrary, NSR previously acknowledged

        its inability to reach “some averments in the Complaint as to the

        federal    antitrust    claims,”    ECF    No.   35,   at   3,   and   conceded

        jurisdiction over such claims, ECF No. 69 ¶ 11; and (4) NSR did

        not previously request a transfer to the STB for the purposes of

        addressing     an   immunity   defense     or    determining     a   reasonable

        “switching rate” for use of Belt Line’s tracks.

              NSR now asserts that it is immune from federal antitrust laws

        and state conspiracy laws with respect to its relationship with

        Belt Line not because of any recent developments in the case, or

        new facts learned during discovery, but rather, on the ground that

        NSR has been immune from such claims for decades based on a railway

        consolidation/merger occurring in 1982.             While this Court again

        finds that it has jurisdiction over this case, and has reservations

        regarding the validity of such immunity defense, the Court will

        refer the immunity issue to the STB in light of its expertise

        regarding the process and scope of railroad company mergers.

                               II. Jurisdictional Challenge

              NSR first contends that this Court lacks jurisdiction over

        this case and thus seeks dismissal under Rule 12(b)(1).                Because

        a Rule 12(b)(1) motion can be filed at any time, NSR contends that

        its motion, filed long after this Court denied the original round

        of Rule 12(b) motions, is timely.



                                               3



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                In support of its jurisdictional challenge, NSR argues, among

        other things, that the parties’ dispute arises out of a railway

        consolidation/merger, and that the STB, formerly the Interstate

        Commerce         Commission      (“ICC”):     (1)    has       exclusive     authority      to

        approve mergers between rail carriers; and (2) that carriers

        participating in an approved merger are “exempt” from antitrust

        laws       and   other    laws    “as    necessary        to   .   .   .   carry     out   the

        transaction.”            ECF No. 116, at 8 (emphasis omitted); accord 49

        U.S.C. § 11321(a). 1          While the Court agrees with NSR’s recitation

        of the law, the STB’s exclusive authority over rail carrier mergers

        implicates the doctrine of “primary jurisdiction,” which—despite

        its name—is not “jurisdictional.”                    Importantly, “[d]espite what

        the term [primary jurisdiction] may imply, [it] does not speak to

        the    jurisdictional         power     of    the    federal       courts.      It       simply

        structures the proceedings as a matter of judicial discretion, so

        as to engender an orderly and sensible coordination of the work of

        agencies and courts.”              Envt’l Tech. Council v. Sierra Club, 98

        F.3d 774, 789 n.24 (4th Cir. 1996) (second and third alterations

        in original); see Stevens v. Bos. Sci. Corp., 152 F. Supp. 3d 527,

        533 (S.D.W. Va. 2016) (explaining that the name of such doctrine

        “is    a    misnomer”).          The    doctrine     is    applicable       when     a   claim

        cognizable in federal court “requires the resolution of issues




        1   49 U.S.C. § 11321 was previously codified at 49 U.S.C. § 11341.

                                                       4



                                                     JA236
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        which, under a regulatory scheme, have been placed within the

        special competence of an administrative body,” thus causing a

        district court to suspend the judicial process “pending referral

        of [specific] issues to the administrative body for its views.”

        United States v. W. Pac. R.R. Co., 352 U.S. 59, 64 (1956); see

        Mulberry Hills Dev. Corp. v. United States, 772 F. Supp. 1553,

        1561    (D.   Md.   1991)    (explaining      that   a    district   court     should

        “refrain from exercising its judicial power so that an agency

        particularly        equipped    to    address    issues      and     charged    with

        regulatory       duties      within   its      expertise      may    perform      its

        functions”).

               Here, notwithstanding NSR’s arguments to the contrary, this

        Court has jurisdiction over the federal antitrust claims in this

        case, and has supplemental jurisdiction over the related state law

        claims.       NSR’s   Rule     12(b)(1)   motion     to    dismiss   for   lack    of

        jurisdiction is therefore DENIED.

                III. Rule 12(c) Dismissal or STB Referral - Immunity

               NSR next argues that this Court should dismiss this matter on

        the pleadings pursuant to Rule 12(c) based on NSR’s statutory

        immunity.       Plaintiff challenges the timeliness of such argument,

        contending that NSR’s argument seeking dismissal: (1) should have

        been advanced as a Rule 12(b)(6) motion and was filed many months

        after     the    12(b)(6)      deadline;      (2) contradicts        NSR’s      prior

        jurisdictional position; (3) duplicates Belt Line’s prior failed

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        jurisdictional challenge, thereby conflicting with the “law of the

        case”; and (4) is unripe to the extent it separately asserts that

        certain potential remedies would invade the province of the STB’s

        exclusive jurisdiction.       ECF No. 131, at 2-4.       NSR and Belt Line

        each counter that NSR’s arguments in support of dismissal differ

        from Belt Line’s prior arguments in that they rely on a different

        statutory provision (49 U.S.C. § 11321), ECF Nos. 132, 138, with

        NSR again noting that jurisdiction can be challenged at any time.

              First, to the extent NSR argues that its Rule 12(c) motion to

        dismiss    is   timely   and/or   meritorious    based   on   jurisdictional

        grounds, the Court rejects such claim without further analysis for

        the same reasons set forth above.           Second, as outlined below, to

        the extent NSR is seeking a Rule 12(c) dismissal, or alternatively,

        referral to the STB based on § 11321(a) immunity, the Court finds

        that although such claim was “delayed,” it is not fatally untimely,

        and while dismissal is not appropriate, the request for referral

        to the STB on the immunity issue has merit.           Third, to the extent

        NSR seeks a referral to the STB for a rate setting determination,

        such request is denied at this time for the same reasons this Court

        previously concluded that it has authority to grant monetary and

        injunctive relief in this case.

                                 A. Timeliness of Motion

              As to the timeliness of the immunity defense, CSX accurately

        highlights the fact that NSR’s pending motion was filed during

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        discovery and several months after the original round of Rule 12(b)

        motions was resolved by the Court.           NSR fails to demonstrate why

        it did not raise such immunity defense earlier in the case, 2 or

        why it appeared to previously concede that it had no valid basis

        to challenge the federal antitrust claims at that stage of the

        case.     The delayed timing of NSR’s immunity claim is especially

        notable because the defense is predicated on a merger that has at

        all times been within NSR’s knowledge.

                Notwithstanding NSR’s delay, NSR appears correct both that

        CSX’s complaint does not include the facts on which NSR bases its

        immunity defense 3 and that the            motion, filed sufficiently in

        advance of the scheduled trial date, is timely under Rule 12(c).

        See Fed. R. Civ. P. 12(c) (“After the pleadings are closed--but

        early enough not to delay trial--a party may move for judgment on

        the pleadings.”); Fed. R. Civ. P. 12(h)(2) (indicating that failure


        2  While NSR’s Answer advances three affirmative defenses mentioning
        “immunity,” none of these three theories is predicated on § 11321(a). ECF
        No. 69. CSX does not squarely assert a pleading error in response to the
        pending Rule 12(c) motion, although CSX does contend that NSR’s motion has
        little relation to its answer. See ECF No. 131, at 3.
        3 The complaint broadly references “mergers and acquisitions” over many
        decades involving multiple railways, ECF No. 1 ¶¶ 2, 21; however, it does
        not appear to discuss the 1982 merger, the ICC/STB’s approval of it, or the
        fact that as of 1989, two of the three railway companies with an ownership
        interest in Belt Line were affiliates under common ownership due to the 1982
        merger.   NSR’s answer filled in the necessary facts regarding the 1982
        merger and 1989 common ownership. ECF No. 69 ¶ 2. In fact, long prior to
        the filing of the answer, NSR reported such facts to the Court in its brief
        in support of its original dismissal motion, to include citing the STB’s
        consolidation ruling. Norfolk S. Corp.—Control—Norfolk & W. Ry. Co. & S.
        Ry. Co., 366 I.C.C. 171 (1982). Accordingly, it appears that NSR could have
        asked the Court to take judicial notice of the consolidation and argued its
        immunity defense at the outset of this case.

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        to state a claim can be raised in a Rule 12(c) motion or even at

        trial); see also 5C Wright & Miller, Federal Practice and Procedure

        § 1368 (3d ed. Apr. 2021 update) (“[C]ourts typically will construe

        . . . a late Rule 12(b) motion, or a Rule 12(b) motion that

        implicates affirmative defenses, as if it were brought under Rule

        12(c).”). 4    Similarly, NSR’s request seeking a stay and referral

        to the STB, while delayed, is not “untimely” under any applicable

        rule or practice argued by CSX. 5

               In the absence of a procedural bar to NSR’s motion to dismiss

        or refer, the Court addresses the merits of such motion, further

        noting that this Court clearly has the authority (and potentially

        the obligation) to refer appropriate matters to the STB.             Although

        the   COVID-19    pandemic   and   associated    stays   requested    by   the

        parties—followed by the continued effects of the pandemic on Court


        4  The   most   relevant   non-public    evidence   in   support   of   NSR’s
        dismissal/referral motion appears to be the consolidation/merger application
        that NSR attached as an exhibit to such motion. ECF No. 116-5. CSX does
        not challenge this exhibit as a matter that is not integral to the pleadings,
        nor is its authenticity challenged. Accordingly, there does not appear to
        be a procedural obstacle to considering such document in conjunction with
        NSR’s motion. Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166 (4th
        Cir. 2016). Moreover, even if there is such an obstacle in conjunction with
        NSR’s Rule 12(c) request for dismissal, the Court is unaware of any similar
        obstacle to the extent that NSR seeks referral to the STB.
        5 Under the doctrine of “primary jurisdiction,” the Court has the authority
        to make its own discretionary determination to refer a matter to the STB in
        order to “promot[e] proper relationships between the courts and
        administrative agencies.” W. Pac. R.R. Co., 352 U.S. at 63; see Stevens,
        152 F. Supp. 3d at 534 (explaining that the Court can “invoke the doctrine
        [of primary jurisdiction] sua sponte”). Therefore, even though the doctrine
        of primary jurisdiction may be “waivable” in certain circumstances, CSX
        Transp., Inc. v. Transp.-Commc’ns Int’l Union, 413 F. Supp. 2d 553, 564 (D.
        Md. 2006), this Court also has discretion to consider a referral to the STB
        with or without a motion from the parties.

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        operations    and   litigation    in   this   District—have     delayed   the

        Court’s resolution of NSR’s motion, as explained below, the Court

        nevertheless finds that the best course is to temporarily stay

        this federal action pending referral of the immunity issue to the

        STB as such issue is potentially dispositive of nearly all claims

        for relief.

                             B. Merits of Dismissal/Referral

                                   1. Factual Background

              Briefly reciting the most relevant facts associated with the

        1982 consolidation/merger that forms the basis of NSR’s immunity

        defense, in December of 1980, NWS Enterprises, Inc. (“NWS”) filed

        an application with the ICC to control two existing railways,

        Norfolk and Western Railway Company (“NW”) and Southern Railway

        Company (“SR”).     ECF No. 116-5.     Shortly thereafter, the ICC filed

        a notice in the Federal Register describing the transaction as

        involving “the acquisition of control, through stock ownership of

        NW and its subsidiary companies and of SR and its consolidated

        system companies, by NWS, a newly incorporated non-carrier holding

        company.”     NWS Enters.; Application To Control Norfolk & W. Ry.

        Co. and S. Ry. Co., 46 FR 173-02, at 174, 1981 WL 109712 (Jan. 2,

        1981) (emphases added).       “The rail carrier subsidiaries of NW and

        the SR consolidated system carriers are set forth in the appendix”

        of the notice, with the appendix listing nearly fifty subsidiaries.

        Id. at 176.      Notably absent from such list of subsidiaries is

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        defendant Belt Line.       The acquisition by the newly formed holding

        company    was   not    technically    considered    a   “merger,”      although

        “certain operating efficiencies among the carriers” were proposed,

        and the carriers that would be owned by NWS would “continue to

        operate . . . over the lines described [in the notice], subject to

        certain abandonments and coordinated operations described in the

        application.”     Id. (emphasis added).        No coordination with respect

        to Belt Line was mentioned in the application.

              Approximately a year later, the STB published a lengthy

        decision    authorizing     Norfolk    Southern    Corporation    (“NSC”) 6   to

        acquire “control . . . of Norfolk and Western Railway Company and

        its subsidiary companies and of Southern Railway Company and its

        consolidated companies . . . subject to conditions.”               Norfolk S.

        Corp.—Control—Norfolk & W. Ry. Co. & S. Ry. Co., 366 I.C.C. 173,

        173, 1982 WL 28414 (1982). Such decision again listed the numerous

        NW and SR subsidiary companies, which again did not include Belt

        Line, and further approved “[a]cquisition of a line of railroad

        and   of   certain     trackage   rights      incorporated   in   the   primary

        application.”      Id. at 173, 255-57.          No mention was made of NSC

        acquiring control over Belt Line or the trackage rights controlled

        by Belt Line.          The decision did, however, note the statutory




        6 It appears that the holding company being created to “control” both NW and
        SR was initially going to be NWS, but was ultimately named NSC. NSC is
        NSR’s predecessor.

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        polices of “recent rail reform legislation,” which included an

        emphasis on the retention of competition.           Id. at 190.

               The   Rule    12(c)   record     suggests   that,   after   the    1982

        consolidation, the Belt Line partnership continued to operate

        under its plan of shared governance, with Belt Line’s Board of

        Directors continuing to be appointed by CSX, NW, and SR.              ECF No.

        1-3.    In 1989, CSX, NW, and SR signed an agreement to modify the

        number of directors appointed by each company such that NW and SR

        (both owned by NSC) would collectively appoint three directors,

        with the parties also agreeing that no other provision of the 1897

        Belt Line Agreement would be amended, altered, or affected. 7

                                         2. Discussion

               “Congress has vested with the STB, ‘the exclusive authority

        to     examine,     condition,    and    approve   proposed     mergers    and

        consolidations.’”        CSX Transp., Inc. v. Transp.-Commc’ns Int’l

        Union, 413 F. Supp. 2d 553, 562 (D. Md. 2006) (quoting Norfolk &

        W. Ry. Co. v. Am. Train Dispatchers Ass’n, 499 U.S. 117, 119

        (1991)).     Critical to the instant dispute, the Interstate Commerce



        7 According to the parties, NW and SR merged in 1990, and the number of Belt
        Line board members was amended again at some point after such merger. While
        not critical to the Court’s analysis, the Court notes for context that it
        appears from public records that the 1990 merger occurred pursuant to the
        “corporate family” exemption such that STB approval of such merger was not
        required, with the STB reporting in early 1991 that a notice of exemption
        had been filed, further indicating that such transaction would “not result
        in . . . a change in the competitive balance with carriers outside the
        corporate family.” 56 Fed. Reg. 1541-03, 1991 WL 310251 (Jan. 15, 1991).
        It was at that time that the newly merged company was renamed “Norfolk
        Southern Railway [C]ompany.” Id.

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        Act   provides     that   “[a]    rail   carrier,    corporation,    or      person

        participating in [an] approved . . . transaction is exempt from

        the antitrust laws and from all other law, including State and

        municipal law, as necessary to let that rail carrier, corporation,

        or person carry out the transaction, . . . and exercise control or

        franchises acquired through the transaction.” 49 U.S.C. § 11321(a)

        (emphases    added).       “The    purpose    of    this   provision,   and     the

        exemption from antitrust and other laws that it provides, is to

        ensure that efforts to merge and consolidate are not obstructed,

        and that merger efficiencies can be achieved.”              CSX Transp., Inc.,

        413   F.   Supp.    2d    at   562-63    (emphases     added)   (citing       Train

        Dispatchers Ass’n, 499 U.S. at 133).               The Supreme Court has held

        that the exemption from “all other law” extends to cover “any

        obstacle imposed by law,” including certain contracts, as long as

        “an    ICC-approved       transaction     requires     abrogation”      of     such

        obligations.     Train Dispatchers Ass’n, 499 U.S. at 132-33.

              While the Supreme Court has not expressly defined the contours

        of “necessity” in this context, a district court in this circuit

        has squarely addressed the issue, explaining as follows:

              The preclusive powers of the [Interstate Commerce Act]
              are not unlimited. As the Supreme Court noted in Train
              Dispatchers, exemption from other laws is only allowed
              when it is “necessary to carry out an ICC-approved
              transaction.”      499   U.S.   at   132–33   (emphasis
              added). . . .

              Although the Supreme Court did not define the term
              “necessary” in Train Dispatchers, the ICC has stated

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               that the ICA super[s]edes other law where there
               otherwise will be an impediment to the merger.       CSX
               Corp.—Control—Chessie Sys., Inc., and Seaboard Coast
               Line Indus., Inc., 8 I.C.C. 2d 715, 721–22, 1992 WL
               206172 (1992) (“[T]he necessity predicate is satisfied
               by a finding that some ‘law’ (whether antitrust, RLA, or
               a collective bargaining agreement formed pursuant to the
               RLA) is an impediment to the approved transaction. In
               other words, the necessity predicate assures that the
               exemption is no broader than the barrier which would
               otherwise stand in the way of implementation.”).

        CSX Transp., Inc., 413 F. Supp. 2d at 568-69.            The district court

        went on to highlight the fact that the plaintiff in that case

        failed to demonstrate that a post-merger dispute over where certain

        railroad clerical work was to be performed was a “critical factor”

        that could “impede” a long since final merger, finding that “at

        some point, the STB’s purview over a merger must end.”                 Id. at

        569.     On appeal, the Fourth Circuit expressed its agreement,

        stating in a footnote that “[t]he amount of time that has passed

        since    the   approved     transaction     was   successfully      completed

        militates against our finding that the STB would have jurisdiction”

        over a labor dispute that can be traced back to the merger, noting

        that the STB’s “predecessor, the ICC, as well as the Seventh

        Circuit, has indicated that the STB’s jurisdiction over legal

        disputes related to a merger should not extend indefinitely.”              CSX

        Transp., Inc. v. Transp. Commc’ns Int’l Union, 480 F.3d 678, 685

        n.5 (4th Cir. 2007) (citing Del. & Hudson Ry. Co.-Lease & Trackage

        Rts. Exemption–Springfield Terminal Ry. Co., 8 I.C.C. 2d 839, 845,



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        1992 WL 46807 (1992); Harris v. Union Pac. R.R., 141 F.3d 740, 744

        (7th Cir. 1998)).

               The   Seventh   Circuit’s    opinion     in   Harris   is   instructive

        regarding the breadth of authority appropriately ceded to the STB

        when   post-merger     disputes    arise   in   situations    where   the   ICC

        approved a merger but said nothing, and implied nothing, about it

        being “necessary” for a certain law, contract, or other “obstacle”

        to the merger to be set aside as a barrier to the merger.              Harris,

        141 F.3d at 743–44.      The Seventh Circuit explained:

               If the Commission says that it is “necessary” for some
               law to give way, then we review its decision to determine
               whether it was arbitrary, capricious, or an abuse of
               discretion.   If the Commission implies (but does not
               quite say) that some other law had to yield, then perhaps
               a court should refer the subject to the agency under the
               doctrine of primary jurisdiction.      See Railway Labor
               Executives’ Ass’n v. United States, 987 F.2d 806, 815
               (D.C. Cir. 1993).    But if the agency says nothing, a
               post-merger   dispute   is   resolved   under   generally
               applicable laws. We added in Burlington Northern that
               “necessary”, like “all”, should be taken seriously.
               Only laws that would block the transaction give
               way. . . .

               On the railroad’s understanding of § 11341(a), the Board
               is forever in charge of all legal disputes related to a
               merger. Is the railroad liable to a brakeman injured by
               failure of a coupler on a car that came from the acquired
               corporation? Does an easement on any of the carrier’s
               rights of way survive the merger? Are the employees
               entitled to a Christmas bonus under the labor agreement?
               Some of these issues are resolved by arbitration or
               bargaining, others under state property law or the
               Safety Appliance Act.     See Norfolk & Western Ry. v.
               Hiles, 516 U.S. 400 (1996). But if the Union Pacific
               were right, everything would be up for grabs. Who can
               tell which of these laws the Commission might have
               thought incompatible with the merger?

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        Harris, 141 F.3d at 743–44 (emphasis added).           While Harris and the

        2006/2007 CSX case are instructive, those cases consider the

        necessity requirement in the context of ensuring the absence of an

        obstacle to “carry[ing] out the transaction,” as contrasted with

        the portion of § 11321(a) addressing the need to “exercise control

        or franchises acquired through the transaction.”

              Here, the record clearly reveals that the ICC/STB said nothing

        about setting aside any state or federal law as an impediment to

        the 1982 consolidation with respect to Belt Line, 8 and in fact,

        said nothing about Belt Line in any respect.                Notably, as CSX

        argues, Belt Line is not included on the lengthy list of subsidiary

        companies in the appendix to the public notice that would be

        controlled by NSW/NSC if the consolidation was approved.                   The

        record further suggests that the 1982 consolidation “applicants”

        never asked the ICC/STB to authorize “control” over Belt Line, 9

        with the proposed consolidation plan stating as follows:


        8 NSR does not argue in its motion that, post-consolidation, it should also
        be freed from its contractual obligations set forth in the 1897 Belt Line
        Agreement. This may be because the contract was re-ratified after 1982, or
        it may be because NSR recognizes that setting aside the contract is not
        “necessary” to the success of the merger. See City of Palestine v. United
        States, 559 F.2d 408, 415 (5th Cir. 1977) (“Congress allowed the ICC
        significant power to effectuate approved transactions, but it did not
        authorize gratuitous destruction of contractual relations even when it
        serves the general public interest when the destruction is irrelevant to
        the success of approved transactions.”) (emphasis added). Regardless of
        the reason, such issue is not before this Court.
        9 Belt Line was listed by the applicants in an appendix to the application
        as an entity that NW, SR, and an SR subsidiary each held an ownership
        interest in, with the collection of these interests totaling to 57.14

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              (1) The proposed transaction involves Interstate
              Commerce Commission (Commission) authorization under
              Section 11343 et seq. of the Interstate Commerce Act (49
              U.S.C. § 11343 et seq.) for NWS Enterprises, Inc. (NWS),
              a newly-incorporated non-carrier holding company, to
              acquire control through stock ownership of Norfolk and
              Western Railway Company (NW) and its subsidiary carrier
              companies, and of Southern Railway Company (Southern)
              and its consolidated system companies (collectively SR).

              (2) As a result of the proposed transaction, NWS will
              also acquire indirect control through stock ownership of
              all subsidiaries of NW and Southern, including Southern
              Region Motor Transport, Inc. (SRMT), a motor carrier
              subsidiary of a wholly owned rail carrier subsidiary of
              Southern.

              (3) By this application NWS is seeking Commission
              authorization under § 11343 to acquire control of NW and
              SR.

              (4) The proposed transaction involves the acquisition of
              control through stock ownership of Norfolk and Western
              Railway Company and its subsidiary companies, and of
              Southern Railway Company and its consolidated system
              companies,   by   NWS  Enterprises,   Inc.,   a   newly-
              incorporated non-carrier holding company.

              (5) Applicants respectfully submit that the transactions
              proposed herein are in full accordance . . . with the
              statutory criteria set forth in the Interstate Commerce
              Act (49 U.S.C. §§ 11343-11347) . . . [and] Applicants
              respectfully request that the Commission make the
              following findings with respect thereto:

                   In Finance Docket No. 29430 (Sub-No. 1), that the
              following transactions are within the scope of 49 U.S.C.
              § 11343; are consistent with the public interest;
              reflect terms and conditions which are just and

        percent. ECF No. 116-5, at 77. The seventeen-page chart that included Belt
        Line among over 150 other companies was provided to the ICC in response to
        a regulatory requirement that the applicants list the “measure of control
        or ownership exercised by Applicants over other carriers,” ECF No. 116-5,
        at 77. It was not, therefore, a chart listing entities that NSC requested
        control over as part of the transaction.      While such chart was not a
        “request” for control, it appears to illustrate that majority stock
        ownership of Belt Line would result from consolidation.

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              reasonable . . . and will have no adverse impact upon,
              but rather will enhance competition among rail carriers
              in the affected region:

                    [●] acquisition by NWS Enterprises, Inc., of
                    control of Norfolk and Western Railway Company
                    and its carrier subsidiaries, and of Southern
                    Railway Company and its consolidated system
                    companies . . . .

        ECF No. 116-5, at 4-5, 15, 19, 35-36 (emphases added).             The second

        item listed above appears significant to the Court as it indicates

        that NWS/NSC provided an express notice that it would acquire

        “indirect control” over a motor carrier “as a result” of the

        proposed transaction, and it discussed such “control” and the

        further permissions that were required.            NSR does not highlight

        any similar reference in the application stating that NWS/NSC was

        seeking approval of “indirect control” over Belt Line because the

        combination of stock held by three different NSW/NSC subsidiaries

        would,    post-consolidation,      amount   to   more   than   a   50   percent

        ownership interest in Belt Line. 10

              The above facts, as interpreted by the Court, provide support

        for CSX’s position that it is appropriate to draw a distinction

        between a transaction that led to NSR amassing a slight majority

        ownership position in Belt Line (a cooperative partnership formed

        to serve the interests of all owners), and a transaction involving



        10 The detailed STB authorization ruling broadly indicates that the STB
        considered the anticompetitive effects of the consolidation, Norfolk S.
        Corp.—Control, 366 I.C.C. at 190-91, 227-29; however, there is no
        indication, one way or the other, that Belt Line was part of such analysis.

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        the STB “approving” NSR to control Belt Line such that NSR was

        immune from antitrust/conspiracy law, thus freeing NSR (at least

        under such laws) to leverage its ownership of NW and SR in a

        coordinated effort to harm CSX.            The concern about coordination

        purportedly designed to harm CSX is especially acute in light of

        the fact that Belt Line is, by design, a separate corporate entity

        with a mission of operating for the collective good of all owner

        railways. 11

               The   consolidation    documents      before   the   Court 12   therefore

        suggest that the STB did not “announce” that NSC would control

        Belt Line, and it certainly did not announce that NSC was exempt

        from federal antitrust laws or state conspiracy laws.              However, as

        to the latter point, the STB and federal courts have repeatedly

        held that § 11321 is not predicated on the agency “announcing that

        a    particular   exemption     is   necessary”;      rather,    the   immunity




        11As discussed in the Court’s prior Opinion and Order, ECF No. 66, at 3-4,
        the 1897 Belt Line Agreement was originally executed by eight different
        railroad companies, ECF No. 1-1. “[E]ach of the Companies . . . desire[d]
        to secure the construction of a Belt Line Railroad” in Virginia “for the
        mutual benefit of each in the interchange of business” with all companies
        agreeing that it was “for the best interest of all” that the Belt Line
        Railroad “be constructed, maintained and operated under a separate
        organization in which all are to be equally interested and each to have an
        equal representation.” ECF No. 1-1, at 3 (emphases added). The written
        agreement further provided that the named companies “will co-operate
        cordially in encouraging the business of the [newly formed] Railroad
        Company, for which it is constructed.” Id. at 6 (emphasis added). Thus,
        there may not be the same “necessity” to control Belt Line as compared to
        a “typical” subsidiary beholden to the majority owner.
        12 The Court has only been provided “Volume 2/2A” from the consolidation
        application.

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                                             JA250
USCA4Case
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        exemption is “self-executing.”         Consol. Coal Sales Co. v. Consol.

        Rail Corp., 2002 STB Lexis 317, at *9-10 (S.T.B. May 23, 2002)

        (quoting ICC     v.   Locomotive     Eng’rs,   482    U.S.    270,    298   (1987)

        (Stevens, J., concurring)); see Soo Line R.R. Co. v. Consol. Rail

        Corp., No. 2:17cv106, 2018 WL 1566816, at *7 (N.D. Ind. Mar. 29,

        2018) (“The statute makes the exemption self-executing whenever

        necessary to carry out an STB-approved transaction.”); CSX Corp.—

        Control—Chessie Sys., 8 I.C.C. 2d at 723 n.12 (same).

              While CSX acknowledges that the STB “approved” a transaction

        that resulted in NSC amassing a 57 percent ownership interest in

        Belt Line and obtaining the right to appoint the majority of Belt

        Line’s Board of Directors, CSX argues that such occurrence is not

        the same as the STB approving “control.”              In this Court’s view,

        the strongest support for such argument is that NSW/NSC did not

        request “control” over Belt Line in its application, the STB did

        not announce that Belt Line would be controlled in the public

        “notice” of the application, nor did the STB announce that such

        control    was   authorized     in   its   approval.          While   the    Court

        acknowledges that the STB need not “announce” that the self-

        executing     immunity    exemption    applies       to   a   specific      merger

        transaction, this Court is unaware of any STB decision or other

        precedent suggesting that STB notices do not even need to identify

        the companies over which control is being requested and authorized.

        Cf. 49 U.S.C. § 11344(a) (1982) (indicating that an application

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                                             JA251
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        for control requires the Commission to “notify those carriers”

        involved in the proposed transaction). 13

              Notwithstanding CSX’s facially strong position regarding the

        absence of evidence of STB authorization of “control,” CSX’s

        position appears weakest when it argues that 57 percent ownership

        coupled with the ability to dominate the board of directors does

        not constitute “control” under STB precedent.             While the parties

        agree that the concept of “control” is fact-based and varies with

        the circumstances, NSR effectively highlights CSX’s inability to

        point to any ICC/STB decision finding that majority stock ownership

        coupled with an ability to appoint more than half of a board of

        directors can be interpreted as anything other than “control” over

        a subsidiary railway.       ECF No. 138, at 9-10.       Although addressing

        a slightly different issue, this Court has located a previous STB

        ruling that is relevant to the instant dispute.               In CSX’s favor,

        the STB’s analysis confirms that other facts relevant to “control”

        still must be analyzed on a case-by-case basis even when a railway

        owns more than half of the stock of another railway.                 In NSR’s

        favor, the STB’s analysis appears to put significant emphasis on

        the   ability    to   control   the    board   of   another   railway.     See

        Brotherhood of Ry. & Airline Clerks v. Burlington N. Inc., 671



        13The “Historical and Revision” notes to 49 U.S.C. § 11344 indicate that
        subsection (a) was revised prior to 1982 to eliminate the need to also
        notify the applicant “since the applicant is on notice by filing the
        application.” Section 11344 has been replaced by 49 U.S.C. § 11324.

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                                              JA252
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        F.2d 1085, 1090 (8th Cir. 1982) (recounting the respondents’

        arguments that “terminal and switching railroads are not subject

        to control by any one carrier, but are more properly viewed as

        ‘partnerships’ in which no one partner has the ability to control

        the destiny of the corporation” and that “the inherent nature of

        the companies and of the service they provide makes control by any

        one carrier impossible,” but remanding such issue to the STB based

        on an incomplete record); Burlington N., Inc.—Control & Merger—

        St. Louis-San Francisco Ry. Co., 366 I.C.C. 862, 866 & Appx. C,

        1983   WL   28006   (1983)   (finding,     on   limited   remand,   that:   (1)

        Burlington Northern did not control various terminal and switching

        companies in which it owned less than, or exactly, a 50 percent

        interest and had an inability to dominate the board of directors;

        but (2) a “switching railway” and a “bridge railway” in which

        Burlington Northern held “an ownership interest in excess of 50

        percent,” and had an ability to dominate the board, among other

        facts demonstrating integration, were “under the direct control

        and management” of Burlington Northern); cf. 49 U.S.C. § 10102(3)

        (“‘[C]ontrol’, when referring to a relationship between persons,

        includes actual control, legal control, and the power to exercise

        control,     through    or    by   (A)     common    directors,     officers,

        stockholders, a voting trust, or a holding or investment company,

        or (B) any other means.”); Union Pac. Corp., Union Pac. R.R. Co.

        & Mo. Pac. R.R. Co.—Control—Chicago & N. W. Holdings Corp. &

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                                            JA253
USCA4Case
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        Chicago & N. W. Transp. Co., 9 I.C.C. 2d 939, 947 (I.C.C. Sept.

        17, 1993) (“In determining whether one person controls another,

        the Commission has rejected any arbitrary formula based upon

        percentage of stock ownership, and instead, [has] looked to a

        number    of    additional    factors,        including      distribution   of   the

        remaining stock, the ability to elect directors and otherwise

        control or influence decision-making machinery, and the existence

        of management, marketing, operating and financial ties.”).

              In light of all of the above, this Court finds that the STB

        is the proper authority to clarify the contours of the 1982

        consolidation at issue in this case.                  The Court acknowledges the

        apparent uniqueness of remanding an issue to the STB four decades

        after    a     railway   consolidation         was    finalized.    However,     the

        alternative is for this Court to re-evaluate the details of the

        very same forty-year-old railway merger and determine what was

        requested,      noticed,     and   approved      by    the   ICC/STB   during    the

        administrative consolidation process.                While precedent makes clear

        that the STB should generally not retain jurisdiction many years

        after a merger is complete with respect to new contracts, new

        factual developments, or new legal disputes that are tangentially

        related to a long-finalized merger, CSX Transp., Inc., 480 F.3d at

        685 n.5; Harris, 141 F.3d at 744, 14 the dispute in this case is



        14But see CSX Corp.-Control-Chessie Sys., 8 I.C.C. 2d at 724 n.14 (noting
        that, in appropriate circumstances, “operational changes” made eight years

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                                              JA254
USCA4Case
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        distinguishable from the labor dispute cases cited by CSX that are

        based on changing operations after a merger is completed.                      Here,

        there is not a new legal dispute tangential to the merger, but a

        dispute germane to the consolidation itself, with the genesis of

        the   dispute    grounded   in    the    ICC/STB    merger    procedure    and    an

        associated factual dispute regarding the scope of what was actually

        approved/authorized by the ICC/STB in 1982.                   See Envt’l Tech.

        Council, 98 F.3d at 789 (noting that the purpose of the primary

        jurisdiction doctrine is “taking advantage of agency expertise and

        referring issues of fact not within the conventional experience of

        judges or cases which require the exercise of administrative

        discretion”);      Ry. Lab. Execs.’ Ass’n v. S. Pac. Transp. Co., 7

        F.3d 902, 906 (9th Cir. 1993) (indicating that the ICC “should

        have exclusive authority to clarify the scope of its own approval

        and the corresponding breadth of the section 11341(a) exemption”);

        AT&T Commc’ns, Inc. v. Consol. Rail Corp., 285 F. Supp. 2d 649,

        662 (E.D. Pa. 2003) (denying a dismissal motion, but granting a

        motion to stay a portion of the case and refer an issue to the STB

        because: (1) “the issue of whether the § 11321(a) exemption applies

        to    an   STB-authorized        transaction       is   within      the   agency’s

        jurisdiction”; and (2) “the STB possesses the expertise necessary

        to    resolve”   the   dispute     because      “the    STB   has    studied     the



        after a “Commission-approved merger” were causally tied to the merger
        itself).

                                                 23



                                                JA255
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        Transaction; entertained public comment, hearings, and arguments

        on the Transaction; and memorialized its approval in a lengthy,

        detailed document”); cf. CSX Corp.-Control-Chessie Sys., 8 I.C.C.

        2d at 722–23 (“The appropriate tribunal to determine whether the

        proposed change in the status quo is directly related to and grows

        out   of,   or   flows   from,     a   specifically    authorized      principal

        transaction is this Commission, or the arbitrator acting pursuant

        to the Commission’s authority.”).             Referring back to the analysis

        in Harris, if, as NSR asserts, the STB did approve NSC’s “control”

        over Belt Line in 1982, such approval at least “implie[d] (but

        d[id] not quite say) that [antitrust/conspiracy] law[s] had to

        yield,” thereby rendering it appropriate for this Court to “refer

        the   subject    to   the    agency      under   the   doctrine   of    primary

        jurisdiction.”     Harris, 141 F.3d at 743.

              In addition to the open question regarding authorization of

        “control,” the Court notes the lack of precedent/administrative

        guidance with respect to the parties’ competing positions as to

        whether it was “necessary” for NSR to be freed from antitrust and

        conspiracy laws based on the railway consolidation at issue in

        this case.    In CSX’s favor, the large-scale consolidation approved

        in 1982 appeared to have nothing to do with Belt Line such that

        NSC’s need to secure “control” over Belt Line uninhibited by

        antitrust/conspiracy        laws   was    not    necessary   to   achieve   the

        efficiencies of consolidation. See CSX Transp., Inc., 413 F. Supp.

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                                               JA256
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        2d at 562-63 (“The purpose of [§ 11321(a)], and the exemption from

        antitrust and other laws that it provides, is to ensure that

        efforts to merge and consolidate are not obstructed, and that

        merger    efficiencies            can    be   achieved.”)   (emphases      added);    CSX

        Corp.—Control—Chessie Sys., 8 I.C.C. 2d at 721 (“[T]he ‘necessity’

        predicate is satisfied by a finding that some ‘law’ . . . is an

        impediment to the approved transaction.”).                      Moreover, it appears

        from the current record that Belt Line may have successfully

        operated     as        a    collective/partnership          for    years    after    the

        consolidation, further suggesting that it was not “necessary” to

        allow NSR to dominate Belt Line in the same way that a parent

        company often controls a “typical” subsidiary.                       However, on the

        other    side     of       the    equation,    if,    post-consolidation,      the   STB

        classifies      Belt        Line    as    a   “franchise”    acquired      through   the

        transaction,       and       if    NSC    “acquiring”    Belt     Line   was   in    fact

        “approved” by the STB in 1982, then it is arguably “necessary”

        under the scheme implemented by Congress and the STB to permit

        NSC/NSR to exercise its majority control over its newly acquired

        subsidiary free from the confines of antitrust or state conspiracy

        law.     See 49 U.S.C. § 11321(a). 15                 In light of such conflicting


        15 The scope of the statutory phrase “control or franchises” is a matter
        that would benefit greatly from a consistent application as would occur
        through consideration by the STB in the first instance, as contrasted with
        a district-by-district evaluation by judges less familiar with the
        controlling regulatory scheme. See Advamtel, LLC v. Sprint Commc’ns Co.,
        L.P., 125 F. Supp. 2d 800, 804 (E.D. Va. 2001) (indicating that, “[a]s an
        aid” to determine whether the doctrine of primary jurisdiction applies, the

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                                                      JA257
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        defensible positions regarding a matter squarely within the STB’s

        expertise, referral to the STB is not only appropriate but arguably

        necessary.

              Summarizing the above, NSR’s motion to dismiss the antitrust

        and state conspiracy claims with prejudice is DENIED, but in light

        of the STB’s primary jurisdiction, NSR’s motion for a stay pending

        transfer     of   a   single   question     to   the   STB   regarding     the

        applicability of § 11321(a) immunity is GRANTED. 16

                 IV. Rule 12(c) Dismissal or STB Referral - Remedies

              Belt Line’s original Rule 12(b) motion sought dismissal, in

        part, based on this Court’s purported lack of jurisdiction to award

        certain damages, ECF No. 28, at 11, and NSR’s current motion seeks

        dismissal and/or referral to the STB of certain matters relevant

        to damages based largely on the same theory, ECF No. 116, at 15-

        22.    Considering the timing of such motion, and considering the




        court should consider, among other things, whether the issue “involves
        technical or policy considerations within the agency’s particular field of
        expertise” and whether “there exists a substantial danger of inconsistent
        rulings,” so as to “promote[] a uniform development of law and policy in
        the areas where Congress has delegated to an administrative agency the
        authority to develop and establish national rules”).
        16A stay is appropriate notwithstanding the late stage of this case because
        the STB’s decision impacts the validity of a majority of the claims for
        relief in this case. Additionally, as argued by NSR, it appears that CSX
        could have pursued a legal challenge to the reasonableness of the Belt Line
        switching rate in a proceeding before the STB for almost ten years before
        it filed suit, as the currently-in-place switching rate was established in
        2009 and disputed by CSX as early as 2010. As discovery is complete and
        summary judgment briefing was just completed, the Court will be in a position
        to address dispositive issues and expeditiously schedule a trial after the
        STB resolves the lone issue referred to it by this Court.

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                                            JA258
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        fact that such a determination is relevant to, but not controlling

        of, certain damages and/or the injunctive relief sought in this

        case, NSR’s request is DENIED at this time.                  First, the Court

        agrees with CSX that the motion seeking dismissal/referral could

        have been brought at the time NSR filed its initial Rule 12(b)(6)

        motion,    but   as    explained   above,    such   motion    is   not    fatally

        untimely.      Second, NSR’s request for dismissal/referral appears

        somewhat duplicative of arguments in Belt Line’s earlier dismissal

        motion that have already been rejected by this Court.              See ECF No.

        66, at 21-25.      Third, contrary to NSR’s assertions, CSX’s claims

        for relief do not appear to “begin and end” with a determination

        of   whether     the    “switching   rate”    charged    by    Belt      Line   is

        “reasonable.”     Finally, a separate rate-setting proceeding before

        the STB has already been initiated, and the STB proceeding is

        currently stayed pending this Court’s resolution of the antitrust

        and conspiracy claims at issue in this case, with the STB fully

        aware of the current litigation. NSR’s motion fails to demonstrate

        the need for this Court to force the determination of a “reasonable

        rate” back to the STB at this time.            Notably, the STB setting a

        new reasonable switching rate to be in place going forward will

        not resolve the contract, conspiracy, and antitrust claims pending

        in this case, id. at 24, which center on whether anticompetitive

        and collusive conduct in the past led to an artificially inflated

        switching rate designed to block NSR’s competitors from accessing

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                                             JA259
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        Norfolk International Terminal by rail.                  Similarly, NSR fails at

        this   time    to    demonstrate      that    an   STB       re-evaluation     of   the

        reasonableness of the current switching rate would dictate what

        remedies are appropriate in this case and/or resolve whether

        antitrust      or    conspiratorial      actions     designed          to   harm    CSX

        proximately caused the establishment of such switching rate. 17

               This Court, of course, has every intention of ensuring that

        the monetary or injunctive remedies secured in this case (if any)

        are within this Court’s authority to award, and nothing in this

        Court’s ruling precludes the Court from seeking further input from

        the STB at a later time should it be deemed necessary to determine

        damages.      The Court’s decision not to refer the determination of

        a “reasonable” switching rate to the STB at this time is not

        tantamount to a finding that this Court has the authority to decide

        such a rate or to award CSX trackage rights.                      Such decision is

        also not an indication of how this Court will rule on NSR’s

        recently-filed, and still unripe, motion in limine seeking to

        exclude     evidence    and   argument        suggesting        that    Belt   Line’s

        switching rate is “unreasonable” or “excessive.”                       ECF No. 329.

        Rather, CSX alleges in this lawsuit that NSR and/or Belt Line

        committed federal and state law violations, and well as contractual

        breaches,     by    conspiring   to    manipulate        a    privately     determined


        17The current switching rate was established in 2009 without input from the
        STB, and CSX asserts that the establishment of such rate, and the maintenance
        of such rate over time, was the product of unlawful collusion.

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                                               JA260
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        switching rate for the purpose of harming CSX, and the Court finds,

        consistent with its earlier ruling, that determining liability, as

        well    as   at   least   some   remedies      associated     with   the   alleged

        liability, falls within this Court’s authority.

                                          V. Conclusion

               For the reasons outlined above: (1) NSR’s motion to dismiss

        on jurisdictional grounds is DENIED; (2) NSR’s motion to dismiss

        the antitrust and state conspiracy claims with prejudice is DENIED;

        (3)    NSR’s   motion     to   refer   to   the   STB    a   determination    of    a

        reasonable “switching rate” is DENIED at this time; and (4) in

        light of the STB’s primary jurisdiction, NSR’s motion for a stay

        pending transfer of the immunity dispute to the STB is GRANTED.

        The following discrete question is REFERRED to the STB:

               Did the 1982 consolidation, whereby NSC acquired an
               indirect 57 percent interest in Belt Line, involve the
               ICC/STB granting NSC “approval” to control Belt Line, and
               if so, did such authorized “control” render it necessary
               for antitrust and/or state conspiracy laws to yield,
               whether because Belt Line was then deemed a “franchise”
               of NSC, or for any other reason?

        After the STB rules, this Court will expeditiously resolve all

        remaining      summary    judgment     issues,    to    include   the   breach     of

        contract claim that is outside the referral to the STB.                      In the

        interim, the instant case will be STAYED. 18                  The trial date is



        18The stay does not preclude counsel from coordinating with each other, and
        the Magistrate Judge assigned to this case (to the extent the Magistrate
        Judge determines it to be appropriate) to seek a resolution of any pending
        sealing motions.

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                                               JA261
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        hereby    released,    and    counsel    are   instructed   to    contact   the

        undersigned judge’s calendar clerk to schedule a new trial date as

        soon as the STB issues its ruling.

              The Clerk is DIRECTED to forward a copy of this Opinion and

        Order    to   all   counsel    of   record     and   to   the    U.S.   Surface

        Transportation Board.

              IT IS SO ORDERED.




                                                                /s/
                                                           Mark S. Davis
                                                CHIEF UNITED STATES DISTRICT JUDGE
        Norfolk, Virginia
        May ____,
             18   2021




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                                            JA262
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                                                             JA263
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                                                             JA264
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                                                              JA266
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                                                              JA267
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USCA4 Appeal:
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                                                                                       1
       1                   IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
       2                             NORFOLK DIVISION

       3

       4   CSX TRANSPORTATION, INC.,           )
                                               )
       5                  Plaintiff,           )
                                               )
       6   v.                                  )     Civil Action No.
                                               )        2:18cv530
       7   NORFOLK SOUTHERN, et al.,           )
                                               )
       8                  Defendants.          )

       9

     10                          TRANSCRIPT OF PROCEEDINGS

     11                  (Hearing on Motion for Summary Judgment)

     12
                                       Norfolk, Virginia
     13                                December 1, 2022

     14

     15    BEFORE:      THE HONORABLE MARK S. DAVIS
                        United States District Judge
     16

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                     Paul L. McManus, RMR, FCRR Official Court Reporter

                                             JA269
USCA4 Appeal:
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                                                                                       2
       1   Appearances:

       2           McGUIRE WOODS, LLP
                       By: Benjamin Lucas Hatch
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                           Ashley Partin Peterson
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       5                   Counsel for CSX Transportation, Inc.

       6           TROUTMAN PEPPER HAMILTON SANDERS LLP
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       7                   Alan Durrum Wingfield
                           John C. Lynch
       8                   Kathleen Michelle Knudsen
                           Massie Payne Cooper
       9           -- and --
                   REDGRAVE, LLP
     10                By: Megan McConnell
                   -- and --
     11            SKADDEN ARPS SLATE MEAGHER & FLOM LLP
                       By: Tara L. Reinhart
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     15                         Alexander Ryan McDaniel
                                Counsel for Norfolk & Portsmouth Belt Line
     16                         Railway Company

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                   Paul L. McManus, RMR, FCRR Official Court Reporter

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                                                                                     39
       1   point that the whole purpose of this monopolistic exercise in

       2   the conspiracy is to keep CSX out of NIT.          That is maintaining

       3   the monopoly.     And it is also doing it through a conspiracy that

       4   hurts NPBL; would not be in its own independent interests.             And

       5   that's evidence of conspiracy.

       6              There were multiple overt acts within the statutory

       7   period, and those overt acts had the effect of precluding us

       8   from that market, which our expert has analyzed.           And the effect

       9   of precluding us from that market is the damages our expert has

     10    calculated.     And I think that's the damage approach and model

     11    that was approved in Zenith.       Zenith does say, you know, you're

     12    entitled to damages from that overt act, but it is not limited

     13    to specifically that overt act.       It approves the market share

     14    damages that were claimed in that four-year statutory period.

     15               And Lower Lake Erie walks through that and confirms

     16    that when you're talking about a monopoly that is set up and

     17    blocking you and continuing to do so and refusing to, you know,

     18    to deal, essentially, that that is precluding from the market,

     19    and therefore you're entitled to your market damages, not just

     20    the specific damage from a specific overt act.

     21               And Your Honor asked about the XY, LLC decision at one

     22    point, and the --

     23               THE COURT:    Yes, how is -- distinguish their

     24    determination there was no new accumulating damages.

     25               MR. HATCH:    To me, the distinction is that -- and the


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                                                                                      40
       1   cases talk about this -- it's one thing if the monopolist

       2   destroyed your business on day one, right?          That could be a form

       3   of monopoly.    There's two competitors and this monopolist sends

       4   you into bankruptcy.     Destroys your business.       Okay.    Fine.    You

       5   know then you're done, your damages would be looking forward

       6   from there because you're done as a business.

       7              It's different though if they don't destroy you as a

       8   business or do a one-time act.       Again, taking the pill that

       9   hurts you still in year seven just like it hurts you in year

     10    one.   They continue to do new things.        They continue the conduct

     11    that precludes you from that market year over year.            I mean,

     12    that's what you have to do as a monopolist.          If you haven't

     13    killed your competitor, you have to continue to block them year

     14    after year.

     15               And Hanover Shoe, Zenith, all these cases say, okay,

     16    maybe you can't recover for the out-of-statute damages, but what

     17    we're not saying is that a monopolist who succeeds in not being

     18    sued in the first four years of that monopoly gets penchant to

     19    continue the monopoly into the future and not face the damages

     20    they're doing to the market.       All the damages that are within

     21    the statutory period are recoverable.         And that's, between

     22    Hanover Shoe and Zenith, I think exactly where we are.

     23               THE COURT:    And so how is this case different from XY?

     24    Are you saying XY is wrong?

     25               MR. HATCH:    No, I'm not saying XY is wrong.         Ours is


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                                                                                      41
       1   not a single act.     Your Honor, in your introductory statements,

       2   said in 2009 arguably a rate was set and a rate was denied.

       3   They set 210 and didn't do the 75 that we were asking for, and

       4   has it just been that conduct that has carried through this

       5   whole time and been what is attributable to our harm?            And the

       6   answer is no, it's not.      Because they could have at any time

       7   between then and now decided to lower that rate.           And in fact we

       8   made in 2018 an effort, again, to get them to do that.            They did

       9   not.   So by persisting in the rate, they're deciding to maintain

     10    and establish and charge that rate each year, causing the market

     11    damages.

     12               And that is where I go back to Zenith, which says it

     13    would have been speculative and unavailable to us to sue for a

     14    decade's worth of damages in 2009, because they would have said

     15    you haven't accumulated those, you don't know what will happen,

     16    we could change the rate tomorrow, so it's speculative.            That is

     17    certainly what they would have argued, and in Zenith the Supreme

     18    Court said, yeah, you don't have to face front-end inflative

     19    damages when they can change the conduct, which in that case was

     20    precluding you from the market, just like it is here.

     21               Your Honor asked about the burden of proof issue on

     22    the affirmative defense, and I will confess, Your Honor

     23    references cases from the Tenth, Ninth, Sixth and Fed Circuits.

     24    I don't believe I have seen those, I'll confess that.            So I

     25    probably can't speak to them well because I don't believe they


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                                                                                           155
       1                MR. LACY:      Yes, those are the main ones.

       2                THE COURT:      All right.         Okay.      Thank you for your

       3   arguments, and you will be hearing from me.

       4                (Whereupon, proceedings concluded at 3:43 p.m.)

       5

       6                                    CERTIFICATION

       7

       8                I certify that the foregoing is a true, complete and

       9   correct transcript of the proceedings held in the above-entitled

     10    matter.

     11                  Paul L. McManus, Digitally signed by Paul L. McManus, OCR
                                            DN: cn=Paul L. McManus, OCR, c=VA,
                                            email=pmcmanusocr@gmail.com
     12                  OCR                Date: 2022.12.05 14:14:52 -05'00'
                           __________________________________

     13                           Paul L. McManus, RMR, FCRR

     14                                       ___________

     15                                            Date

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                                                  JA274
USCA4 Appeal:
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division



        CSX TRANSPORTATION, INC.,
        individually and on behalf
        of NORFOLK & PORTSMOUTH BELT
        LINE RAILROAD COMPANY,


                          Plaintiff,
        V.                                                       Civil No. 2:18cv530


        NORFOLK SOUTHERN RAILWAY COMPANY,
        and NORFOLK & PORTSMOUTH BELT LINE
        RAILWAY COMPANY,


                           Defendants.




                                       OPINION AND ORDER


              This   matter    is    before   the   Court   on   motions   for   summary-

        judgment filed by defendant Norfolk & Portsmouth Belt Line Railway

        Company ("NPBL"), ECF No. 296, and defendant Norfolk Southern

        Railway Company ("NSR," and together with NPBL, ''Defendants") / ECF

        No. 307.      A jury trial is currently scheduled to commence on

        January 18, 2023.           On December 1, 2022, the Court conducted a

        hearing on the pending motions, and it thereafter received two

        sets of supplemental briefs from the parties on the issue of

        injunctive relief.       For the reasons stated below, the Court GRANTS

        in part, and DENIES in part, summary judgment in favor of

        Defendants.      The jury trial currently scheduled for January 18,

        2023, will be converted to a bench trial on injunctive relief.




                                              JA275
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                                            JA276
USCA4 Appeal:
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                                            JA277
USCA4 Appeal:
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                                            JA278
USCA4 Appeal:
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                                            JA279
USCA4 Appeal:
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                                            JA280
USCA4 Appeal:
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                                            JA281
USCA4 Appeal:
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                                            JA282
USCA4 Appeal:
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                                            JA283
USCA4 Appeal:
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                                            JA284
USCA4 Appeal:
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                                            JA285
USCA4 Appeal:
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                                            JA286
USCA4 Appeal:
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                                             JA287
USCA4 Appeal:
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                                            JA288
USCA4 Appeal:
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                                            JA289
USCA4 Appeal:
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                                            JA290
USCA4 Appeal:
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                                             JA291
USCA4 Appeal:
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                                             JA292
USCA4 Appeal:
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                                            JA293
USCA4 Appeal:
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                                            JA294
USCA4 Appeal:
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                                            JA295
USCA4 Appeal:
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                                            JA296
USCA4 Appeal:
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                                            JA297
USCA4 Appeal:
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                                            JA298
USCA4 Appeal:
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                                            JA299
USCA4 Appeal:
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                                            JA300
USCA4 Appeal:
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                                            JA301
USCA4 Appeal:
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                                            JA302
USCA4 Appeal:
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                                             JA303
USCA4 Appeal:
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                                            JA304
USCA4 Appeal:
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                                            JA305
USCA4 Appeal:
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                                            JA306
USCA4 Appeal:
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                                            JA307
USCA4 Appeal:
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                                            JA308
USCA4 Appeal:
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                                            JA309
USCA4 Appeal:
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                                            JA310
USCA4 Appeal:
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                                             JA311
USCA4 Appeal:
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                                             JA312
USCA4 Appeal:
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                                             JA313
USCA4 Appeal:
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                                            JA314
USCA4 Appeal:
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                                            JA315
USCA4 Appeal:
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                                            JA316
USCA4 Appeal:
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                                            JA317
USCA4 Appeal:
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                                            JA318
USCA4 Appeal:
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                                            JA319
USCA4 Appeal:
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                                            JA320
USCA4 Appeal:
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                                            JA321
USCA4 Appeal:
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                                            JA322
USCA4 Appeal:
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                                            JA323
USCA4 Appeal:
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                                            JA324
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
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                                            JA325
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
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                                             JA326
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
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                                            JA327
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
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                                             JA328
USCA4 Appeal:
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                                             JA329
USCA4 Appeal:
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                                            JA330
USCA4 Appeal:
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                                            JA331
USCA4 Appeal:
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                                             JA332
USCA4 Appeal:
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                                            JA333
USCA4 Appeal:
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                                            JA334
USCA4 Appeal:
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                                            JA335
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 341
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                                            JA336
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 342
                                              Filed 01/03/23     of 438
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                                            JA337
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 343
                                              Filed 01/03/23     of 438
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                                            JA338
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 344
                                              Filed 01/03/23     of 438
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                                            JA339
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 345
                                              Filed 01/03/23     of 438
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                                            JA340
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 346
                                              Filed 01/03/23     of 438
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                                            JA341
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 347
                                               Filed 01/03/23     of 438
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                                             JA342
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 348
                                              Filed 01/03/23     of 438
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                                            JA343
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023    Pg: 349
                                              Filed 01/03/23    of 438
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                                            JA344
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023    Pg: 350
                                              Filed 01/03/23    of 438
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                                            JA345
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 351
                                              Filed 01/03/23     of 438
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                                            JA346
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 352
                                               Filed 01/03/23     of 438
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                                             JA347
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 353
                                               Filed 01/03/23     of 438
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                                             JA348
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 354
                                              Filed 01/03/23     of 438
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                                            JA349
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023    Pg: 355
                                              Filed 01/03/23    of 438
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                                            JA350
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 356
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                                             JA351
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 357
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                                             JA352
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 358
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                                             JA353
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 359
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                                            JA354
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023    Pg: 360
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                                            JA355
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 361
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                                            JA356
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 362
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                                            JA357
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 363
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                                            JA358
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 364
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                                            JA359
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 365
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                                            JA360
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 366
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                                            JA361
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 367
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                                            JA362
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 368
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                                             JA363
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023    Pg: 369
                                              Filed 01/03/23    of 438
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                                            JA364
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023    Pg: 370
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                                            JA365
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 371
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                                            JA366
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 372
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                                             JA367
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 373
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                                            JA368
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 374
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                                            JA369
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 375
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                                            JA370
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023     Pg: 376
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                                            JA371
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:559
                                          12/06/2023    Pg: 377
                                              Filed 01/03/23    of 438
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                                            JA372
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK       Filed:559
                                           12/06/2023     Pg: 378
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                                             JA373
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK        Filed:559
                                            12/06/2023     Pg: 379
                                                Filed 01/03/23     of 100
                                                                Page  438 of 104 PageID# 14011




                                             JA374
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK        Filed:559
                                            12/06/2023     Pg: 380
                                                Filed 01/03/23     of 101
                                                                Page  438 of 104 PageID# 14012




                                             JA375
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK        Filed:
                                         55912/06/2023    Pg: 381
                                               Filed 01/03/23     of 102
                                                               Page  438 of 104 PageID# 14013




                                             JA376
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK        Filed:
                                         55912/06/2023    Pg: 382
                                               Filed 01/03/23     of 103
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                                             JA377
USCA4 Appeal:
   Case       23-1537   Doc: 48 Document
        2:18-cv-00530-MSD-RJK        Filed: 12/06/2023
                                          559              Pg: 383
                                                Filed 01/03/23     of 104
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                                             JA378
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 613
                                           12/06/2023     Pg: 384
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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division


        CSX TRANSPORTATION, INC.,
        individually and on behalf
        of Norfolk & Portsmouth Belt
        Line Railroad Company,

                                   Plaintiff,
        V.                                                           Civil No. 2:18cv530


        NORFOLK SOUTHERN RAILWAY COMPANY,
        NORFOLK & PORTSMOUTH BELT LINE RAILWAY
        COMPANY,


                                   Defendants.




                                         OPINION AND ORDER


               This matter is before the Court on a ''Motion to Dismiss All


        Remaining       Claims    for   Relief,"    filed     by    Defendant    Norfolk    &

        Portsmouth Belt Line Railway Company ("NPBL") on January 9, 2023.

        ECF No. 572.       Defendant Norfolk Southern Railway Company ("NSR,"

        and together with NPBL, "Defendants"), joined in the motion.                     ECF

        No. 574.    In response to an expedited briefing order issued by the

        Court     due     to     the    impending     trial        date.   Plaintiff     CSX

        Transportation,          Inc.   ("CSX")    filed    its     opposition   brief     on

        Thursday, January 12, 2023, and Defendants filed their replies on

        Friday, January 13, 2023.^          On Monday January 16, 2023, a day that




        ^ Though the briefing period was expedited, CSX's opposition brief offers
        the well-reasoned observation, fully joined in by the Court, that it would
        be a waste of resources to proceed to a lengthy antitrust trial on injunctive
        relief only for the Court to hold at the conclusion of trial that CSX lacks
        a federal cause of action.       ECF No. 593, at 3.




                                              JA379
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 613
                                           12/06/2023     Pg: 385Page
                                                Filed 01/27/23    of 438
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                                             JA380
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 613
                                           12/06/2023     Pg: 386Page
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                                             JA381
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 613
                                           12/06/2023     Pg: 387Page
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                                             JA382
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 12/06/2023    Pg: 388Page
                                           613 Filed 01/27/23    of 438
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                                            JA383
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 613
                                           12/06/2023     Pg: 389Page
                                                Filed 01/27/23    of 438
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                                             JA384
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 613
                                           12/06/2023     Pg: 390Page
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                                             JA385
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 12/06/2023    Pg: 391Page
                                           613 Filed 01/27/23    of 438
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                                            JA386
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 12/06/2023    Pg: 392Page
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                                            JA387
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 393
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                                            JA388
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 394
                                              Filed 01/27/23    of 438
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                                            JA389
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                         12/06/2023     Pg: 395
                                              Filed 01/27/23    of 438
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                                            JA390
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                         12/06/2023     Pg: 396
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                                            JA391
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                         12/06/2023     Pg: 397
                                              Filed 01/27/23    of 438
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                                            JA392
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 398
                                              Filed 01/27/23    of 438
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                                            JA393
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 399
                                              Filed 01/27/23    of 438
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                                            JA394
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                         12/06/2023     Pg: 400
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                                            JA395
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 401
                                              Filed 01/27/23    of 438
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                                            JA396
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                         12/06/2023     Pg: 402
                                              Filed 01/27/23    of 438
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                                            JA397
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                         12/06/2023     Pg: 403
                                              Filed 01/27/23    of 438
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                                            JA398
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 404
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                                            JA399
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                         12/06/2023     Pg: 405
                                              Filed 01/27/23    of 438
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                                            JA400
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 406
                                              Filed 01/27/23    of 438
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                                            JA401
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                         12/06/2023     Pg: 407
                                              Filed 01/27/23    of 438
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                                            JA402
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 408
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                                            JA403
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed:613
                                          12/06/2023    Pg: 409
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                                            JA404
USCA4 Appeal:
   Case       23-1537  Doc: 48 Document
        2:18-cv-00530-MSD-RJK      Filed: 613
                                          12/06/2023     Pg: 410
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                                            JA405
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 643
                                           12/06/2023     Pg: 411Page
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division


         CSX TRANSPORTATION, INC.,
        individually and on behalf
        of Norfolk & Portsmouth Belt
        Line Railroad Company,

                                 Plaintiff,
         V.                                                     Civil No. 2:18cv530


        NORFOLK SOUTHERN RAILWAY COMPANY,
        NORFOLK & PORTSMOUTH BELT LINE RAILWAY
        COMPANY,


                                 Defendants.




                                      OPINION AND ORDER


               This matter is before the Court on supplemental motions filed

        by Norfolk & Portsmouth Belt Line Railway Company                C'NPBL") and

        Norfolk Southern Railway Company ("NSR," and together with NPBL,

        "Defendants") /     addressing    whether    any   of   CSX   Transportation,

        Inc.'s ("CSX") state law claims seeking injunctive relief remain

        in this case and/or whether any such claims that may remain are

        viable.    ECF Nos. 614, 616.      Also before the Court is CSX's motion

        asking the Court to withhold ruling on the Defendants' motions and

        allow CSX to immediately appeal this Court's prior rulings on CSX's

        federal antitrust claims and a portion of CSX's state law claims.

        ECF No. 623.       For the reasons explained below, the Court: (1)

        GRANTS Defendants' motions to the extent they argue that CSX's

        state law conspiracy claims, and the vast majority of CSX's state

        law contract claim, require no further ruling by the Court because




                                             JA406
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
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                                           12/06/2023     Pg: 412Page
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                                             JA407
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 643
                                           12/06/2023     Pg: 413Page
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                                             JA408
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 12/06/2023    Pg: 414Page
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                                            JA409
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 12/06/2023    Pg: 415Page
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                                            JA410
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 643
                                           12/06/2023     Pg: 416Page
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                                             JA411
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 12/06/2023    Pg: 417Page
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                                            JA412
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 643
                                           12/06/2023     Pg: 418Page
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                                             JA413
USCA4 Appeal:
    Case      23-1537   Doc: 48 Document
         2:18-cv-00530-MSD-RJK      Filed: 643
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                                             JA414
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                                            JA415
USCA4 Appeal:
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                                            JA416
USCA4 Appeal:
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                                            JA417
USCA4 Appeal:
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                                            JA418
USCA4 Appeal:
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                                            JA419
USCA4 Appeal:
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                                            JA420
USCA4 Appeal:
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                                            JA421
USCA4 Appeal:
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                                            JA422
USCA4 Appeal:
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                                            JA423
USCA4 Appeal:
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                                            JA424
USCA4 Appeal:
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                                            JA425
USCA4 Appeal:
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                                            JA426
USCA4 Appeal:
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                                            JA427
USCA4 Appeal:
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                                            JA428
USCA4 Appeal:
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                                            JA429
USCA4Case
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division



        CSX TRANSPORTATION, INC.,
        Individually and on behalf of
        Norfolk & Portsmouth Belt
        Line Railroad Company,
               Plaintiff,

        v.                                                 Civil Action No.: 2:18cv530


        NORFOLK SOUTHERN RAILWAY COMPANY
        NORFOLK & PORTSMOUTH BELT LINE RAILWAY
        COMPANY,

               Defendants.

                                      JUDGMENT IN A CIVIL CASE

                      Decision by the Court. This action came for decision before the Court.
                      The issues have been considered and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that Defendants’ motions seeking the resolution of the
        remaining state law injunctive relief claims are GRANTED. ECF Nos. 614, 616. In light of such
        ruling disposing of all remaining state law claims, CSX’s motion seeking a ruling authorizing an
        immediate interlocutory appeal is DISMISSED as moot. ECF 623.


                                                           FERNANDO GALINDO, Clerk



                                                                   By: ___/s/_____________________
                                                                      V. Pearson, Deputy Clerk


        Entered nunc pro tunc 4/19/2023




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USCA4Case
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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Norfolk Division

        CSX TRANSPORTATION, INC.,
        individually and on behalf of NORFOLK
        & PORTSMOUTH BELT LINE
        RAILROAD COMPANY,

                       Plaintiff,

        v.                                                   Civil Action No. 2:18-cv-530-MSD-RJK

        NORFOLK SOUTHERN RAILWAY
        COMPANY, et al.,

                       Defendants.
                                                     /

                                            NOTICE OF APPEAL

               Pursuant to Rule 4 of the Federal Rules of Appellate Procedure, Plaintiff CSX

        Transportation, Inc. (“CSX”) notes its appeal to the United States Court of Appeals for the Fourth

        Circuit from the final judgment in this case, which embraces, but is not limited to, the Judgment

        in a Civil Case filed on April 26, 2023, ECF No. 644; the Court’s Opinion and Order of January

        3, 2023, granting Defendants’ motions for summary judgment in part, ECF No. 559; the Court’s

        Opinion and Order of January 27, 2023, granting the Defendants’ motions seeking dismissal of

        CSX’s federal antitrust injunctive relief claims, ECF No. 613; and the Court’s Opinion and Order

        of April 19, 2023, granting the Defendants’ motions seeking dismissal of the remaining state law

        claims for injunctive relief, ECF No. 643.




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        Dated: May 16, 2023           Respectfully submitted,


                                             CSX TRANSPORTATION, INC.
                                             By Counsel

                                             /s/ Benjamin L. Hatch
                                             Robert W. McFarland (VSB No. 24021)
                                             Benjamin L. Hatch (VSB No. 70116)
                                             V. Kathleen Dougherty (VSB No. 77294)
                                             Jeanne E. Noonan (VSB No. 87863)
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                                       CERTIFICATE OF SERVICE

               I certify that on this 16th day of May, 2023, a true and correct copy of the foregoing was

        served on all counsel of record via Notice of Electronic Filing by filing with the Court’s CM/ECF

        system.


                                                    CSX TRANSPORTATION, INC.
                                                    By Counsel

                                                    /s/ Benjamin L. Hatch
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                                                    Benjamin L. Hatch (VSB No. 70116)
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                                                    JA433
